Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 1 of 200

04cr1224 and OSerl1115 (SDNY) and other Rule 5003 and 5006
Activities Filed by Group Management Calpe een)

05/29/2021

39

Exhibit HUTW-03: Ulysses T. Ware, May 29, 2021 UTW's Letter
dated December 11, 2011 to Kilpatrick, Townsend & Stockton, LLP
and Dennis S, Meir, Esq. Discussing KTS's fraud on the court, and
conspiracy to commit bankruptcy fraud in In re Group Management
Courtp., Case no. 03-93031-mhm (BC NDGA), Chapter 11 Filed by
Group Management Corp. . (aam) (Entered: 06/02/2021)

05/24/2021

38

Ulysses T. Ware and group Management's Administrative
Memorandum #4.01 and May 24, 2021 Memorandum #1,05

submitted to active United States Attorney (SDNY), Ms. Audrey

Strauss, regarding In re Group Management corp., 03-93031-mhm
(BC NDGA) Chapter 11, and United States v. Ware, 04cr1224
(SDNY) trial exhibits GX-250, GX-251, and GX-252; and FINRA's
April 21, 2021, confirmation of KTS's client, unregistered broker-
dealer status of Alpha Capital, AG, Filed by Group Management

oes sean) Modified on 6/3/2021 (jlc). (Entered: ae)

04/21/2021

Sif

Letter dated April 21, 2021 to Mr. oye T. Ware. (sch)

04/21/2021

36

Letter dated April 16, 2021 from Mr. UyeeT Wate. e (eam

04/05/2021

35

Letter dated April 5, 2021, with attachments, to Mr, Thomas Ware.
(scm)

03/08/2021

34

Letter dated March 4, 2021 from Ulysses T. Ware (scm) (Entered:
03/3 Va0et)

03/01/2018

33

Copy of Order from 11th Circuit Court Re: 16-13978. Entered on
3/1/2018. (yl) (Entered: 03/05/2018)

03/17/2017

32

Copy of Order from 11th Circuit Court Denying Motion to WRIT of
Mandamus Entered on 3/17/2017. (yl) (Entered: 03/05/2018)

06/23/2016

31

Notification of Appeal to 11th Circuit 16-13978 (yl) (Entered:
03/05/2018)

ees

06/03/2003

30

03/23/2005)

Transcript of Pe aa heard on 4/30/2003 at 10:00 am, (related
document(s)13 Motion to Dismiss Case, , Motion to
Convert/Reconvert Case to Ch, 7 (FEE), Motion to
Convert/Reconvert Case to Ch, 7 (FEE) filed by Office of the US
Trustee, 9 Motion to Reject Executory Contract or Lease filed by

‘Group Management Corp., 15 Motion to Dismiss Case, filed by

Alpha Capital Aktiengesellschaft, et al.) (mab, ) (Entered:

Case GlosuDinieea. (mab, ) Modified on wn 6/3/2003 (cash, ).

Page 86 of 155
Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).

Case 1:25-cv-00613-MLB Document 5-14

Filed 03/07/25 Page 2 of 200

05/23/2003

29

BNC Certificate of Service of Order ismiseiti Case with
Prejudice Service Date 05/23/03. (Related Doc # 28) (Admin.)
es Seaeetes)

05/21/2003

Order Bisnissing Case with Seaatee) Debtor ineligible to file
under Title 11 for 180 days. Service by BNC Entered on 5/21/2003.
(related document(s) 13, 15) (mab, )

05/09/2003

05/01/2003

27

Hearing on motion of Debtor to reject executory contract, Hearing
on motion of the U.S, Trustee for the case to be dismissed with
prejudice or for the case to be converted to Chapter 7 and Hearing
on motion of Alph Capital and others for the case to be dismissed or
for relief from stay. ALL Hearings reset from April 29, 2003.
(related document(s)13, 15, 9, 5) Hearing to be held on 5/12/2003 at

02:30 PM at Courtroom 1204, oe (phd, )

BNC Certificate of Service of Order on Aeplication to Employ
Service Date 05/01/03, (Related Doc #f 26) (Admin.) (EnGted
05/02/2003)

04/29/2003

Order DENYING Application to Employ Thomas Ware as Attorney ©
for Debtor, (Related Doc # 17) Service by BNC Entered on
aleaens (mab, )

04/25/2003

24

Exhibits : Exhibit A to Voluntar ‘y Petition (related ane
filed by Sims W. Gordon Jr. on behalf of Group Management Corp..
(Gordon, Sims)

04/25/2003

23

Schedules : List of Equity Security Holders filed by Sims W.

Gordon Jr. on behalf of Group Management Corp.. (Gordon, Sims)

- 04/25/2003

22

Attorney Disclosure Statement (related document(s)1) filed by Sims
W. Gordon Jr. on behalf of Group Management Corp.. (Gordon,
Sims)

04/25/2003

21

Schedules 4, B, C, D, E, F, G, and H filed by Si Sims W. Gordon Jr.
on behalf of Group ‘Msoasenient Corp.. Conn sue)

04/25/2003

20

Statement of Financial Affairs (related dhcamentaly filed by Sims
W. Gordon Jr. on behalf of Group Management Corp.. (Gordon,
Pia)

04/24/2003

25

Transcript of Hearing on foe Motion of Debtor to elect
Executory Contract. (mab, ) (Entered: 04/28/2003) —

04/23/2003

19

Order and Notice of Reassignment of Hearing of Debtor's
Emergency Motion to Reject Executory Contract with Alpha
capital; US Trustee's Motion to Dismiss Case with prejudice or, in
the Alternative, Motion to convert case from 11 to 7; and Motion To
Dismiss or, in the Alternative, for Relief from the Automatic Stay.

Page 87 of 155

Monday, January 27, 2025
(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).

Case 1:25-cv-00613-MLB Document 5-14

Filed 03/07/25 Page 3 of 200

Service by Courtroom Deputy. Entered on 4/23/2003. (related
document(s)9,13,15) Hearing to be held on 4/30/2003 at 10:00 AM

-|-at Courtroom 1204, Atlanta, (mab, ) Text and Linkage Modified on

4/25/2003 (ysg, ).

04/17/2003

18

Order and Notice of Assignment of Hearing. Continued heating on
Debtor's Emergency Motion to reject executory contracts. Service
by Courtroom Deputy. Entered on 4/17/2003. (related
document(s)9) Hearing to be held on 4/29/2003 at 10:00 AM.at
Courtroom 1204, Atlanta, (Bennington, Merrill)

04/15/2003

04/11/2003 .

17

04/1 6/2003)

Application to Employ Rosenfeld, Glodman & Ware, Inc. as its
attorney in for the exclusive matter of, Emergency Motion fo Reject
the Funding Agreement with c/s filed by Thomas Ware on behalf of |
Group Management Corp., (Bennington, Merrill) (Entered:

--Brief in Support of Emergency Motion to Dismiss or, in the
Alternative, for Relief from the Automatic Stay, and Request for
Emergency Hearing filed by Dennis S. Meir on behalf of Alpha
Capital Aktiengesellschaft, et al.. Responses due by 5/5/2003,
(Attachments: 1 Exhibit "A" "B" and "C") (Meir, Dennis) Text

| Modified on 4/16/2003 to reflect correct wording (Wiggins, Irene).

04/11/2003

15

Emergency Motion to Dismiss Case --Emergency Motion to Dismiss
or, in the Alternative, for Relief from the Automatic Stay, and
Request for Emergency Hearing filed by Dennis 5. Meir on behalf
of Alpha Capital Aktiengesellschaft, et al., Responses due by
5/5/2003, (Attachments: 1 Exhibit "A" and "B") (Meir, Dennis)

04/11/2003

14

Response to Motion --Opposition to Emergency Motion to Reject
Executory Contract (related to motions(s)9) filed by Dennis S. Meir
on behalf of Alpha Capital Aktiengesellschaft, et al.. (Meir, Dennis)

04/10/2003

13

Motion to Dismiss Case With Prejudice or, in the Alternative,
Motion to convert/reconvert case from 11 to 7 Fee Collected $ 0.,
Receipt Number N/A, filed by James H. Morawetz on behalf of
Office of the US Trustee. Responses due by 5/5/2003,
(Attachments: | Exhibit "A") (Morawetz, James) Modified on
4/11/2003 (Meador, Sheila).

04/10/2003

12

Certificate of Service of Order and Notice of Assignment of
Hearing (related document(s)10) filed by Sims W. Gordon Jr. on
behalf of Group Management Corp.. (Gordon, Sims)

04/10/2003

11

Notice of Appearance (Attorney) --Entry of Appearance, Request
for Special Notice, Request for Service of Papers, and Reservation
of Rights filed by Dennis 8. Meir, Kilpatrick Stockton LLP, counsel
to Alpha Capital Aktiengesellschaft, Amro International, S.A.,

Markham Holdings, Ltd., and Stonestreet Limited Partnership, filed

Page 88 of 155
Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).

Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 4 of 200

by D Dennis S, Meir on Penal of Alpha Capital Altiengesetlsohatt et
al. ME Dennis)

04/08/2003

10

Order and Notice of Assignment of Hearing re: Emergency Motion
to Reject Executory Contract or Lease Service by Courtroom
Deputy. Entered on 4/8/2003, (related document(s)9) Hearing to be
held on 4/15/2003 at 02:15 PM at Courtroom 1204, Atlanta,
(Mitchell, Gregory)

04/08/2003

04/08/2003

Emergency Motion to Reject Executory Contract or Lease filed by
Sims W. Gordon Jr. on behalf of Group Matigerent Corp..
(Goon: Sims)

Application to Employ Counsel for Debtor ne elated document(s)7)
filed by Sims W. Gordon Jr. on behalf of Group Management Corp..
(Attachments: 1 Exhibit A: Declaration of Attorney) (Gordon, Sims)

04/08/2003 _

Notice of Appearance (Attomey) filed by Sims W. Gordon Jr. on
behalf of croup ‘Management Corp.. (Gordon, Suns):

04/01/2003

Notice of NeprRE (Attorney) filed by James H. Morawetz on
behalf of Office of the US Trustee. (Morawetz, James)

03/31/2003

Motion to Reject Executory Contract or Lease, Motion to Set
Hearing on Motion to Reject Executory Contract; (Proposed

| order/notice of hearing submitted to chambers) filed by Thomas

Ware on behalf of Group Management Corp..
(Attachments: 1 Exhibit #1) (Wilson, Melanie) (Entered:
Oe 208)

03/28/2003

BNC Certificate of Service of Order Service Date 03/28/03.
(Related Doc # 3) (Admin.) (Entered: 03/29/2003)

03/26/2003

Order to Corporate Debtor to Obtain Counsel Service by BNC
Entered on 3/26/2003, (Owens, Deborah)

03/20/2003

Notice of Filing of Bankruptcy Case, Meeting of Creditors &

| Deadlines w/Certificate of Service by BNC Service Date 03/20/03.

(Admin.) (Entered: 03/21/2003)

03/18/2003

Meeting of Creditors (Chapter 11) Ch. 11 First Meeting to be held
on 5/1/2003 at 10:00 AM at Hearing Room 365, Atlanta, Objections
for Discharge due by 6/30/2003, (Blount, Danya)

03/18/2003

Voluntary Petition (Chapter. 1 11) Fee Collected § 830, eecint
Number 01025308. Disclosure Statement due by 7/16/2003. Chapter
11 Plan due by 7/16/2003. Schedule A due 4/2/2003. Schedule B
due 4/2/2003, Schedule C due 4/2/2003, Schedule D due 4/2/2003.
Schedule E due 4/2/2003. Schedule F due 4/2/2003. Schedule G due
4/2/2003. Schedule H due 4/2/2003. List of Equity Security Holders

Page 89 of 155
Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 5 of 200

| due 4/2/2003. Statement of Financial Affairs due 4/2/2003. Atty
Disclosure State. due 4/2/2003. Filed by Thomas Ware on behalf of
Group Management Corp.. (Blount, Danya) Additional
attachment(s) added on 11/2/2007 (smw, ).

Respectfully submitted,
/s/ Ulysses T. Ware
For: Ulysses T. Ware, Statutory Party in Interest, and Group Management.

From the Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L

Brooklyn, NY 11226

(718) 844-1260
utware007@gmail.com

January 26, 2025, 8:57:50 AM

Signed this 26"" day of January 2025, under oath and subject to the penalty of perjury, having
personal knowledge of the facts pursuant to 28 USC § 1746 in Brooklyn, NY.

Ulysses T. Ware
/s/ Ulysses T. Ware
Brooklyn, NY

Filed by Ulysses T. Ware and Group Management, 11 USC § 1109(b) Statutory Parties in
Interest” and Prevailing Parties in 02cv2219 (SDNY), see Dkt. 90, Dec. 20, 2007, Plaintiffs’’
Voluntary Rule 41(a)(2) Dismissal with Prejudice.

22 11 U.S. Code § 1109 - Right to be heard

(a) The Securities and Exchange Commission may raise and may appear and be heard on any issue in a
case under this chapter, but the Securities and Exchange Commission may not appeal from any judgment,
order, or decree entered in the case.

(b) A party in interest, including the debtor, the trustee, a creditors’ committee, an equity security holders’
committee, a creditor, an equity security holder, or any indenture trustee, may raise and may appear and
be heard on any issue in a case under this chapter. (Pub. L. 95-598, Nov. 6, 1978, 92 Stat. 2629.).

Page 90 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 6 of 200

Exhibit 10—Frauds, crimes, and Hobbs Act predatory 18 USC § 2, 152,
157, 371, 401(2), 401(3), 924 (c), 1201-02, 1341, 1343, 1344, 1346,
1951(a), 1956-57, 1958-59, 1961(6)(B), 1962(a-d), and 2071(a), (b)
racketeering loan sharking conspiracy of Margaret H. Murphy, Joyce
Bihary, Coleman Ray Mullins, M. Regina Thomas, Patrick Sinback,
Wendy L. Hagenau, Colleen McMahon, Frank V. Sica, Tailwind
Management L.P., FINRA, Michael H. Dolinger, JAMS, Alexander H.
Southwell, Jeffrey B. Norris, David N. Kelley, Arie Rabinowitz,
Trailblazer Merger Corp., I, Joseph Hammer, Konrad Ackermann, Baker
& McKenzie, LLP, Thomas A. Leghorn, Lawrence B. Mandala, Robert
Alberal, London, Fisher, LLP, Nall & Miller, LLP, John Doe Insurance
Companies, ##1-5, John F. King, Kilpatrick, Townsend, & Stockton,
LLP, Wab Kadaba, J. Henry Walker, IV, Dennis S. Meir, John W. Mills,
Ill, James H. Morawetz, Kenneth A. Zitter, Esq., the State Bar of Georgia,
Office of the General Counsel, the U.S. Trustee, Region, 21, Michael S.
Bertisch, et al.

Page 91 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 7 of 200

The Office of Ulysses T. Ware
123 Linden Blvd, Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
Utware007@gmail.com

November 8, 2024, 8:57:50 AM

RE: Ulysses T. Ware and FINRA's Joint Declaration of
Stipulated Irrefutable Material Facts of Criminal Violations
of the Federal Money Laundering and Racketeering Laws
and Certification of Unregistered Broker-Dealer Status.

Financial Industry Regulatory Authority (FINRA)
1735 K St. NW
Washington, D.C. 20006-1506

Dear Mr. Robert W. Cook, Mr. Robert L.D. Colby, and Ms. Marcia E. Asquith: (via email)

Introduction

The conduct of FINRA, Emma Jones, et al. in regard to this request for disclosure of public
records maintained in the ordinary course of business, FINRA, Emma Jones, Esq., et al. finds
themselves in a very perilous position—that is, aiding, abetting, and directly participating in a
conspiracy to conceal the unregistered broker-dealer status of the Requested Persons, see Ex.
1-4, infra. an egregious violation of 18 USC §§ 2, 371, 1951 (a), 1956-57, 1961(6)(B), and 1962(d);
and violations of Bar Association Rules of Professional Conduct.”

Given the recent discovery of actual innocent Brady exculpatory evidence by Mr. Ware’s
private investigators, it has become necessary to undertake to confirm with regulatory authorities
the official broker-dealer status of the Requested Persons. Accordingly, unless FINRA submits to
Mr. Ulysses T. Ware at utware007@gmail.com a sworn Declaration of Material Fact signed by
its executives, Robert W. Cook, Robert L. D. Colby, and Marcia Asquith, Esq., not later than
3:00 PM EST on November 8, 2024, time being of the essence, that opposes, denies, and refutes

23 A Bar complaint will be filed against Emma Jones, et al. given their lying, fraud, wire fraud, deceit,
deception, and unethical professional conduct in violation of the Rules of Professional Conduct with respect
to processing the Oct. 29. 2024, request for certified records, see Ex. A, infra.

Page 92 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 8 of 200

each Fact, with credible evidence, of unregistered broker-dealer status in the below Ware-FINRA
Joint Declaration and Stipulation of Fact, then:

(i) FINRA will be deemed to have stipulated and certified that it has no evidence or
good faith opposition or legal or factual denial to each Fact as stated, and

(ii) Further certifies that FINRA lacks a good faith factual or legal basis supported by
credible evidence on which to deny and refute each Fact in regard to the
unregistered broker-dealer status for Tailwind Management L.P., Frank
Vincent. Sica, Michael Scott Bertisch, Colleen McMahon, and Arie
Rabinowitz, (the “Requested Persons”), an illegal association in fact, a
continuing criminal enterprise as defined in 18 USC § 1961(4).”4 See Ex. A, infra.

If a competing FINRA Declaration is not received by Mr. Ware on November 8, 2024, by
3:00 PM EST:

(i) FINRA will be deemed to have certified, conceded, and factually stipulated as fact that
Sica, Bertisch, McMahon, Tailwind, and Rabinowitz are not and have never lawfully registered
with FINRA as broker-dealers as required by federal law, 15 U.S.C. § 780(a)(Q1); and

(ii) the Requested Persons currently and/or have operated in the United States since on or
about 2001 in criminal violation of federal broker-dealer registration laws.

Mr. Ware will present the Ware-FINRA Joint Declaration to the Director of the FBI,
relevant State Bar associations, and United States Federal Courts as a FINRA certified judicial
admission and stipulated fact of criminal violations of the federal securities laws by each
Requested Person--that is, a pattern of racketeering activities as defined in 18 USC § 1961(4), a
continuing Hobbs Act, 18 USC § 1951 (a) predatory loan sharking and money laundering criminal
enterprise. See Ex. 4, 4.1, 4.2, Ex. 5, and Ex. 8, infra.

Sincerely,

/s/ Ulysses T. Ware
November 7, 2024

Brooklyn, NY

4 Jointly and severally are currently engaged in the illegal underwriting of Hobbs Act predatory loan
sharking convertible promissory notes, see Ex. 4 and Ex. 8, infra, and other unregistered securities,
originated, underwritten, funded, administered, and collected in violation of NYS Penal Law, § 190.40, the
criminal usury law, a class E felony, and in violation of federal racketeering laws, 18 USC §§ 2, 157(2),
(3), 371, 924(c), 1201-02, 1341, 1343, 1344, 1503, 1951(a), 1956-57, 1958-59, 1961(6)(B), and 1962(a-d);
and 15 USC §§ 77e, 77x, 780(a)(1), and 78ff, a pattern of racketeering activities.

Page 93 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 9 of 200

Table of Contents

[introduction iscsi Jaren Unner ERAN iene aaa ree ay arene ERRORS 92
Ware-FINRA Joint Declaration of Indisputable Facts..........:ccscseseeeieessseseersseeeeensaetenseeeeeeaseseateeees 97
Joint Stipulated and Certified Undisputed Material Facts ..0......0.......ccccccssseeseesseeseeseeseeseeaesenssrsnenens 97
End of Declaration octet tereeeeeee essusessssasussessessssseessssssussessesssuvesessssnsvsersnssuvetensanasaveteesssenneess 107

AA, Ulysses T. Ware’s Oct. 29, 2024, Request for FINRA certification of unregistered broker-
dealer status for Tailwind Management L.P., Colleen McMahon, Frank V. Sica, Michael S,
Bertisch, and Arie Rabinowitz, an illegal association in fact, a continuing criminal enterprise. ....108

A. Ulysses T. Ware’s Oct. 29, 2024, FINRA request for certified Form BD (broker-dealer) public
records regarding Colleen McMahon, her alleged spouse Frank V. Sica, Michael Scott Bertisch, and Arie
Rabinowitz. Cf., Ex. 6.0 infra. .ccccccccscsssccssccscsssecececsseesecsersuscscsnevausecssseuseesenesensaseesecesececennessetseeeceenereesens 110

B. Ulysses T. Ware’s October 29, 2024, Request to FINRA to certify broker-dealer public records. .111

C. According to the SEC’s website Tailwind Capital (CRD# 156562) is registered only as an
“investment advisor” not a broker-dealer; and according to the SEC and confirmed by FINRA’s
BrokerCheck system Mr. Sica, Mr. Bertisch, Mr. Rabinowitz, and Ms. McMahon have never registered
as broker-dealers on Form BD according to all available public information. See Ex. 1-3, infra. .......... 112

D.  Tailwind’s SEC certification and admission that its employees (Frank V. Sica, Colleen McMahon,
Michael S. Bertisch, or Arie Rabinowitz) ave ret registered broker-dealers authorized to engage in the
business of underwriting and funding criminal usury convertible promissory notes, see Ex. 8 and GX |,
GX 2, GX 3, and GX 4 in U.S. v. Ware, 04cr1224 (SDNY). See Ex. 4 and Ex. 8, infra. ..cccccceeeseceseees 113

Exhibit 1--Frank V. Sica (CRD# 1481917)

employed by Tailwind Capital Management LP

CCRT S OSG seca ccc sesysaecacceccaacs'evcavias wives aan tase sos saGa Ueda candeemenennsoocnnencmnsannnnmrenensaneumnneenaesnanneranoaneanersenren ns 114
No public Form BD (broker-dealer) public records maintained by FINRA regarding Frank V. Sica
weéreconfitried on NOV: 6, 2024) sievcieseuuccscccsesasienvasnieveascianeianiteiwocniceemceiecteansetaavieenneaed 115

Exhibit 2--Michael Scott Bertisch (CRD# 5154572)—employed by Tailwind Capital Management LLP

(CRD# 156562). ccccccccsccccscescetccssesscscesssesscssssusueseeesesesenaussuseeeneseesssesuesugueacusectaseceesasseauescasesstesesseeenes 116
No public Form BD (broker-dealer) public records maintained by FINRA regarding Michael Scott
Bertisch. lbwas confirmed on NOW, 6; 2024. sasssiveciersvsaisassexsisawisarwess exsversateecnecsvecasassswieisessteeecaeianss 117

Exhibit 3--Colleen McMahon (DOB: July 18, 1951—no CRD number available)—employed by Tailwind

Management LLP (CRD# 156562).....ccccccccssssssccseessesscseceeeeesseuessesscsessuuuessucsssssssesseesesseusesssssssevevensessrenans 118
No public Form BD (broker-dealer) public records maintained by FINRA regarding Colleen McMahon
was continmied ori NOW: 6) 2024. wcccssscsssciesencerssnesassverenicesaaamianciseeteTeeeaaeaeRSs Tee EM Nae STORIE 119

Exhibit 4--Arie Rabinowitz (DOB: Dec, 27, 1972) (No CRD number available on BrokerCheck)............ 120

Exhibit 4, |—Arie Rabinowitz's confession of his and Alpha Capital, AG’s unregistered broker-dealer

Status, See Ex. 5, infta....cccsccccsccsessscessccsesessecessscceusecsuesecssesseeusccerecsnsseteessusaueseusavenesecccaesecsassetuenssaeceneesanes 121

Exhibit 4.2—Rabinowitz and LH Financials’ Joan sharking admissions. .....ccccsescesseesscsserssessesersesseeeennes 122

No public Form BD (broker-dealer) public records maintained by FINRA regarding Arie
Rabinowitz were confirmed -on Nov. 6, 2024, 0... ccecescceeseetcssseesecenaeenereeseeseeeserestaeeneeseeetsesnaesseeees 123

Page 94 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 10 of 200

Exhibit S--May 17, 2021, FINRA Cerfification of unregistered broker-dealer status for each 02cv2219
(SDNY) plaintiff, affiliates, and agents of Tailwind Capital, L.P., Frank V. Sica, and Colleen

Exhibit 6.0--Tailwind Capital L.P. Form ADV page 23 filed with the Securities and Exchange
Commission (SEC) on March 30, 2024, admitted under oath that Tailwind is net registered as a 15 USC
§780(a)(1) broker-dealer in the United States. Accordingly, Colleen McMahon and Frank V. Sica’
personally violated (1) federal law, 15 USC §§ 77e, 77x, and 78ff, and (2) NYS Penal Law, section
190.40. the criminal usury law, a class E felony by underwriting more than $100 million in criminal
usury convertible promissory notes and other unregistered securities... eee 125

Exhibit 6.1—Page 63 Excerpt from Tailwind Capital’s March 30, 2024, Form ADV, see Ex. 7. attached
hereto, incorporated by reference herein, and made a part hereof: Tailwind admitted under oath that
Tailwind’s senior management approved (“pre-clearance”) Frank V. Sica’s and Colleen McMahon’s
(employees and/or agents of Tailwind) $100 million investments in criminal usury convertible
promissory notes, the same null and void ab initio, uncollectable, and unenforceable subject matter
involved in U.S. v. Ware, 04cr1224 (SDNY), Alpha Capital AG, et al. vy. Group Management Corp., et
al, 02cv2219 (SDNY) (McMahon, J.) and in Jn re Group Management Corp., 03-9303 (BC NDGA)
(WLH) Chapter 11. See Ex. 6-3 infra, Dkt. 258 03-9303 1 (BC NDGA) (Hagenau, C.J). ceeeccssesesrseveres 126

Exhibit 6.2—(McMahon, Hagenau, and Gitner’s mafia RICO 18 USC 2, 157, 371, 1341, 1343, 1503,
1951(a)._ 1961(6)(B) and 1962(d) Overt and Predicate Acts), Collusion, conspiracy, and coordination of
Jim Crow racially-motivated retaliatory, vindictive, and punitive moot void ab initio leave to file
sanctions initiated in concert and by judicial collusion of Wendy L. Hagenau and Colleen McMahon—see
02cv2219 (SDNY), Dkt. 139, 139-1, and 139-2, MeMahon and her husband, Frank V. Sica, are both
unregistered broker-dealers, personally owned more than $22 million in criminal usury convertible
promissory notes similar to GX I, GX 2, GX 3, and GX 4, according to records maintained by the Exec.
Director, Administration of the U.S. Courts and the Judiciary, as overt acts in furtherance of the
conspiracy to commit bankruptcy fraud, Hobbs Act attempted armed robbery. armed aggravated assault
and battery, conspiracy, and other crimes, 18 USC §§ 2, 156-157, 371, 924(c),1951, 1956-57, 1958-59,
1961(6)(B), and 1962(a-d). See In re Colleen McMahon, 02-24-90036jm (2d Cir.) re: Complaint of
criminal judicial misconduct (Pending). .......cccscsccecesseesssseeeeeesssnecsssneecssseseteeeessseeeseenseeeesstaeseenerensssenenes 127

Exhibit 6.3—Dkt. 258 (RICO Overt and Predicate Act) page 3, In re Group Management Corp., 03-
93031 (BC NDGA) Chapter 11, Hagenau, C.J. re 18 USC §§ 157(2), (3) and 1961(6)(B) conspiracy to
COM bank yptey Tae wcccesccccascssvcessieenevacccavevexsuaeseanneweiee Teta aenaveadaiweiriereivisimmMee enti iTTTRNsiTeN 128

Exhibit 7.0 (see attachment)—Tailwind Management L.P. Form ADV, March 30, 2024—that is, actual
innocent Brady exculpatory evidence concealed and suppressed by Atlanta, GA law firm Kilpatrick,
Townsend, & Stockton, LLP, Wab Kadaba, Dennis S. Meir, John W. Mills, I], J. Henry Walker, IV,
Colleen McMahon, Daniel Gitner, Edgardo Ramos, and Wendy L. Hagenau in violation of the Aug. 10,
2007, Dkt. 32, US. ». Ware, 04cr1224 (SDNY) Brady disclosure court order—18 USC 2, 371, and
401(2) and 401(3) civil and criminal contempt of a lawful Brady disclosure court order, cf., Ex. 6.2, supra
(McMahon, Hagenau, and Gitner’s conspiracy to obstruct justice overt and predicate acts, wo... 129

Exhibit 8.0—Colleen McMahon, Frank V. Sica, Arie Rabinowitz, LH Financial Services, and Tailwind’s
illegal underwriting of criminal usury convertible promissory notes in violation of federal laws, 15 USC
BT TE. FER. BN GE. vices iaasisers seen RRs ITT AAO EE RTA NTR 130

Exhibit 8. 1--Colleen McMahon and Frank v. Sica’s Massive +$22,000,000 Personal Ownership in
Hobbs Act RICO Criminal Usury Convertible Promissory Notes Underwritten in violation of 15 USC
88 77e, 77x, 780(a)(1), and 78ff, and NYS Penal Law, section 190.40, the criminal usury law, @ class E

MEA IEM cis esa sccsae vecassety ti SAR CAVENSTS LETITIA ITO SRITTIN TNT INOR Tair eeaucor rae eaTA HareNcmenTTIRIIRETNENTRRTERNS 130

Page 95 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 11 of 200

Exhibit 8.2: Judge McMahon’s and convicted felon Edward M. Grushko’s money laundering that
involved unregistered broker-dealer and RICO unlawful debt creator and collector Alpha Capital, AG.
What are Judge McMahon and her spouse, Frank V. Sica’s relationship to Alpha Capital, AG, Kenneth A.
Zitter (Harvard Law), Dennis S. Meir (Harvard Law), Thomas W. Thrash, Jr. (Harvard Law), LH Financial

Services, Inc., ANC Ari RADINOWIZ? co.cc cccccccccssccsecseesuseeceeeseeeeeeacesusassusssussueuueesuseuseesuraessuauneaneeersersneuseaues 131
Exhibit 8.3: Money laundering by Edward M. Grushko, Alpha Capital, AG, and Judge Colleen McMahon
in the Silver Dragon Resources, Inc. litigation. ......cccececcessesesseseeseseseseeseeeeseeeeseeeeessanssesseneeaatansenennenaenee 132
Exhibit 8.4: Reported 2020 income of Frank V. SiCa. oc. ecesesseseesesseeeeeeeeeeteeseesecanseesatsseeseeeeeneeeateneeas 133
Exhibit 8.5: #103 2020 convertible promissory note valued between $500,000 and $1,000,000. .......134
Exhibit 8.6: #113 2020 convertible promissory note valued between $100,001 - $250,000............4.. 135
Exhibit 8.7: #142 2020 convertible promissory note valued between $100,001 - $250,000.............4.. 136
Exhibit 8.8: #204 2020 convertible promissory note valued between $500,001 - $1,000,000............. 137
Exhibit 8.9: #219 2020 convertible promissory note valued between $100,001 - $250,000............00 138
Exhibit 8.10; #220 2020 convertible promissory note valued between $15,001 - $50,000.00... 139
Exhibit 8.11: #244 2020 convertible promissory note valued between $500,001 - $1,000,000.......... 140
Exhibit 8.12: #254 2020 convertible promissory note valued between $500,001 - $1,000,000.......... 141
Exhibit 8.13: #259 2020 convertible promissory note valued between $500,001 - $1,000,000.......... 142
Exhibit 8.14: #276, 277, and 279 2020 convertible promissory notes valued between $500,001 -
ST,000, 000. ......ccccccsccsscsecsssssessssssssssscessessecsnsecscsasssssssessessaseesaesnessecaetansussssetssesesassasesaesaucansacsuassssntsaesens 143
Exhibit 8.15: ##297, 300, 302, and 304 2020 convertible promissory notes valued between $50,001 -
LOOD 000. iiiiisicasasisiaienas RARE ARE HR TI a EES 144
Exhibit 8.16: #323 2020 convertible promissory note valued between 100,001 -$250,000..........000+ 145
Exhibit 8.17: ##327, 334, 336, 337, and 339 2020 convertible promissory notes valued between
50,001 ~ S500 000: ssovsnannaxennnecrcnne RE Rn 146
Exhibit 8.18: #376 2020 convertible promissory note valued between $250,001 - $500,000.............. 147
Exhibit 8.19: #387 2020 convertible promissory note valued between $15,001 - $50,000. .........-.0+ 148
Exhibit 8.20: #425 2020 convertible promissory note valued between $100,001 - $250,000... 149
Exhibit 8.21: #427 2020 convertible promissory note valued between $250,001 - $500,000.............. 150
Exhibit 8.22: #520 2020 convertible promissory note valued between (not valued)... cece 151

Exhibit 8.23—Trailblazer Merger Corp., |, Hobbs Act money laundering conduit arranged by LH

Financial Services, Arie Rabinowitz, Loeb & Loeb, LLP, Mitchell Nussbaum, Esq., Alexandria Kane, Esq.,
Colleen McMahon, Edgardo Ramos, Jose A. Cabranes, Robert D. Sack, Amalya L. Kearse, Damian
Williams, Frank V. Sica, Tailwind Capital Management LLP, and other unindicted coconspirators to
launder the profits and proceeds derived from Hobbs Act extortion, loan sharking, kidnapping, murder
for hire, bribery, bank fraud, private equity fraud, securities fraud, and other racketeering activities, 152

End of document ......ccccccccccsssccsscecsessessersecscsessvesesescuecsceeevscseueccecssessaccnseveseesaseuesecsesseseeevevscseseerenrevscsernens 153

Page 96 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt, 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 12 of 200

Ware-FINRA Joint Declaration of Indisputable Facts

I, Ulysses T, Ware, this 7" day of November 2024, in Brooklyn, NY pursuant to 28 U.S.C. § 1746,
declare under oath and subject to the penalty of perjury that the following facts are true and correct,
based on my personal knowledge and submit this declaration of facts based upon evidence
obtained and analyzed from FINRA's BrokerCheck system, corroborated by Exhibit 7, Exhibit 8,
GX 1-4, and other exhibits referenced infra. Each fact presented herein is indisputable, supported
by credible evidence of violations of federal securities laws, the NYS Penal Law, and federal loan
sharking and money laundering laws.

Joint Stipulated and Certified Undisputed Material Facts

1. On November 6, 2024, FINRA's BrokerCheck system confirmed that Frank V. Sica is

not a registered broker-dealer, evidenced by the absence of any active or inactive broker-
dealer registration for Frank V. Sica in the public FINRA records. Ex. 1, and Ex. 6.0, infra.

2. On November 6, 2024, FINRA's BrokerCheck system confirmed that Colleen McMahon

is not a registered broker-dealer, as no registration history or regulatory filings were found
under her name in the BrokerCheck database. Ex. 3, and Ex. 6.0, infra.

3. On November 6, 2024, FINRA's BrokerCheck system confirmed that Michael S. Bertisch

is not a registered broker-dealer, with no broker-dealer credentials or filings on record
within FINRA's system. Ex. 2, and Ex. 6.0, infra.

4. On November 6, 2024, FINRA's BrokerCheck system confirmed that Arie Rabinowitz is

not a registered broker-dealer, based on the complete lack of registration documentation or
regulatory submissions in FINRA's BrokerCheck. Ex. 4, and Ex. 5, infra.

5. None of the individuals mentioned in Facts 1-4 hold registration as broker-dealers with the
SEC or FINRA, pursuant to 15 U.S.C. § 780(a)(1), which mandates that individuals acting
as broker-dealers must be duly registered with the SEC and/or FINRA to legally engage in

securities transactions, Cf., Ex. 4.1, 4.2, 8, and Ex. D, infra.

Page 97 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 ‘Filed 03/07/25 Page 13 of 200

6. LH Financial Service, operating under the direction of individuals referenced in Facts 1-4,
has no record of broker-dealer registration with either the SEC or FINRA, which was
confirmed on May 17, 2021, by FINRA’s Mardy Asquith, Esq. a thorough search of both
BrokerCheck and SEC registration databases, Ex. 5, infra.

7. Tailwind, through its direct involvement in funding activities and financial underwriting,
lacks the broker-dealer registration required under federal securities laws, as confirmed by
the absence of Form BD filings in both FINRA and SEC records. Ex. 6, and Ex. 7 at page
23, and Ex, D, infra.

8. BrokerCheck confirmed the absence of Form BD registration records for each individual
named above, indicating that none complied with the mandatory broker-dealer registration
requirements for underwriting activities. Ex. 1-5, infra.

9, Each individual identified in Facts 1-4 has knowingly engaged in underwriting, funding,
and collection of criminal usury convertible promissory notes, as documented in Exhibit 8,
and GX 1-4, which detail their involvement in structuring, promoting, and collecting on
these illegal criminal usury convertible promissory notes financial instruments. See Ex. 4,
4.1, 4.2, and Ex. 8, infra.

10. The illegal and criminal business activities engaged in and conducted by Frank V. Sica,
Colleen McMahon, Michael S. Bertisch, Tailwind, LH Financial Services, and Arie
Rabinowitz included the origination, underwriting, funding, selling, and collection of
criminal usury convertible promissory notes to third parties, evidenced by transactional
records, investor agreements, and emails communications in regard to Ex. 4.1, 4.2, and 8

and GX 1-4, see Ex. 4, 4.1, 4.2, 5, 6.0, and 6.1 infra.

Page 98 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 14 of 200

11. These criminal usury convertible promissory notes were not registered as securities under

15 U.S.C. § 77e, which requires all securities offered for public sale to be registered, and

the failure to comply is documented by the absence of SEC registration numbers for

these financial instruments. See SEC Release 33-7190 n. 17 (1995) (“Section 2(a)(11)

statutory underwriters are required to register [with the SEC] all distribution of

securities.”). (emphasis added).

12. The underwriting activities described were performed without the required SEC or FINRA
broker-dealer registration, directly contravening 15 U.S.C. § 78o0(a)(1), as evidenced by
the lack of any filings or approvals authorizing these individuals to act in a broker-dealer
capacity. See Ex. 1-5, Ex. D, Ex. 6.0, 6.1, and 6.3, infra,

13. Tailwind and LH Financial Services, see Ex. 4.1 and 4.2, infra, has been engaged
extensively and continuously (engaged in “a good few hundred” loan sharking
transactions as an unregistered broker-dealer)?> from 2001 to the present 2024 in the
business of originating, underwriting, funding, and collecting Hobbs Act extortion

6

payments—required to be disgorged back to the debtor,?° on these criminal usury

convertible promissory notes, see Ex. 8, infra, without broker-dealer registration, see Ex.

1-4, and Ex. 6.0 and 6.1, infra, with transactional evidence showing their role in facilitating

and managing the flow of funds between investors and issuers. See Ex. 7, attachment.

5 Quoting unregistered broker-dealer Arie Rabinowitz during the ULS. v. Ware, 04cr1224 (SDNY) trial and
also see Ex. 6.3, the conspiracy to commit bankruptcy fraud, 18 USC § 157(2), (3) by Wendy L. Hagenau,
Atlanta, GA law firm Kilpatrick, Townsend, & Stockton, LLP and its partners Wab Kadaba, Dennis S.
Meir, J. Henry Walker, IV, John W. Mills, III, and others involved in the Hobbs Act loan sharking criminal
enterprise. See Ex. 11-1, KTS memorandum, attached hereto and incorporated by reference herein, in heac
verba,

6 See 15 USC § 78p(b) and Roth v. Jennings, 489 F.3d 499, 506-10 (2d Cir. 2007) (Kearse, J.).

Page 99 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 15 of 200

14. The promissory notes carried criminally usurious interest rates in violation of NYS Penal
Law § 190.40, with interest rates 200-2000%, as detailed in the promissory note
agreements and financial disclosures in Exhibits 4.2 and 8.

15. LH Financial Service, and Tailwind under the direction and management of Rabinowitz,
Frank V. Sica, Colleen McMahon, and Michael S. Bertisch, engaged in repeated criminal
usury transactions, see Ex. 4 and Ex. 8, infra, showing multiple promissory notes issued at
usurious rates over an extended period of 20 years—that is, a pattern of racketeering
activities.

16. The individuals in Facts 1-4 actively solicited investment from multiple entities using
unregistered, criminally usurious promissory notes, as evidenced by communications,
solicitation emails, and marketing documents associated with Ex. 4 and Ex. 8, infra, also
see Ex, 7, attached hereto.

17. The evidence, as contained in GX 1-4, and Ex. 8 demonstrates that these securities were
marketed and sold to unaccredited investors, which constitutes a violation of the Securities
Act, as none of the investor accreditation standards under Rule 506(b) or Regulation D
were met. See SEC Release 33-7190 n. 17 (1995).

18. Under the definition set forth in 18 U.S.C.§ 1961(6)(B), these activities constitute loan
sharking, as the convertible promissory notes involved clearly carried usurious interest
rates (200-20000%) and were issued with the intent to extract above-market returns from
borrowers (Group Management Corp. and others) under duress.

19. The criminal usury convertible promissory notes (see GX 1-4, and GX 5), see Ex. 4 and
Ex. 8, infra, contained illegal unenforceable terms that clearly indicated usurious interest

rates far above the legal threshold, with explicit language in the agreements detailing

Page 100 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 16 of 200

interest rates ranging from 200% to 2000%, well above the permissible limit under N¥S

Penal Law, section 190.40, the criminal usury law, a class E felony.

20. Ex. 4 and Ex 8, infra, provides documentation of promissory note terms with interest rates
exceeding 200%, consistent with the statutory definition of criminal usury under NYS
Penal Law, and include detailed calculations of principal and interest that violate the legal
threshold.

21. These illegal criminal usury underwriting activities were not limited to a single transaction
but were systematically repeated, as evidenced by Ex. 4.1, 4.2, and Ex. 8, which contains
a chronological listing of over “a good few hundred” separate promissory note issuances
involving the same terms and parties.

22, Colleen McMahon, Sica, Bertisch, and Rabinowitz acted as a representative of Tailwind
and LH Financial Service in negotiating criminal usury unregistered convertible
promissory notes, and other unregistered securities with investors, signed correspondence
and negotiation drafts contained in Exhibit 8 infra demonstrating their direct involvement
in the criminal enterprise.

23. FINRA's Nov. 6, 2024, BrokerCheck responses confirmed that Sica, Bertisch, McMahon,
Tailwind, LH Financial Services, McMahon, and Rabinowitz did not submit or maintain

Form BD as required for lawful broker-dealer operations, evidenced by the lack of any

public disclosure of Form BD filings or approvals. See Ex. 1-5, and see Ex.6.0 infra.

24. SEC Form BD, see 15 USC § 780(a)(1), is required for lawful underwriting activities
involving convertible promissory notes, and none of the named individuals had an active
filing on record, which was confirmed through both FINRA BrokerCheck and SEC

EDGAR system searches, see Ex. 1-5, infra.

Page 101 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 17 of 200

25. See Ex. 4.1, 4.2, and Ex. 8 documents that the promissory notes were explicitly intended
for funding the operations of LH Financial Service and Tailwind, reflecting commercial
activity typical of broker-dealers, as shown by the use of proceeds sections in the
promissory note agreements and Ex. 7,

26. The overwhelming evidence establishes a clear pattern of activity involving unregistered
securities, as referenced in Exhibits 4.1, 4.2, and 8, infra, which includes transactional
ledgers, correspondence, and promissory note copies detailing multiple issuances.

27. Arie Rabinowitz played a substantial role in facilitating the funding operations, including
negotiating terms for several of the usurious promissory notes (GX 1-4), as evidenced by
email threads and signed agreements indicating his direct participation in discussions. See
Ex. 4.1 and 4.2, infra.

28. Exhibit 8 further reveals that Sica, Bertisch, McMahon, and Tailwind sold the unregistered
securities were sold across state lines, involving interstate commerce, thereby bringing
these transactions under federal jurisdiction pursuant to 15 U.S.C. § 77q.

29. Violations of 15 U.S.C. § 77e, 77x, and 78ff apply to each individual identified herein due
to their direct and/or indirect participation in the offering of unregistered securities, as
documented in investor communications and failure to properly register these financial
instruments. See Ex. 4.1, 4.2, and 8.

30. Michael S. Bertisch, Esq., Tailwind’s “general counsel” and “compliance officer” (see Ex.
2, infra) directed the underwriting, funding, enforcement, collection, and administration of
payments related to criminal usury notes, see Ex. 2, and Ex. 8, infra, in violation of NYS

Penal Law, section 190, and federal loan sharking statutes, as evidenced by 18 USC §

Page 102 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 18 of 200

1961(6)(B), which details his role in managing delinquent payments and enforcing
collection.

31. FINRA's BrokerCheck system reflects a lack of broker-dealer registration for Tailwind's
involvement in these funding transactions, with no public records available that show
compliance with registration requirements. See Ex. 1-5, infra.

32. Criminal usury is a Class E felony under NYS Penal Law § 190.40, and each individual
(Sica, McMahon, Bertisch, and Rabinowitz), Tailwind, and LH Financial Services all
knowingly engaged in these criminal activities with knowledge of the usurious nature of
the transactions, as evidenced by internal communications acknowledging the interest rates
and discussing potential regulatory scrutiny, Cf. Ex. 4.1, 4.2, and Ex. 8, infra; see Ex. 11-
1 attached hereto, and also see Ex. 7 attached hereto.

33. The criminal actions of the individuals and entities named herein were knowingly

conducted without broker-dealer registration, as confirmed by FINRA’s BrokerCheck

system on Nov. 6, 2024, cf., with Ex. 1-8, showing that each person was aware of

registration requirements but failed to comply.

34, The violations of 18 U.S.C. § 1961(6)(B) demonstrate that these underwriting activities
constituted loan sharking under federal law, with explicit intent to lend at rates exceeding
legally permissible levels while coercively collecting payments, See Ex. 4-8, infra; cf. Ex.
11-1, and Ex. 6.2 and 6.3, infra.

35. The overwhelming evidence points to a coordinated effort by Frank V. Sica, Colleen
McMahon, Michael S. Bertisch, LH Financial Service, Tailwind, and Arie Rabinowitz to
engage in illegal underwriting of criminal usury promissory notes without proper broker-
dealer registration (15 USC § 780(a)(1) and FINRA’s Form BD), in violation of both

Page 103 of 155
Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 19 of 200

federal securities laws and state usury statutes, as substantiated by documentary evidence
in Ex. 1-5, regarding GX 1-4 and Exhibit 8 regarding McMahon’s et al. criminal usury
debts.

36. Further examination of the BrokerCheck database and corroborating documents reveal, see
Ex. 7, attached hereto, that Frank V. Sica, Colleen McMahon, Michael S. Bertisch,
Tailwind, LH Financial Services, and Arie Rabinowitz deliberately circumvented broker-
dealer registration requirements in order to obscure their illegal activities, as evidenced by
their illegal underwriting activities, see Ex. 6.2 and 6.3, infra; and Ex, 11-1 attached hereto.

37. Bertisch, Sica, Rabinowitz, McMahon, and convicted felon Edward M. Grushko, Esq.

explicitly discussed structuring the transactions in a manner designed to evade regulatory

detection, demonstrating a calculated effort to violate securities laws and engage in

criminal usury.

38. Colleen McMahon's role in the issuance of convertible promissory notes included direct
obstruction of justice during the 02cv2219 (SDNY) judicial proceedings, see Dkt. 120,
137, 141, and 151, cf., Ex. 6.2 and Ex. 6.3, infra, where she and Wendy L. Hagenau
knowingly and deliberately obstructed and impeded all attempts by Mr. Ware to gain
access to the Brady actual innocent exculpatory evidence contained herein, and contained
in Ex. 6 and Ex. 7; where she (McMahon) knowingly assisted, aided, and abetted by
Wendy L. Hagenau, and Atlanta, GA law firm Kilpatrick, Townsend, & Stockton, LLP
(Wab Kadaba, John W. Mills, III], Dennis S, Meir, and J. Henry Walker, IV) conspired to
coverup and conceal the unregistered dealer status of their (KTS’) clients, the 02cv2219

(SDNY) plaintiff, see Ex. 5 and Ex. 6.2 and 6.3, infra, despite lacking proper broker-dealer

Page 104 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 20 of 200

registration, as shown in investor correspondence included in Exhibit 5, and the 02cv2219
(SDNY) plaintiffs lacked Article III standing to collect criminal usury debts, GX 1-4.
39, Exhibit 8 provides additional proof that the criminal usury convertible promissory notes

personally underwritten and owned by Sica, approved by Tailwind’s senior management,

see Ex. 6.1, infra, and McMahon were marketed with false representations regarding their
legality, including statements made by Bertisch, Tailwind, and Sica to investors that the
notes were compliant with all applicable laws, despite the absence of registration and
inclusion of criminal usurious interest rates.

40. Financial ledgers maintained by Rabinowitz, LH, Sica, McMahon, Tailwind, et al. detail
multiple payments made by investors under these extortionate promissory notes, with funds
being transferred directly to Sica, McMahon, Tailwind, Rabinowitz, and LH Financial
Service without any regulatory oversight or protection for the investors, highlighting the
unlawful nature of the transactions.

41. Internal financial statements from Tailwind, McMahon, Rabinowitz, and LH will show that
proceeds from the usurious promissory notes were used to fund additional unregistered
securities offerings, indicating a continuous cycle of illegal funding operations.

42. The individuals involved (named in Facts 1-4 above) in the Hobbs Act loan sharking and
money laundering criminal enterprise knowingly failed to disclose the usurious nature of
the promissory notes to investors, as indicated by the convoluted language in GX 5, the so-
called subscription, cf., Ex. 6.3, infra, maintained by Rabinowitz and LH, and similar
documents maintained by McMahon, Sica, Bertisch, and Tailwind that intentionally
concealed the actual interest rates being charged, found in the unregistered securities

reference in Ex. 4.1, 4.2, and in Ex 8.

Page 105 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 21 of 200

43. Arie Rabinowitz and convicted felon Edward M. Grushko, Esq. were actively involved in
drafting misleading contractual language in the promissory notes, GX 1-4, and see Ex. 4.2,
infra, aimed at disguising the true interest rates and avoiding regulatory penalties, as
evidenced by Ex. 4.1 sworn testimony.

44. The overwhelming evidence in Ex 1-8, infra, and Ex. 7, attached hereto, demonstrates that
each individual named herein knowingly, intentionally, and willingly, participated in,

facilitated, or directed activities that qualify as securities fraud under 15 U.S.C. § 78j(b)

and Rule 10b-5, as they made false representations and omissions regarding the nature

and legality of the promissory notes, GX 1-4 and Ex. 8, infra. See Ex. 6.2, 6.3, infra, and

see EX, 11-1 attached hereto.

45, The criminally usurious interest rates, ranging from 200% to 2000%, as detailed in Exhibit
4.1, 4.2, and Ex. 8, infra, cf., GX -5, §10.1(iv)’” were calculated in a manner designed to
impose severe financial pressure on borrowers, with repayment terms that left borrowers
unable to fulfill their obligations, effectively placing them under duress.

46, Financial analysis of the promissory notes, found in GX 1-4 and Ex. 8, infra., reveals that
the effective interest rates, when including additional fees and penalties, far exceeded even
the nominal usurious rates (as high as 2000%) disclosed, further compounding the
violations of NYS Penal Law § 190.40, a class E felony.

47. Ex. 6, 6.1, 6.2, 6,3, infra, and Ex. 7 and Ex. 11-1, attached hereto are the criminal and

coercive methods used by Tailwind, Bertisch, Sica, Rabinowitz, LH Financial Services,

27 Unregistered broker-dealer Arie Rabinowitz and the Atlanta, GA law firm Kilpatrick, Townsend, &
Stockton, LLP’s CEO Wab Kadaba (404) 815-6500 or (404) 532-6959 have copies of GX 1-4, and GX 5,
the criminal usury unlawful debt underwriting contracts.

Page 106 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 22 of 200

and McMahon for circumventing and obstruction of the SEC's regulations on the offering
(underwriting) of securities, including structuring offerings to avoid reaching thresholds
that would trigger mandatory registration.”*

48. The criminal usury convertible promissory notes, GX 1-4, cf., Ex. 6.3, infra, underwritten
by LH Financial Service and Tailwind, see Ex. 8, infra, were used in furtherance of a
broader criminal and fraudulent scheme to attract investor funds under false pretenses, as
evidenced by Exhibits 7 and 8.

49. The individuals named herein in Facts 1-4, supra, deliberately chose not to register

with FINRA or the SEC to avoid the scrutiny that_accompanies broker-dealer

oversight.

50. The pattern of activity described in Exhibit 8 and GX 1-4 demonstrates a clear and ongoing
conspiracy among Frank V. Sica, Colleen McMahon, Michael S. Bertisch, Arie
Rabinowitz, LH Financial Service, and Tailwind to defraud investors, evade registration
requirements, and exploit borrowers through criminally usurious loans, in violation of

multiple federal and state laws.

Signed this 7" day of November 2024, in Brooklyn, NY under oath, subject to the penalty of

perjury, and pursuant to 28 USC 1746, having personal knowledge of the facts.

Ulysses T. Ware
/s/ Ulysses T. Ware
Brooklyn, NY
November 7, 2024

End of Declaration

*8 McMahon, Bertisch, Sica, and the executive management of Tailwind, see Ex.. 6.1, infra, lied, committed
perjury, and committed fraud in Form ADV, a statutory regulatory filing, see Ex. 7, attached hereto, and
falsified Form ADV to omit Tailwind, Sica, McMahon, Bertisch, and Rabinowitz’s illegal underwriting
activities.

Page 107 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 23 of 200

AA. Ulysses T. Ware’s Oct. 29, 2024, Request for FINRA
certification of unregistered broker-dealer status for Tailwind
Management L.P., Colleen McMahon, Frank V. Sica, Michael S.
Bertisch, and Arie Rabinowitz, an illegal association in fact, a
continuing criminal enterprise.

The Office of Ulysses T. Ware
123 Linden Blvd, Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
Utware007@gmail.com

Wednesday, November 6, 2024
Time is of the essence
Ms. Emma Jones, Esq.: emma.jones@finra.org

Ms. Marcia Asquith, Esq. (FINRA’s custodian of records)
marcia.asquith@finra.org

Office of the General Counsel-- FINRA

RE: Request for Certification of no business records regarding the broker-dealer
status of the requested persons (Sica, Bertisch, Rabinowitz, and McMahon) kept by
FINRA in the ordinary course of business. See Ex. 1, 2, 3, and 4, infra.

Dear Ms. Jones and Ms. Asquith:

The purpose of this supplemental request is to confirm and clarify the
previous request, to wit: the certification of non-existence of any broker-dealer
business records held by FINRA for the named individuals, which is critical for
ongoing compliance and due diligence processes.

Enclosed you will find the personal identifying information for each of the
individuals listed below, derived from a public records search. This information is
provided to enable FINRA to accurately determine whether it maintains any records
related to these individuals. Please ensure that the enclosed information is handled
confidentially and used solely for verification purposes.

Page 108 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 ‘Filed 03/07/25 Page 24 of 200

Based on a recent in-depth worldwide investigation by an international
business intelligence service it has been discovered that the requested persons
knowingly have underwritten, funded, administered, and collected more than 200
issues of unregistered securities, including criminal usury convertible promissory
notes that violated NYS Penal Law, section 190.40, and federal law, 18 USC §
1961(6)(B)—that is, a Hobbs Act conspiracy, 18 USC § 1951 (a), to commit loan
sharking, Id. § 1961(6)(B), and money laundering, Id., § 1956-57.

Given the critical nature of the information requested, I would be most
grateful for your expedited attention to this matter.

This request for certification is made pursuant to applicable FINRA guidelines
and regulations governing the accessibility of public records, as well as to ensure
that no records exist that may affect the pending investigation involving these
individuals.

The information provided contains personally identifiable information and is
intended solely for use by FINRA for the purposes of verifying the existence or non-
existence of business records. Please handle this information in accordance with
applicable data privacy laws and regulations.

Thank you for your prompt attention to this matter. Should you require any
additional information or have any questions, please do not hesitate to contact me.

At this time Mr. Ware is not requesting the disclosure of any alleged
“confidential information” only the disclosure of the public information required
to be maintained by FINRA regarding Form BD is being requested for disclosure,
or if no such business records are maintained in the ordinary course of business, then
FINRA is obligated to certify that fact.

Sincerely,
/s/ Ulysses T. Ware

November 6, 2024

Page 109 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14

A. Ulysses T. Ware’s Oct. 29, 2024, FINRA request for certified Form
BD (broker-dealer) public records regarding Colleen McMahon, her
alleged spouse Frank V. Sica, Michael Scott Bertisch, and Arie

Rabinowitz. Cf., Ex. 6.0 infra.

_ Reset Form |

REQUEST FORM

Filed 03/07/25

CERTIFICATION OF FINRA BUSINESS RECORDS

To request certified copies of a publicly avaliable FINRA business record, please complete this form and
click the Submit button above, which will create an email to send the form to FINRA.

If hitting the Submit butten does not automatically create an email, please forward ihe form
by email to DL-OGCCartiicationRedifinra.org.

FINRA typically processes and electronically delivers certified copias of requested documents
within 14 business days of recelving this completed farm.

Page 25 of 200

Submit

Requasting Agency / Firn / Organization
(if applicable):

The Office of Ulysses T. Ware

Contact Person:*

Ulysses T, Ware

eee ulware007@gmail.com
Contact Phone:
Ceusiog only, ho dashes oF cAher (718) 844-1260

Raxuesting Party's Case/Referance
Number:

02-24-90036jm (2d Cir.)

Dale Request Submitted to FINRA:*
{dick down arrow io select or mnalddfyyyy)

10/29/2024

Ducumerit(s) To be Certifiad:*

tif there is inguflicient spoce In this farm te fist ihe
documents being fequesied, please Include any
addtional Information tegarang your requestin the
eenaill farwartiing tis form)

lam requesting rush response to certify tha 16
USC 78o(a)(1) broker-dealer records of the
following persons: (1) Colleen McMahon, (2)
Frank V. Sica, (3) Arie Rabinowtiz, and (4)
Michael Bertisch.

This is an urgent matter and is litigation related.

Purpose of Request:

iv] Litigation-Ralated

fa investigation
[__} Ucensing

[| Background Check
[J Other (please spacify}:

Other Information that may ba helpful ta
fulfill this request:

The above individuals are engaged in the
underwriting of criminal usury notes.

Denetes required felt.

Page 110 of 155
Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,

13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).

April 2049
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 26 of 200

B. Ulysses T. Ware’s October 29, 2024, Request to FINRA to certify
broker-dealer public records.

Pg Gmail Ulysses Ware <utwaret07@gmall.com>

Urgent Broker-Dealer certification request
1 message

Ulysses Ware <utware007@gmail.com> Tue, Oct 29, 2024 at 9:39 AM
To: DL-OGC Gerlification Requests <DL-OGCCertificationReq@finra.org>
Bcc: Ulysses Ware <UTWARE007@gmail.com>

October 29, 2024, 9:39 AM
Subject: Certification Request: Urgent — Litigation Related
Dear FINRA Certification Team,

Attached, please find a completed Certification Request Form dated October 29, 2024. |
am requesting certified copies of broker-dealer records in connection with a litigation-
related matter, pursuant-to 15 USC 780(a)(1). This request is regarding the following
individuals:

1. Colleen McMahon
2. Frank V. Sica

3. Arie Rabinowitz

4. Michael Bertisch

The requested records pertain to their roles in underwriting criminal usury convertible
promissory notes. Given the nature of the case, | would appreciate expedited
processing of this request.

Should you require any additional information to fulfill this request, please do not
hesitate to contact me. | am reachable via email at utware007@gmail.com or by phone
at 718-844-1260.

Thank you for your prompt attention to this matter.
Best regards,

Ulysses T. Ware
The Office of Ulysses T. Ware

10.28.24 Certification Request Form (Apr 2019).pdf
a 114K

Page 111 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).

Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 27 of 200

C. According to the SEC’s website Tailwind Capital (CRD# 156562)
is registered only as an “investment advisor” not a broker-dealer; and
according to the SEC and confirmed by FINRA’s BrokerCheck system
Mr. Sica, Mr. Bertisch, Mr. Rabinowitz, and Ms. McMahon have never
registered as broker-dealers on Form BD according to all available public
information. See Ex. 1-3, infra.

TAN Aes naKeLeLareo Meee sa ¥ 0 icon Di tye (ona Ks ee
} "
WA Pdite: Friend
a et FORM ADV ‘OMa: 3315 0949
pines s UNIFORM APPLICATION GOR INVESTMENT ADVISER REGISTRATION Rev. 3037023

Uiisnre os

Direct Owners ond Executlye Officers
Hise ete or fais seat | A. Complete Schedute A only it you me submiltiiiig an initial apollcorioa or repent, Beatedult A sata for ton ebout your direct Sve af execiitene offceys. Ud Schedule € to ainicad this
; ) plantation.
sudan le L2. Decl Owiters and Eeccutiw Oficurs. Lin below ihe names of
fr} each Chie ive Olliogt, Chigt i Chet De! Offices, Cite! Legat Gtl.cen, Chel Comp anue Otficer (Chil Compliance Officer ts requited if you de englatered or apptying for
ele Bs Geist cay iepsiation 4d canned be more than ang indkvedual), directy, aad ény other A ith siaaar totus oi funetiony:

| {hil you are orgaalsed a5 9 corpovation, each sharchohder thot 3 dhect durer of 49s 6¢ nore of a class of your voting securdies, unieik yiiy are a publ reporting campany (a company sublet to
Section 12 of 19{i of the Exchange Acth
Girect owners Atos any person that ous, benelitielly cvms, has the right (0 sole, or tras lve power to well of direct the sale nf, $4 ot more ol a cinss of yous woling securities. For purpores of thls

Schedule, fi pins any ecutibey © y Ayes child, stepchild, gy 4d, parent, z spouse, bing, mother-in-law, Gtherinlay, sorintaw,
dayshténin-law, brothesirelaw, of Lavy, sharing the saat residence; of Ui} that he/she hes the igi to acquire, witha 60 days, though tie exerché of dny ogllon, Wantand, orrightt6
purchsse the secusity.

{cl Hl yay are organized a4 Spaetnersh'ys, gH peneral potters aid these Emited end special partvery that have the sight to receive upon dissetutien, or have cantebuted, Hy armore ct yaur capita
) ila theeateol Stauskite hat diiecily ovis So ar mond bf aclass of your veting securities, Gr that has lie vighl to receive pon dissolution, or fies contributed, 51% or pore uf your cepital, teteytend
each bugles; ane .
fe} if you sre arganized as 0 Enuited Eabiity company (L104, U) those members ihrat Have the right io receive upon dljwelution, wr have contributed, $4 0 m hyo capital, aad i if it
‘ehted managers, a elected manages,
4. Do you have any intext ovraers to be reported on Schedule Bt Eves atte
A fa the DEFFEA colema betowy, enter DE" ifthe nner is a domatc entity, “F2" H the owner is en entay Incorporated or docticited in a foreign county, or “4 the ower or executlve officer fk. at

| Usividval,
ont bes hi) |S. Complete the Tithe of Status coltstnnt by entering board titles; status 5s pattsier, trustee, sole pronrietor, dlected manager, shatelowler, or member; aad for sha renbiders af membais the
class of secirities owned fl mere than i
MURS ae ak -& Deneeship codas bre NA-ises thant 9% G-10% butles then 25% sSoysbul lets tea TS
ASS Dut fessthan iG C+ 25% butlessthaasol Esse orintere
Lita st i “Tfa} in the Control Persson column, enter "Yes" ihe péfsan his conraes defined [n the Giosesry of Teens to Fert ADV, aft enter “Nor A the Berton ddes not hava coltindd Hots that under Ihit

MeuLiIOg, Most euiculive OffiCars eid ab 24% Gwners, Celera pattiMdyS, HeCLEd MuMaters, atid Lruitees are corral pasone
_ db lathe Pe tolieas, enter PR’ d the oumier lp a pubic rapa ting Company vider Seciioiis £2 of LS(dj ol Une Gachanga Aci.
(c] Contpiele epen cofemn,

“EUULLEGALHAME (Indlvidvats: LastName; DE/FE/I YileorStatue == Date Tileor Status. Gunership. Conntrof PR CROHoW I Manes $.8. Ho, aad Date of Birth, IAS
| Fleet Hame, Middle Honea) i Acquired MUAY Cede Person ‘Tax to, of Employer 10 Ho,
| TMLWAND MANAGEMENT LOWER THER {DE PANTHER lon0a : o y fi

“HOLDINGS |

* SOMBEL, LAWRENCE, URIAH 4 MANAGING PARTHER 1172093 RA y fh asa

“SHCA FRANK, VINCENT 7 il PARTNER aijz00s HA ¥ fe tagnoa?

| socel, sAMES, stevenson 4 RARER A200 nA ¥ Wasered?

" CALIIQUHL JEFFREY SC RALL 4 MANAGING PARTHER: | 10/2013 HA ¥ He 2560223

“BERTISCHL, MICHAEL, SCOTI 4 GENERAL COUNSEL; = a3j2010 ta y Ho pnsay72

! PARTNER / COO

“ eORTON, DSO, SANDERS 4 PARTHER aufenis A y Ho dysazea

_ MAYER ANDREW, BOCHELL : A pastinea gujrony ‘A Y ti “yesnz2

“aonsit, 90 4 PARTHER/ CFO. azar HA i Ho seensad

“WLEDEAR, WALLIAMS, AARON 4 paertvign 81/2022 A 4 He Saoutas

“6186, ORMIFL, JASON 4 PARTNER 03/2021 A y HH Si59an9

TALLVAWD CAPITAL GROUP LLC Oe GENERAL PARTNER Liw0es ha : ¥. MN

Previowt Heat

Page 112 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 28 of 200

D.  Tailwind’s SEC certification and admission that its employees
(Frank V. Sica, Colleen McMahon, Michael S. Bertisch, or Arie
Rabinowitz) are not registered broker-dealers authorized to engage in the
business of underwriting and funding criminal usury convertible
promissory notes, see Ex. 8 and GX 1, GX 2, GX 3, and GX 4 in U.S. »v.
Ware, 04cr1224 (SDNY). See Ex. 4 and Ex. 8, infra.

OS Printer Slerasy

FORM ADV OMB: 3205-0048
UNIFORM APPLICATION FOR INVESTMENT ADVISER REGISTRATION Rev. 10/2021
a Pee do a a ae

PP MAND ROL dM Ca af Grae 7a]

Resp tothis item help yout business, essitt Gs iA preparing far o4-s1 iations, and provide us with data ya use when making régulatery policy, Parl LA inthuction Sa, provides
_adéivonal puidance to newdy farinéd idvisers for completing is items 5.

Eniployees

city panited a3 aso'2 hig, include yourself as an your tolem S.A gad thems 5.044), (2), £2), (4), ands). than employee performs more thanonefenction, you

pop
‘should count that employeeti tach ol your responses to itemes B11), (2). I, 13), and G1,

“A Appeaaimately how manty emylyeesda you hovel Include fuil- and part-time employees but do otinelude ony clesitat workers.
a4
(1) Approdimately ew manyal ihe empk dindA gadanns ddhelgary Tunctlons Ginchusing teyzdreh)?
a4
(2) Approxinutely how many ofthe enlovess reported in 5A ate legistered iepresentatives cf a broker-dealer? ee
(I Approsimately how menyol the employees reper ted in 5.4, aie rapistened with one ot more state securttizs, 5 ab i adtuiser reg ives?
°
(4) Anprodin madyaf the eawptey ported in 5A gi d with one of more state sevurities i riser epi! 4 advser other than
jou?
o
15) App Hy how nuaayal th att ported in SA ate li agents af aii ot agence?

a
(6) Approniniately hod maay (ims or other pe-soussobat advisory cientste your belrall?
€

Jn pou: response to Heen 5.8.16), do not count any of pour enipioyees aad couala fan only once - da not count ead of the Rens erployeesthat sober an yout beltail,

* CHents

Page 113 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 29 of 200

Exhibit 1--Frank V. Sica (CRD# 1481917)—employed by Tailwind Capital Management LP
(CRD#156562).

485 Lexington Ave, NY, NY 10017

According to FINRA’ BrokerCheck database on Nov. 6, 2024, Frank Vincent Sica, the
alleged spouse of Colleen McMahon, is not and has never registered as required by federal
law, 15 USC 780(a)(1), as a broker-dealer, and therefore is not authorized to underwrite criminal
usuary convertible promissory notes in violation of NYS Penal Law, section 190.40, the criminal
usury law, a class E felony. See Ex. 6.0, 6.1. and 8, infra.

Frank Sica

Partner
AN TSA Est B)
ca Fe see ep.d| aya HO) Bw ANd od BYU
int Conse CO) aioe eh et OO ter
Page 114 of 155

Monday, January 27, 2025
(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 30 of 200

No public Form BD (broker-dealer) public records maintained by FINRA regarding Frank V.
Sica were confirmed on Nov. 6, 2024.

i iA thokercheck Heip tine (600) 269-9999 @ Schedule a Gall | #8 FINA Home

| i) FIRM : By etching the SEARCH frton o clhenvige Uiiag Sickert heck 1 epee co BrokerChack Torms of Uw

BrokerCheck
Beil “Ene Frenk ¥, Sica Toliwind Copital Management NEW YORK, NY CMEC
®o Pease be yar that taudsters assy Brkt) Brokerbetk from phishing end eavtar sain wabesua, Srytg (© tea! yout penton informieyon cr yout monsy. Mabe Gire you kngny
iho youre dealing with when sweating are] comact FINRA seh) any ofeats: Fist sacte informatica Si cus iwacies elart ontinpostere.
‘Refme Reauils Ye
No Results

We were unable te find any feraefiaviinals That matches ‘hs information you provided. You may want to try ths lolieving
@ Dicadenor quimalize your search orders.
@ Chevy tse spoling of your 4darch lenis. You may want to ly entarng only part of a name,
@ Check thatany CR D Nuaraers SEO Nombers:or Zip Codes are valid

@ Erling the tndivittua! OF flan 6 fed ClO Wil FINRA the Securities and Exchange Comrignen (SEC) of A tale shew ites regulator Also, IEuguals ate Temoved from
Broxercheck ifthey baye-been out of the industry foret least 18 years, except in dases where regulatory Ganchone af orminal achvily have abcurred. i which case
indlusnn in fakechedk is pefaranent. Gree reeicteread, favs ate intluvded #) BrckerGheck pempanently even if Me segistiation Has lapged or heen revoked

® Check the BiokeiCheck Resdurces page On FINRA C19

Only Individuals and firme that are regletered can sell securities to the public, Salespersons and fis may not conduct any securlties business with publle customers
until all required registrations are in effect.

pe

Page 115 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 31 of 200

Exhibit 2--Michael Scott Bertisch (CRD# 5154572)—employed by
Tailwind Capital Management LLP (CRD# 156562)

485 Lexington Ave, NY, NY 10017

6, 2024, Meh to FINRA’ hehe: database eS it was confirmed on

y as_ “br 0 Redoall , and therefore is not
anthoriaed to redorwite celratual usuary convertible promissory notes in violation
of NYS Penal Law, section 190.40, the criminal usury law, a class E felony. See Ex.
4 and Ex. 8, infra.

Michael Bertisch
Partner, General Counsel & Chief Compliance Officer

Page 116 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 32 of 200

No public Form BD (broker-dealer) public records maintained by FINRA regarding Michael
Scott Bertisch. It was confirmed on Nov. 6, 2024.

| \y BrokerCheck Help Line (800) 289-9999 Mi ScheduleaCall | 4 FINRA Home:

By Ci.ckag the SEARCH atta ov ethenvise using Brckel Chand, | saves to BrokerCheck Terms of Use

i !
— Broker heck
wrath 1) Micheel Beitisch oy Taitwind Capital ete: bil NEW YORK; NY Sata]
@) Passe be anare the: fd deters may fink BoharCherk from phishing and sin at cca webstes, yng to steal your personal Infooranon yur mong) Make sige joukoey
who youre dealing vath when nvesing and Coetact AAA wth any concéms. For mae infomation read ove investdr ler on mposters,
Refine Results y
No Results

‘He yere unatle ip find any hems/adivituats shai snalctied the information youpigaded Youmay wantto ty ine following
i Groaderor generalize your seatch cntera,
Check the steling of jour search terns, You nay went to try anteng only part ofa naire,

@ Chack that any CRD Numbers, SEG Nurbers, 07 219 Codes are val.

if Brercheck is ae Bren sess aresieyit fms gis oheteed Brkerchek sain even i its reqstration has leased or beens revoked
@ Checkthe BrokerCheck Resources pagé of FINRA CI

Only individuals and firmis that are registered can sell securities to the public. Salespersons and firms may not conduct any securities business with public customers
until all required registrations are in effect.

Page 117 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 33 of 200

Exhibit 3--Colleen McMahon (DOB: July 18, 1951—no CRD number
available)—employed by Tailwind Management LLP (CRD# 156562)

485 Lexington Ave, NY, NY 10017 or
500 Pearl St
New York, NY

According to FINRA’ BrokerCheck database system, it was confirmed on
Nov. 6, 2024, Colleen McMahon is not and has never registered as required by
federal law, 15 USC 780(a)(1), as a broker-dealer, and therefore is not authorized
to underwrite criminal usuary convertible promissory notes in violation of NYS
Penal Law, section 190.40, the criminal usury law, a class E felony. See Ex. 4 and
Ex. 8, infra.

Page 118 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 34 of 200

No public Form BD (broker-dealer) public records maintained by FINRA regarding Colleen
McMahon was confirmed on Nov. 6, 2024.

1 \ Brokerttiock Hetp Ging (600) 289-9509 BF Schadulogtall | # ANRAHoae

i @) Fine | __ By clicking the BEARDH tutto or ttlenwist wang Bichert heck tagree $2 BrokerChock Terms af Use

Coleen MeMéhon o Tatwind Capital Management i EW YORK. NY

ay ink 9 ReckCheck hem platting and siyeat scant tenbsins, trying 13 Stee! yout pe sad infornation or pou matey. Mote nee you nde
sting. And onntact PIMA wath any capcems, Fot mnt information teed cor invested alert sh imposters

oe

BrokerCheck

() tins vee that frat
_ ahd pots dosing wathy

Refine Results iy

Na Results

We peare unaee to find any firme/indivdiials that motored the dvennation wal povided Yau may wari to try the fotoivess:
@ Rdddericy gentigiim pour auarch caters
& Check the spel of your search terms. You may wants tty entering only part of a nana:
@ Check that any ORD Numbers, SEO Numbers, or Zhy Ceaie’s are valid

removed trom.
ycace

we the iideicual of firiis rei
ve bed
inviusoa ih seekerlhed sertianént Ones egicieed, fis are

a Chochthe trolertheck Resources page on FINRA SS

Ofily individuals and firrns that are registered can sell secuilties to the public. Salesp and fi 9 Nat conduct any securith with pubiie

until olf required registrations are in effect,

Page 119 of 155

Monday, January 27, 2025
(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,

13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document5-14 Filed 03/07/25 Page 35 of 200

Exhibit 4--Arie Rabinowitz (DOB: Dec. 27, 1972) (No CRD number
available on BrokerCheck)

LH Financial Services, Corp.
160 Park Ave, South

Suite 2701

New York, NY 10019

According to FINRA’ BrokerCheck database it was confirmed on Nov. 6,
2024, Arie Rabinowitz and L.H. Financial Services Corp., see Ex. 5, infra, are
not and have never registered as required by federal law, 15 USC § 78o(a)(1),
as a broker-dealer on FINRA’s Form BD, and therefore are prohibited and not
authorized to underwrite criminal usuary convertible promissory notes, GX 1, GX
2, GX 3, and GX 4, government trial exhibits in U.S. v. Ware, 04cr12224 (SDNY),
in violation of NYS Penal Law, section 190.40, the criminal usury law, a class E
felony. See Ex. 4.0, 4.1, 4.2, and 8, infra.

a (Ore) sloygort ale ptaren Wlcxe CereLtLoye ce) Mit (eM Mm Ma NF-1pCelEadest-l are (eCsccayVATATOT} My a(t scl Cex] meareaN LCOS LIU) CHITIN aE A a

Plo ry lcs ass ct

Da

vg PTAA es

ACO) stand | Blea Obsy

Page 120 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 36 of 200

Exhibit 4.1—Arie Rabinowitz's confession of his and Alpha Capital,
AG’s unregistered broker-dealer status. See Ex. 5, infra.

1 Moreover, being unregistered brokers-dealers operating in violation of 15 U.S.C.
) $78o(a)(1), Tr. 204-05, Rabinowitz testified as follows at Tr, 204:

3

+ ADMISSION OF BROKER-DEALER STATUS BY
; ARI RABINOWITZ UNDER CROSS EXAMINATION.

+ Mr. Ware: What Is the name of your campany?
comme 3 Rabinowitz: LH Financial Services,

) Mr. Ware: What business is that ee

rr
1 Tr. 206 1 Nal

> Mr, Ware: Approximately how many companies have you assisted Alpha Capltal
3 with over, let's say, the last five rer

cone} Rabinowitz: A good few tire,

i Mr. Ware: A good fe ne

5 Rabinowits: Ye

Rabinowit testimony of being in the private placement business, and assisting
Alpha. Capital With “a good few hundred” transactions: pursuant to 1S U.S.C,
gr7bla\a2) Rabinowitz and Alpha were “dealers” not eligible for any exemption
under, Title 15 Section 4, and thus not eligible for 17 C.F.R. $240.144(k}/(Rule 144k)
regarding the purchase of the Notes of IVG/GPMT (GX 1-4).

Page 121 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 37 of 200

Exhibit 4.2—Rabinowitz and LH Financials’ loan sharking admissions.

The Alpha Capital scam is estimated to have fleeced the public of more than 53-4 billion (US
Dollars). An Rabinowitz testified for the Government in 1224(RWS) at Tr. 206 (Ex: #5) under cross-
examination hy Ware as follows:

Q: Approximately how many companies have you assisted Alpha Capital with, let's say the last 5
years?

A, A good few hundred. » go ssi

Q. Agood few hundred? i

A. Yes.

Rabinowitz further testified, Tr. 217-19, as follows:

Q: Did you on behalf of Alpha Capital invest in a company by the name Cybernaut?

AL Yes.

Q: How much did you invest in Cybemaut?

A.A few million over a few years, jn

@: How much did you make on this investment?

A: We made alot of money. | don't remember. w

Q: How much is alot?

A: Maybe $10. million, ee s a“
Q: $0 you made $10 million on a [few] million investment? L--”
Ac Give or take,

Q: Now, when you started investing in [Cybernaut] wasn't the stock trading over $9 and went to 42
cents a share [after you and Alpha Capital shorted the stook]?

re *

re

Taking Rabinowitz' testimony at Tr. 206, “a good few hundred” companies he and Alpha Capital AG
invested in, with the amount of money: Rabinowitz admitted to making on Cybernaut, Tr. 218-19,
“[mljaybe $10 million,” the Badian Gang's insider-trading scam has criminally profited by: (300-400

companies) multiplied by ($10,000,000) equals $3-4 billion (US Dollars) in ill-gotten gain: a i
continuing criminal financial enterprise operated from within the U.S. Courthouse at 500 Pearl St,

New York, NY, and One St. Andrews Plaza, New York, by Art. Ill judicial officers and DOJ Officials
eee

and staff. es
U.S. v. Ware, 04-CR-1 224(RWS) and 05-CR-1115(WHP) were both brought by officiais of the DOJ
and SEC involved in the billion dollar insider-trading scam to protect the ill-gotten profits of the
criminal enterprise, :

Page 122 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11, '
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 38 of 200

No public Form BD (broker-dealer) public records maintained by FINRA regarding
Arie Rabinowitz were confirmed on Nov. 6, 2024.

] \, BrokerChuck Help Line (800) 289-9999 @§ Schedulea Call | #i FINRA Home

| Fin | } @y chiang the SEARCH button ef othenies us ng Broxe:Chece, | eject DrokerCheck Terms of Use

i LH, Financial Services, Corp. i NEW YORK,NY

@ Plesse be aviare that frandste's may fk 10 BrokerChech fon iphslite end seni seam websites, (ying to sien your personal informazoi or your money. Make suite you Kae
who poute dealing with when hensting. and contest FINRA yath aay contents, Fer mor inlortauon feed oun investor alert cn imoostes,

PHA Arie Rabinowitz

BrokerCheck

| Refine Resuits ¥!

No Results

We were uiulile to find any flans/individuals thai nuitched the information you provided. You may want tu lry the fofovang
® Broaden or geneialize your search criteria.
w Check ie spelling of you Seach tennis, You may vant to try entering only part of a neme

@ Check thai any GRD Nunibers, SEC Numbers, or Zip Codes are valid,

® Ensure the individual er firm ig 1eqistered with FINRA, the Securities and Exchange Commission (SEC), or a state securities regulator, Aiso, Indivduats are removed from
BrokerCheck if they nave been cut of the industry for at least 10 -years. except in Cases where regulatory sanctions or cnminal activity have occurred, in which case
inclusion in BrokerCheck Is permanent. Once registered, firms are included in BrokerCheck pecnanently even if ils registration has fapsed or been revoked

® Check the SrokerGheck Resources page on FINRA cig.

Only individuals and firms that are registered can sell securitles to the public. Salespersons and firms may not conduct any securities business with publle customers
until all required registrations are in effect. meni

Page 123 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 39 of 200

Exhibit 5--May 17, 2021, FINRA Certification of unregistered broker-
dealer status for each 02cv2219 (SDNY) plaintiff, affiliates, and agents
of Tailwind Capital, L.P., Frank V. Sica, and Colleen McMahon
certified by FINRA’s Marcia Asquith, Esq.

CERTIFICATION OF NO FINRA BUSINESS RECORDS

|, Marcia E. Asquith, being first duly sworn, depose and state as follows:

1. 1am the Executive Vice President, Board and External Relations. In that
capacity, | oversee the functions of the Office of the Corporate Secretary at
the Financial Industry Regulatory Authority, Inc. (“FINRA”). | am farniliar with
and am a custodian of FINRA business records, including interpretations,
policies and rules adopted by the FINRA Board of Governors.

2, No documents related to the firms listed below were prepared, kept and
rhaintained | in the ordinary course of FINRA’s business:

a) Alpha Capital, AG

b) Stonestreet, L.P.

¢) Markham Holdings, Ltd.
d) Amro International, S.A.
@) LH Financial Services

vn itl

Marclb E. Asquith”

Executive Vice President, Board/and External
Relations and Corporate Secretary

Subscribed and sworn to before mie this ppl haay of May 2021
T 7 7

we

Notary Public, District of Columbia} |

My commission expires; 5/3. 1

Page 124 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 40 of 200

Exhibit 6.0--Tailwind Capital L.P. Form ADV page 23 filed with the
Securities and Exchange Commission (SEC) on March 30, 2024, admitted
under oath that Tailwind is mot registered as a 15 USC $780(a)(1) broker-
dealer in the United States. Accordingly, Colleen McMahon and Frank
V. Sica personally violated (1) federal law, 15 USC §§ 77e, 77x, and
78ff, and (2) NYS Penal Law, section 190.40, the criminal usury law,
a class E felony by underwriting more than $100 million in criminal
usury convertible promissory notes and other unregistered securities.

Tailwind Capital's SEC Form ADV Public Disclosures.

the private fund’s manager, ils affiliates and their respective employees and (c) prohibit any dividend
recapitalization within 24 months of the date that a private fund acquires a Controlling Interest in a
portfolio company. If these proposals were to be enacted, even if only in part, they would materially
and adversely affect the ability of a Fund, the general partner of a Fund, Tailwind and any of their
respective affiliates to engage in the investment activities and other operations that they are intended
and expected to engage in, This could result in.a Fund being unable to meet its investment objectives,
or could require a Fund to make, hold, manage and exit investments and otherwise operate in a
manner that involves greater potential liability, risk and expense with lower potential returns for
investors, including due to the use of parallel funds, feeder funds and alternative investment vehicles,

In that regard, prospective investors should note that the outcome of the 2024 U.S, presidential
and other elections creates uncertainty with respect to legal, tax and regulatory regimes in which the
Funds and their portfolio companies, as well as the general partners of the Funds, Tailwind and any
of their respective affiliates will operate, In addition to the proposed legislation described above, any
significant changes in, among other things, economic policy (including with respect to interest rates
and foreign trade), the regulation of the asset management industry, tax law, immigration policy
and/or government entitlement programs during the terms of the Funds could have a material adverse

impact on the Funds and their investments. Tailwind admitted on March 30, 2024, itis
Fund, General Partner and Manager Registration 01 a licensed broker-dealer registered with
the SEC or FINRA.

None of the Funds are registered under the Investment Company Act. The Investment
Company Act provides certain protection to investors and imposes certain restrictions on registered
investment companies (including, for example, limitations on the ability of registered investment
companies to incur leverage), none of which will be applicable to the Funds. Tallwind is not
ropistered as 4 broker- dealer tinder the Securities and Exchange Act of 1934, as amended (the
with | Industry Regulatory Authority, The (*FINRA”) and,
consequently, is not subject fo The cord-keeping and specific business practice provisions of the
Exchange Act or the rules of FINRA,

—

Page 125 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 41 of 200

Exhibit 6.1—Page 63 Excerpt from Tailwind Capital’s March 30, 2024,
Form ADV, see Ex. 7, attached hereto, incorporated by reference herein,
and made a part hereof: Tailwind admitted under oath that Zailwind’s
senior_management_ approved (“pre-clearance”) Frank V. Sica’s and
Colleen McMahon’s (employees and/or agents of Tailwind) $100 million
investments in criminal usury convertible promissory notes, the same
null and void ab initio, uncollectable, and unenforceable subject matter
involved in U.S. v. Ware, 04cr1224 (SDNY), Alpha Capital AG, et al. v.
Group Management Corp., et al., 02cv2219 (SDNY) (McMahon, J.) and
in In re Group Management Corp., 03-93031 (BC NDGA) (WLH)
Chapter 11. See Ex. 6-3 infra, Dkt. 258 03-93031 (BC NDGA) (Hagenau,
Galadl

| Mr. Sica, Mr, Bertisch, Mr. Rabinowitz, and Ms, McMahon according to Tailwind's internal
_ protocols a EE TO RCOR management to

_ haye underwritten or participated in the underwriting of the RICD loan sharking

one BONE RT f

run contrary) to the best interest of the Funds, Tailwind will provide a copy of Tailwind’s Code of
Ethics to clients, prospective clients, investors and prospective investors upon request.

ransacin, particule y if the transaction appears to pose aconflict of inte or otherwise appears
improper. Tailwind also endeavors to maintain current and accurate records of all personal securities

itor all ivity,
oe of its Access Persons in an effort to monitor all such activity -
Tailwind, its employees or a related entity will have an investment in each Fund, For example, the
general partner for cach Fund is owned in part by Tailwind’s partners, In addition, Tailwind and its
general partners will participate in the Funds’ investment programs by agreeing to commit a certain
percentage of the Funds’ total capital commitments or a certain amount as defined in the Funds’
governing documents, Therefore, Tailwind, its employees or a related entity will indirectly
participate in transactions effected for the Funds,

Page 126 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 42 of 200

Exhibit 6.2—(McMahon, Hagenau, and Gitner’s mafia RICO 18 USC 2,
157, 371, 1341, 1343, 1503, 1951(a), 1961(6)(B) and 1962(d) Overt and
Predicate Acts). Collusion, conspiracy, and coordination of Jim Crow
racially-motivated retaliatory, vindictive, and punitive moot void ab initio
leave to file sanctions initiated in concert and by judicial collusion of
Wendy L. Hagenau and Colleen McMahon—see 02cv2219 (SDNY), Dkt.
139, 139-1, and 139-2, McMahon and her husband, Frank V. Sica, are
both unregistered broker-dealers, personally owned more than_$22
million in criminal usury convertible promissory notes similar to GX 1,
GX 2, GX 3, and GX 4, according to records maintained by the Exec.
Director, Administration of the U.S. Courts and the Judiciary, as overt
acts in furtherance of the conspiracy to commit bankruptcy fraud, Hobbs
Act attempted armed robbery, armed aggravated assault and battery,
conspiracy, and other crimes, 18 USC §§ 2, 156-157, 371, 924(c),1951,
1956-57, 1958-59, 1961(6)(B), and 1962(a-d). See In re Colleen
McMahon, 02-24-90036jm (2d Cir.) re: Complaint of criminal judicial
misconduct (Pending).

Coordinated conspiracy to obstruct justice and conceal Brady actual
innocerit exculpatory/impeachment evidence.

In re Group Management Corp. (03-93031)(BC NDGA) (Hagenau, C, J.) |
and L

Alpha Capital, AG et al., v. GPMT, et al., (02cv2219)(SDNY) (McMahon, J.)

Actual innocent petition filed on 10.20.22.
Copa teers

yal ha eel a acti Cy sais
Pei aigatetm Lib =

show cause order entered 4 days later show cause order entered 7 days later

CAG ait eras (Ie ae ey.) PATH P Noe fi Ss1 ae cL rN oS
(etahy hy)

items meresc ee) weeds)
CUTTS TC Aid. ce reg Ld oe Ed

Page 127 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 43 of 200

Exhibit 6.3—Dkt. 258 (RICO Overt and Predicate Act) page 3, In re
Group Management Corp., 03-93031 (BC NDGA) Chapter 11,
Hagenau, C.J. re 18 USC §§ 157(2), (3) and 1961(6)(B) conspiracy to
commit bankruptcy fraud.

Case 03-93031-wih Doc 258 Filed 10/26/22 Entered 10/27/22 00:47:40 Desc

imaged Certificate of Notice Page 3 of 54
There is no such thing as

District of New York in case no. 02-cv-2219 (S.D.N.Y.) (SDNY Case”). The U.S, Trustee

mT TS the motion a copy of the Contempt Order issued in the SDNY Case which recited that
in November 2002, the Court had ordered the Debtor and Mr. Ware to honor the Subscribers*
conversion requests and that the conversion requests had not been honored. The court in the SDNY
“ase ordered GMC and Mt. Ware to honor the conversion requests within three days or to pay the

Hobbs Act, 18 USC 1951(a) extortion

Subscribers $1,000/day tint the requests were honored, The court also slated it would issue a

warrant for Mr, Ware’s arrest to be committed to te U.S. Marshals’ custody until the contempt

Hobbs Act iB det thd Og Pal di ap Pl Gcuptey filing was made for the “improper purpose

of obstructing and delaying creditors in the enforcement of their rights and remedies .. . and

without any bona fide reorganizational purpose(.]”

[~

through their counsel, Dennis Meir at Kilpatrick Stockton; contending the S ubseription Agreement

was not executory because the court in the SDNY Case had issued a judgment on it. The

Subscribers filed their own Motion to Dismiss or, alternatively, a Motion for Relief fiom Slay, and
Se

brief. The Subscribers also alleged the bunkruptey filing by GMC was in bad faith and for the
purpose of evading the orders in the SDNY Case and sought the dismissal of the case or relief
fram ihe stay to enforce the order in the SONY Case. Attached to the Motion was a form 8-K,
purportedly signed by Mr. Ware as Chief Executive, indicating that he had resigned from the board

of GMC effective March 17, 2003, and that Mr, Sinkfield was appointed to the board and was

Debtor's Motion to Reject,
The Court moved forward with the hearing on the Motion to Reject on April 15, 2003, Mr.

Ware and GMC"'s counsel were present, and Mr, Ware testified extensively as to the Subscription

Hagenau' 5 judicial factfinding, judicial and collateral estoppel on KTS, Meir, Mill,

Bar grievance, ipso facto Bar Rule 4-202 "credible evidence."

Page 128 of 155
Monday, January 27, 2025

acting CEQ. The Subscribers asked that their Motion to Dismiss be heard at the samo time as the:

8 eset (or refusal to engage in the collection of a
criminal usury debt in violatiorro USC 1961(6)(B)--the order is not a “lawful" order.

See 18 USC
401(3), criminal
contempt only
applies to “lawful”
orders--
accordingly, the
U.S. v. Ware,
04cr1224 (SDNY)
purported criminal
contempt
indictment is null
and vold ab initio

KTS' conspiracy to commit bankruptcy fraud and canspiracy to steal Chapter 11 estate assets: Dkt. 15 and Dkt. 16
g On April 11, 2003, the Subscribers responded to the Motion to Reject Executory Contract, |

see GX 5, para.
10.1(iv) devastating
and dire legal, penal,
and pecuniary
consequences on
Hagenau, KTS, and its
clients.

Note that Hagenau is being deceptive identifying KTS' unregistered broker-dealer clients as
"Subscribers" rather than as unregistered broker-dealers to deceive the public.

Walker, and

Kadaba--a judicial ruling of 18 USC 1961(6)(B) criminal usury unlawful debt collection activity
during the 03-93031 Chapter 11--binding on KTS and Wab Kadaba regarding the Sept. 14, 2024,

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,

13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 44 of 200

Exhibit 7.0 (see attachment)—Tailwind Management L.P. Form ADV,
March 30, 2024—that is, actual innocent Brady exculpatory evidence
concealed and suppressed by Atlanta, GA law firm Kilpatrick, Townsend,
& Stockton, LLP, Wab Kadaba, Dennis S. Meir, John W. Mills, II, J.
Henry Walker, IV, Colleen McMahon, Daniel Gitner, Edgardo Ramos,
and Wendy L. Hagenau in violation of the Aug. 10, 2007, Dkt. 32, U.S. v.
Ware, 04cr1224 (SDNY) Brady disclosure court order—18 USC 2, 371,
and 401(2) and 401(3) civil and criminal contempt of a lawful Brady
disclosure court order, cf., Ex. 6.2, supra (McMahon, Hagenau, and
Gitner’s conspiracy to obstruct justice overt and predicate acts.

Page 129 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 45 of 200

Exhibit 8.0—Colleen McMahon, Frank V. Sica, Arie Rabinowitz, LH
Financial Services, and Tailwind’s illegal underwriting of criminal usury

convertible promissory notes in violation of federal laws, 15 USC §77e,
77x, and 78ff.

Exhibit 8.1--Colleen McMahon and Frank v.
Sica’s Massive +$22,000,000 Personal
Ownership in Hobbs Act RICO Criminal
Usury Convertible Promissory Notes
Underwritten in violation of 15 USC §§ 77e,
77x, 780(a)(1), and 78ff; and NYS Penal
Law, section 190.40, the criminal usury law,
a class E felony.

Page 130 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 46 of 200

Exhibit 8.2: Judge McMahon’s and convicted felon Edward M. Grushko’s money laundering
that involved unregistered broker-dealer and RICO unlawful debt creator and collector
Alpha Capital, AG. What are Judge McMahon and her spouse, Frank V. Sica’s relationship
to Alpha Capital, AG, Kenneth A. Zitter (Harvard Law), Dennis S. Meir (Harvard Law),
Thomas W. Thrash, Jr. (Harvard Law), LH Financial Services, Inc., and Ari Rabinowitz?

Hagel ott
Hille hand bermmaneoE BS : ite
THOORENG WHE (Cind Meanger

Hara bh Wh Laicheeid on yoebe Ketpteng WEE

me

Mone

cc SICA Coane? fesacumse ayiee

Rei

PEG rhhtg,

fime[omckan [Roms] Read Jomimaia]

iw pee ee eee ee

Essie Leos ascewe | tel gevtarmopen Ess]

shy dNtose beste wetptrene tos ag aisle ophea eoTeeT my

TM thiver theaes teayerene, Tor,

—-~ at

WH) ekperty Cepttal dattreiny nie

ar Buk

Se pitiege Weal Frist aihtanh tacek Roy
See ee ee RT LE Letty

ris

hA one Y
Laundeviny |

14 A

Percariam,

Respondent, faward M_Gruchhg, was admitted
tothe practice

finn mad 144)
of law in tho Htate af New York by the Second
Jedictal Department on September 23, 1981 and
at all dimes pertinent to thus praesding hos
inalalained an. office for the practice of Jaw
withha the First Judicta! Department.

Of April 13, 1991, rospolident way cohyicted,
me plea of july the United Srates
Distiéet Onin foe the Dictict af Nevada, of ee
es ry facumtinit securities (faust
in vigiatinn of 1% USI 8 475 and 15 Use; azn)
and & 27x, a felony under the United

Col, On Aujust a4, 1903, rekpotident yas
sente ceed to ont year of “administra tive”?
protiation: mid 4 }scan finns, Hoesppofadent'a

ae nt
conviction resulved Pain ee a seglitration
statement with. the Securities aid Exehatyee
Commission (S60) that failed jo dliclose, thet

figsrehwasts and that actual contrat of the
corporates was by uitd paties and hay
ahated aA that the nomine officers and
ditexor had piidchassd stock i the
cur poration:

Page 131 of 155

Monday, January 27, 2025
(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).

November 6, 2066
EDWARD M GRUSHKO _

0) say

Time] Deactiption {| Amount] — Account —_ || Etfective Date
 nenpeteenenecen pepe omen
wt {:8bp |] WIRE TRANSFER || 469,067.60 } from O00048208084 4

(2) {2800 ] WIRE TRANSFER | 34,007.20 } from 000046208064 __ 5106 |

fairing
and Alpha Capital Anatalt

wv {2) Dragonfly Capitat Partnots, Lic

Silver pragon Resources me

Ou) Silver Dragon Resources, Ina,

(ay enushko # wigeman % A Trust Acco

eT unt Check Nov: 24

ie @rayn to the order a4 Grushke & MTttean, Pit. Ln the ra
 qnount of $11, 02

WMene!

Laundevin
Shc bbs

Ww sinessonline.da-ua.citibank.com/basprod/citiiwvhtmVBAXtogs him!

Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 47 of 200

Exhibit 8.3: Money laundering by Edward M. Grushko, Alpha Capital, AG, and Judge
Colleen McMahon in the Silver Dragon Resources, Inc. litigation.

ewe PRMD OP RP NS PP ke eed weak et “J WV Vk esa eee]

Response due by 1/4/2008. Show Cause Hearing |
set for 1/9/2008 at 10:00 AM in Courtroom 21B,
500 Pearl Street, New York, NY 10007 before Judge
_Colleen McMahon. n. (Signed by Judge Colleen
—_—

i
2 Filed: 12/20/2007, Entered: 12/28/2007 Behe 2 epee Reserss
RULE 7.1 CORPORATE DISCLOSURE STATEMENT.
No Corporate Parent. Document filed by Alpha
Capital Ansalt.(laq)
ae
«Filed: 12/20/2007, Entered: 12/28/2007 Compiling
COMPLAINT against Silver Dragon Resources, Inc.
(Filing Fee $ 350.00, Receipt Number ss
636599)Document filed by Alpha Capital Ansalt. |
(laq) _ ATCT a eas cmc! |
on
- Filed: 12/20/2007, Entered: 12/28/2007 Own Designated EOF
Case Designated ECF. (laq)
wi
- Filed: 12/20/2007, Entered: 12/28/2007 Cave Basigiation
Magistrate Judge Theodore H. Katz is so
designated. (laq)
: . wy
Ws! 99/20/2007 Entereu: 12/28/2007 nese

SUMMONS ISSUED as to Silver Dragon Resources,
Inc. (laq)

Page 132 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 48 of 200

Exhibit 8.4: Reported 2020 income of Frank V. Sica.

Ra i Rue Carr a4

mona HL Teg: enti

[] NONE (No reportable non-investment income.)

DATE SOURCE AND TYPE
1/3020 CSG Systems Inc-Director Fee
2, 2020 Kohl's Department Stores Inc-Direotor Fea
3. 2020 Safe Bulkers inc -Director Fee
4, 2020 Jet Blue Airways Corp-Consultant
Morgan Stantfay-Ponsion Income
‘Tollind Management LP-Partner-G wed Payniont i

SAILWIND

Actcalerate Change,

Page 133 of 155
Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).

STRATEGY = FEOPLE COMPANIES RESPONSIBILITY

Frank Sica
Partner X

Frank's active portfolio company invelvement includes Acertus, ASC,
Banner, Dermatite, Invafresh, Loenbro, Stratix and Ventiv,

Prior Experience

Soros Private Fund Management
Morgan Staniey

US. Air Force

Education
BA, Wesleyan University
MBA, The Tuck Scheol of Business al Dartnouth
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 49 of 200

Exhibit 8.5: #103 2020 convertible promissory note valued between $500,000 and
$1,000,000.

oie] CTL HUEL eigtel cel erAtp ava) AU M aL : acy en ob. ee ed)

FINANCIAL DISCLOSURE REPORT _[HsmeotFerion Reporting ) Date of Report

Page 10 of 37 q McMahon, Colleen y C 03/12/2021 )

VI I, INVESTMENTS and TRUSTS .. income, villue, (ransaetlans (Includes those of grouse and dependent childreny see pp, 34-60 of filing instructions)

a NONE (No reportable income, assets; or transactions.)

A. B. G, Dd.
Description of Agsets Jocome during Gross value.at end Transatlions during repodting period
(includiaig nist assets) reporting period of reporing period
) .. @ a) Q) a) @) (3) @) (3)
Place “BY ‘sfter cach Asset Apiount Type'(eg., Value Vatoe Typo (ez. Date = Value. Gain Identhly of
exempt ftom ptior disclosure Codel div vert,  Code2— Mecthiod buysell, —smnviddyy Code2 Coded buyerteller
(A) print) up Coda 3 redemption) (EP) (st) {if private
iy) transaction)
— fi" Monaco Ine(Cony, Promissory Note) N/C None 0 T
Topia Lid Ser D
104.- Romulus Capital 1] US Peeder LP 1 None N U
105; Ling-Grommer Co LLC C | Distribution} = J U Sold olan} J Soo Note #1
{past)
106, ‘Sold 082620; J
(part)
107, Sold O90; J
{part

Page 134 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 50 of 200

Exhibit 8.6: #113 2020 convertible promissory note valued between $100,001 -
$250,000.

eC IBUCIE RCH CET Ce vAIPAUn Tf Pa AY) oe: oD)

FINANCIAL. DISCLOSURE REPORT Name of Person Reporting Date of Report

Page 12 of 37 McMahon, Colleen )

Vil. ‘ INVESTMENTS and TRUSTS - income, Value, ceonsuetions (Trtcludes those of spouse snd dependent children; see Pp. 44-60 of filing instenedans)

[J NONE (No reportable income, assets, or transactions.)

Ay B, ¢. D:
Description of Assets ingore during Gross valve at ead Transactions duriig sepotting period
(including trust asséts) reporting period of reporting period
{) 2) (1) @ ()) (2) Q @
Place "(X)" after each asset Avtount Typefeg, Valué Value «= Typeltig, «Date. = Value) Gain Identity of
exeitipt fom prior disclosure Code! divreat, Code Method’ «—=sbuy, sell, mildly Code Code | buyerseller
(rit) «= QP) Code 3 redemption) GF) @H (private
QW) transaction)
137., --Safebulkers Ine None kod
138... -Martin Pharmaceuticals,Ine(Convertible 1 None M ) T
Note). ~
139, Kinderhook Capital Fund VILP None | Lb U Buy | 10/0520) -K
(esa!)
140. +-Allianee Bemstein Holdings LP MLP E |Distibution} N U Sold 1280/20] K See Note #1
| (par)
141, --Ares Capital Com E |. Dividend N t Sold 624/20) 0
(part)

Page 135 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).

Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 51 of 200

Exhibit 8.7: #142 2020 convertible promissory note valued between $100,001 -
$250,000.

Eee eerie liane iver ic eerA Url Te iV eey) Seas llc)

FINANCIAL DISCLOSURE REPORT _ | NimeotPerson Reporting ) Date of Report
Page 12 of 37 McMahon, Colleen On/1272021

VIL INVESTMENTS ‘and TRUSTS - income, value sansaciions (hiclades those of sponte and dependentichildrens see pp. 34.60 af filing taitenetions.)

[J NONE (No reportable income; assets, or transactions.)

A, 8. e D:
Description of Assets income during Gross value at end Transactions during reporting period
(including trust assets) fepoiting period of reporting period
wi. @ () @ ao @ (3)
Place “@)" afler each asset Amount ‘Type(eg, Value Value Type(ce. ‘Date = Value Gain Identity of
exenipt from prior disclosure Code) divirent “Code? «Method buy, sell, andy Code 2 Code t buyériseller
(OH) oriaty UP) Codo3——_sedempifon) UP) (AH) (ifprivate
(W) initsaction)
137.. -Safebulkers Inc None K T
138, --Martin Pharmaccuticals,Inc(Convertible ‘None M T
Note)
139, =-Kindethook Capital Fund VILP None L u Buy rosa) K
(add'l)
140... -Allianes Bemstein Holdings LP MLP -E | Distibution}| oN U Sod = 128000) K See Note #1
We ‘(party
141, +-Ares Capital Corp H | Dividend | N | OT Sold = 062420] 0
(part)
( | «-Acreto Cloud Corp(Cony Promissory J None LL) y Buy 127210) L
Note)

Page 136 of 155
Monday, January 27, 2025
(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,

13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).

Case 1:25-cv-00613-MLB Document5-14 Filed 03/07/25

Exhibit 8.8: #204 2020 convertible promissory note valued between $500,001 -
$1,000,000.

Page 52 of 200

ia ¢ SPAR ele 6
202, Safebulkers Ser D 8 % Preferred B | Dividend | oM t
203. ChadilQ LLC. Nong N U
erences te
| 204. Transplant Genomics Inc (Convertible Note) None Sold 103620) [0 7 G
4, Hoe Gal Dale Asfidiiortet iN=Si.AO) $9300 51.0 + 00 D=S4.008 515,000 Ro$t 5001 $5000
iSeetecaras BE adi) FaSontot - Siadaoo OeSiOhAn -S100ns00 Us $1000.00) «$5,400000 1 mona ian $5,0001000
2 Vales Cotes “FSG ortess KSEE $56,000. L=$50 91 - $106,00 He aSiOeal $254,000
(SeeCohunas Chand BH) Ms 4R0) «30K OND © e$scnpa «$1,000,000 PESL O00 S500 Pa LORIN SACO
FeSO «SBD Ni aNece tan $30,000,800
3. Valos Stodod Coes Qedgontsal K eroit (Real Eouate Oey) 8 *ALeignent : Teach Most
{See Caluna C2) U Beek Vatie VeOdue Weise
FINANCIAL DISCLOSURE REPORT | Ne of esieaiteporting Donel eae
Page 16 of 37 ff McMahon, Colleea ori22021

VIL INVESTMEN TS and TRUSTS .. fncomé, velue, transactions (hicludes those of spouse ond dependent childreny $08 pp. 14-60 of fly tastrutdpue)

[} NONE (No reportable income, assets, or transactions.)

Page 137 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14

Exhibit 8.9: #219 2020 convertible promissory note valued between $100,001 -

$250,000.

Filed 03/07/25

Page 53 of 200

219. Sensai Corp (Converitible Note) J

we [D>

220, Cycle Pharmaceuticals LTD (Ser A Shares)

None Pl T Sold
(part)

10/15/20) N

221, Free ATM Ine (Ser A Preferred)

‘None K

| Jocome Gai Codes: ‘A =$1,000 of less:

(See Coluans BI and D4) F=850,001 + $100,000
2. Value Codes 1=$15,000 or less

(See Coluras Cl and D3) ‘N =$250,001 - $500,000

P3 $25,000,001 - $50,000,000
-Q Appraisal
U=Book Value

3. Valua Method Codes
(Sce Colum C2)

“G@=$100,001 - $1,000,000

B =$1,001 - $3,500 282,50! - 55,000
111 4$1,000,001 ~ $5,000
‘L=350,001 - $100,000

PY =51,000,001 - $5,000,000

K=$15,001 - $50,000 .
© =5500,001 - $1,000,000

P4=More than $50,000,000.
R =Cost (Real Estate Only} S$ =Assessment
¥ POther W Estimated

FINANCIAL DISCLOSURE REPORT

Page 17 of 37

D=S5,001 - $15,000

T=Cash Market

HE2 = More than $5,000,000
M =$100,001 - $250,000
P2=$5,000,001 - $25,000,000

E=$15,001 + $50,000

Name of Person Reporting

McMahon, Colleen a

Date of Report

08/12/2021

Page 138 of 155
Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 54 of 200

Exhibit 8.10: #220 2020 convertible promissory note valued between $15,001 - $50,000.

ESM | enitieaieame eta tetera Aen 1) Way fa Ce 45) es eee)

FINANCIAL DISCLOSURE REPORT _[Naeotvetson Reporting Date ot Report

Page 17 of 37 McMahon, Colleen )

VIL INVESTMENTS and TRUSTS ~ laconte, value, transhetions (Inclades thase of spouse and dependent children; see. Bp. 34-66 of filing instructions.)
[| NONE (Wo reportable income, assets, or transactions.)

Ae B & D,
Desctiption of Assets Income during” «Grose vile wtbad Transactions during reporting period
(including trist mssoté) reporting period of reporting period
sei (1) Q) Q) @ () Q) GB (3)
Plate @) met oy seat Amount Type (2... Value Vales Typo (eg. Date = Value | Gaia Tdentity of
exempt fedmu prior disclosure Code! div..rent,  Code2 »—- Method buy, sell,  innviddyy Code? Code 1 buyeriseller
(AH) orint) (-P) —Code3_—_tedermption) Ue) (Aa tif private
(0-W) transaction)
222, Engage Simply Ine (Convertible Note) None { K ) T
223. Build and Tinagine LLC © | Distribution} J U Sold 42/2120] 93 Seo Note # |
224. Linx-Transpro Co-Invest LLC A | Distribution] =M U Sold O10] 5 See Note #1
{part)
223, Linx-Gullett Co-Invest LLC None M u
226, $0 Mast LLC None M u

Page 139 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11, -
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).

Case 1:25-cv-00613-MLB Document 5-14

Filed 03/07/25

Page 55 of 200

Exhibit 8.11: #244 2020 convertible promissory note valued between $500,001 -

$1,000,000.

FINANCIAL DISCLOSURE REPORT
Page 18 of 37

Name of Person Reporting —

MeMahon, Colleen

Date of Report

08/12/2021

Vi. INVESTMENTS and TRUSTS duconde, value, (ransiitions (Includes those of spouse and dependent vhildren} see Pp. 34-60 of fillug tustruetions,)

[| NONE (No reportable income, assets, or transactions.)

A B, c, D,
Description af Assels Incorse during Gross value at end Transactions during reporting period
(including trust nssets} reporting period ‘of reporting period
. a) 2 a) @) uy) @) a (6)
Place "(X)" after each uaget Amount Type(eg, Value Vale «= Typa(eg, Date «Value Gal Anoahy of
exempi from paler digelosure Code! div rent, Code 2 Methad buy, sell, s min/dd/yy Code? Code buyer/selter
(AB) or int) GF) Codo3——_ redemption) GP) (AH) (if private
(QW) ifensaction)
239, Buy OS$20) L
(add'l)
240. Sold  |o2i0] Pi
241. Linx-CPT Co Invest LLC . B | Interest E | Sold = fo1is20f J
(part)
242; Sold 04/720) J
(part)
243. Sold 07/17/20)
ms ai (part)
244. Oxy Does, Ine (Conv Promissory Note) None T Buy O20)
: i fadd’l)
245. Olympus Capital Asin Fd: V LP None o u Buy o1/2120) K
fadd'ly .

Page 140 of 155
Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).

Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 56 of 200

Exhibit 8.12: #254 2020 convertible promissory note valued between $500,001 -
$1,000,000.

254, Terafina Inc (Conv Promissory Note) None 0) T
255. Highland Resort At the Peaks LLC None: L U Sold Joiasa0} J
(part).

Ls lngomne Gain Codes: A251,000 oF ess B=S$1,001 - $2,600 C=52,501 « $5,000 $3,001 + 515,000 #=$15,001 - $50,000

(See Colamns BI nnd D4) FsSSO01 «$100,000 -G $100,001 + $1,000,000 HHL $1,000,001 95,000,000 _H2=More than $5,000,000

2, Value Codes 3=$15,000 or less. K=$15,001 » $50,000 L.=$50,00) » $100,000 4 $100,001 » $250,000

(See Columns Cl and D3) N=$250,001 - $500,000 0 $500,001 - $1,000,0 PL $1,000,001 «$5,000,000 P2.wf'3,000,001 - $25,000,000

3 $25,000,001 + $50,000,000 Pd Moco dian $30,000,000
3, Value Method Codes Qe Appraisal R Cost (Real Bstate Only) BS eAssessincnt T=Cosh Market
(See Column C2) U Book Value Vebiber W=Esimaad

io ee creer as

FINAN CIAL DISCLOSURE REPORT Name of Person Reporting Date of Report
Page 19 of 37 McMahon, Colleen 08/12/2021

Page 141 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 57 of 200

Exhibit 8.13: #259 2020 convertible promissory note valued between $500,001 -

$1,000,000.
FINANCIAL DISCLOSURE REPORT Namie of Person Reporting Date of Report
Page 19 of 37 MeMahon; Colleen east 08/12/2021

Vil. INVESTMENTS and TRUSTS ~ Income, value, transactions (Includes those of spouse and dependent children; see pp. 34-60 of filing Instructions}

[| NONE (No reportable income, assets; or transactions.)

A. B. £G D.
Deséription of Assets ‘Incorne during Gross value at end Transactions duting reporting period
(including trust assets) _ -Feporting period of reporting period
: (} g () Q) (D (2) @) (4) G)
Place “00 aller cach asset ‘Amount Type (eg. Vatae Value ‘Type (e.g. Date Value — Gain Identity of |
exempt from prior disclosure Codel divs rent, Code 2 Method buy, self, mm/dd/yy Code2 Code | biiyer/seller
{A-B) or int) (EP) Code 3 redemption) (eP) (AH) (if private
(QW). Wansaetion)
256, Edward Jones Rotiremont MM(IRA) A | Dividend | oy | oT
287, Fidelity (Cash) | A | tnterest L T
258. Figue Holdings LLC None Sold = | 1241AD| I
259, Gain Fitness Ino(Conv Note) None | { M- / F
260, Aisling Capital 1V LP E | Distribuion| PL} oy Buy 010320] K See Note #1
_ {addy
261. Buy 03/23/20] °K
262; Buy os/10/20; K
(add'l)

Page 142 of 155

Monday, January 27, 2025
(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,

13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).

Case 1:25-cv-00613-MLB Document 5-14

Filed 03/07/25

Page 58 of 200

Exhibit 8.14: #276, 277, and 279 2020 convertible promissory notes valued between

$500,001 - $1,000,000.

FENANCIAL DISCLOSURE REPORT

Page 20 of 37

Name of Person Reporting

MeMahon, Colleen 3

Date of Report
08/12/2021

VUL INVESTMENTS and TRUSTS ~:

» Wale, f

[_] NONE (No reportable income, assets, or transactions.)

notions (Ineluves tide of spause ond dependent childrens see pp, 34-60 of filing insteuciions,)

A. B. ie bp.
Deseripilon of Assota Income during Gross value at éad. Transactions dusing reporting period
Cncluding iia assets) reporting period of teporting period
44) @ @) Q) @) Q) &” @)
Place “{X)" afige each asset Amount ‘Type (e.g., “Value Value Type (ou. Date Value Gain Identity of
éxcinpt from prior diset Codel  divarent, Code? — Method buy, soll, = mmfdd/yy Code2 Code t buyer/seller
{A-H) Or int} (EP) Code redempiion)- GP) (4-H) (it private
(QW) transaction)
273. Fulling Mills LLC None 0 U
274, Ram Realty [V LP None 0 u
275. Alpine-Gleenwood LP None Closed’ 1231/20 Seb Note #11
276. BigiD Ie(Cony Note) None M ) T
277, Lending Front Ine (Cony Note) J None ¢ M ) T
278. Mine One GMBH (Ser Ash) (IRA) None | ™ T
pantmansstinerersnrrnmetitions staanih,
79, Relationship Capital Partners Inc (Cany None i oO ) 7
Notes)
280, PHRP LLC See Note #9

Page 143 of 155
Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11, °°
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 59 of 200

Exhibit 8.15: ##297, 300, 302, and 304 2020 convertible promissory notes valued between
$50,001 - $1,000,000.

297. Relationship Capital Parinets (ERA)
{Convenible Promissory Note)
298, BRA Investor Fund 6 LP Nonie u
299, Groupize Inc (Ser A+? pfd) : Nowe Buy o8/13/20| M .
- . (add'ly
300.. Medaptive Health Inc (Conv Prom) ) None +: Buy O7/A0/20) 1K
a eae fave
301, Shiftsmart Inc (Ser AA Preferred) None + Buy: o12aRo| LD
2 2 (udd'ty
302, RondCliQ Inc (Conv Promissory Note) None 7 —
2 Noxtremity Solutions Inc (Ser B Preferred) Nore: 7
sau it : :
34, TOX L Holdings LLC(Convertible Note) None 7
305, Entrep Expansion Fund HELP Nowe M U Buy 02/28/20 K
a feet.
306.. Kindethock V.LP None ro] ou Biiy: ‘OF/2700 | = M
{add'l}
1 intome Gain Crdes: AABL OOO or lead . 1b BENG) «$2,900 e290) - $5,b0D D AS5,001 «$15,000 BrSis00) - S500
(See Cofuenas i and D4) F =$50,008 « $150,000 G =5109,00) - $1,000,000 Hf <81,000,001 - $5,090,000 EB =More thin $5,000,000 :
2. Vatue Coder J =$1S,.000 oF fess Kk @$13,001 - $50,000 1 $50,001 - $100,900. df = $100,001 » $250,000
(Seo Columas Ch aad Dap oN $280,001 « 5560.060 0 =8500,001 + $1,000,000 ‘BL 681,000,005 - $3,600,000 H2—$5.000,001 - $25,000,000
PS $25,900,001 « $30,000,000 : (Ad More thas $50,000,000
3. Waloc Method Goes Q=Appeaizal Re eCost (Real Hatite Guly} S=Acrssovent T =Cash Marker
Eee Cotumn C3) U shoak Velie V eOter W =Eatinated

FINANCIAL DISCLOSURE REPORT Nanie of Person Reporting. Date of Report

Page 22 of 37 MeMahon, Coftegn 08/12/0021
Page 144 of 155

Monday, January 27, 2025
(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,

13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14

Exhibit 8.16: #323 2020 convertible promissory note valued between 100,001 -

Filed 03/07/25

Page 60 of 200

$250,000.
320. Sold 12/23/20
{part)
321. Parkstone Capital Partners IIL LP E EDistribution] = u Sold 11/23/20 See Note W}
(part)
922.1101 Grundy Property Owner LLC None o u
323. Adaptive Management Ine (Convertible ‘None M T
Promissory Note)
——
1. fnoonie Gain Codes: A=51,000 oF less BAS$1,001 + $2,500 $2,501 - $5,000, D $5,001 + $15,000 H=$15,00) - $50,000
(Sev Columas BI sad D4) 1*$50,001 $100,000 -35100,001 + $1,000,000 Hi =$1,000,001 « $4,000,000 H2 More than $5,000,000
2. Value Codes J=$15,000 or tees: K $15,001 + $50,000 1. =$30,001 - $100,000 M «$100,001 - $250,000
(See Colas C1 and 03) N=$260,001 - $500,000 © =5500.001 - $1,000,000 PL =51,000,001 + $5,000,000 press. o0 ;
4 =$25,000,001 - $0,000,000 ‘4 =More than $0,600,000
3, Vatu Method Code Q Appretesl HeCost (Real Estate Only} S=Ascuement T =Car Market
(See Colunin C2) U “Hook Vahie V Other : 6¥ Eaaienated

Date of Report

FE INAN CIAL DISCLOSURE REPORT Name of Porson Reporting
Page 145 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 61 of 200

Exhibit 8.17: #4327, 334, 336, 337, and 339 2020 convertible promissory notes valued
between 50,001 - $500,000.

[_] NONE (Wo reportable income, assels, ov transactions.)

Ai BR eo . D.
Deigription of Assets Income dusiag Grow valueny ond Trawsgetlons during eeporting period:
{including trust assets} reporting period ‘of tepucting petind
i) Gy Ww 4H a) a) a a) (3)
Place "(X)* afte each eager’ Amount ‘Type(eg, Volos Voie = Typetog. Dale’ Vag. Gain Identity of
oxampt from prbor discloare Godel divrent, Cade 2 Method. tay; sell, mmidyy” Code? Code | buyer/seller
(AH) ori) = GP) Code redemption) (-P) (AH) ifprivate
(OW) transection)
324, Blue Systems A.Y. Lid (Ordinary) DBA Now |b + | Buy  loworol
Gabriel Networks (add'l)
325, B Hospitality Corp (Series Seed Preferred). None m | Buy  fowseol
(addy
326, Felix Grwy tno (Sur A«l Preferred) None | M TS
327. findSisterhood Ine (Convenible Promissory Nowe: (s) T
Note) ‘SEE emeemiesites :
328. LA Aloe LLC i Notte: Closed | 1/3120 See Note # 11
329. Link+CTAM Co-Invesi, LLC. ae None. M u
330, Plum Alley Syndicate XINLLC ~~~~C*~SCS*S«S~CS«<~NRt Sd) u
331. Vitalis LLC: “None M u
33, Ladder Capital Corp (Com) (IRA) B | Divided | ON € Buy jee) om
(aad)
333, AG Team Partners IL LP None M u Buy O1nie! K
si iadd'ly
None T
335. Clarke (Mortgage) N/C |B | tnverest N T
MiMoetings d/b/a 242 LLC (Convertible None C5 t
Promissory Note) | Aaah
.. Modumental Ine (Convertible Promissory None’ L T
es Non |
438. Popin Ine (Series Seed Preferred) “None ‘Closed = | 193120 See Note # 11
| 339. Second Screen ine (Convertible Promissory None Sold | o9v0ara0] 3
Now) Sveitnaiensames
340, SPC Vereco LP None ® u

Page 146 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 62 of 200

Exhibit 8.18: #376 2020 convertible promissory note valued between $250,001 -
$500,000.

FINANCIAL DISCLOSURE REPORT Name of Person Reporting Date of Report
Page 26 of 37 H AcMation, Colle i
€ McMahon, Colleen \ 08/12/2021

VIL INVESTMENTS and TRUSTS ~Inconiw, vate, transactions (Incluites mose of’ pouse and dependent chilldren; see pp. 34-60 of filing instructions.)
[_] NONE (No réeportable income, assets, or transactions.)

A, B, c. D
Description of Assets - Income durmp Gross valac at end Transactions duri :
: 2 ions du ti :
(ineluding trust assots) reporting period of reporling period NADER
- . () @) @ (2) Q) (2) ® a (5)
Pate '(X)" after cach asset Amount Type (¢.8 Value Value Type leg. Date = Value |= Gain Identity of
exempt (tm prior disclosure Cedel — diy., rent, Code2, Method buy, sell, mm/dd/yy’ Code 2) Code} -buyer/setler
AH orint) (:P), Code redemption) (-P)  (A-H) (if private
(QW) (ratiwadtion)
375, adTheorent Ino(X) C | Distribution ‘sold = foaosz0] See Note’ # 1 & Note #
376, Presio (Convertible Promissory Notes) None ( N ) T
377, Airbud Technologies Ino( Seed Series None 14 N:
Preferred)(N/C)Hydre Al i 7 catk earn
378, Aising V LP None ae 7G Buy 02/06/20) M
(add'l)
379. Buy 09/21/20} -M
{add'l)
380. Buy 10723720! M
tadany
Page 147 of 155

Monday, January 27, 2025
(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,

13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14

Filed 03/07/25

Page 63 of 200

Exhibit 8.19: #387 2020 convertible promissory note valued between $15,001 - $50,000.

ay (part)
387. EVZDRP-Inc (Convertible Note) f None « ) ~
388. Flank GP Fund None pfu Buy 06/0320| ON
(add'l)
389. Linx-TGS Co-Invest LLC Cc Interest M U Sold oi320} J
(part) :
390,
Sold 04/08/20 J
{party
91.
3 Sold = [07707720] 3
(part)
1, Income Gain Codes: ‘A™=$1,000 of fess 8 4$1,001 «52,500 C=$2,501 ~ $5,000 D $5,001
Gales 0 or tess c ~S5, O01 ~ $15,000 =$15,001--
(Sse Cohimns 81 and B4) F =$50,001 - $100,000 G=$100,001 ~ $1,000,500 Hit $1,000,001 . $3,000,000 H2 =More than $5,000,000 aeeen
2. Value Codes 3#$15,000 or tess K-=$15,001 = $50,000 L=$50,001 - $100,000 M$ 100,001 - $250,000
(See Columns Cl asd D3) N=$250,001 - $500,000 =$500,001 $1,000,000 PE=$11K)0,601 - $5,000,000 P2=$5,000,001 - $25,000,000
P3 =$25,000,001 » $50,000,000 P4 =Bore than $30,000,000 ee
_3: Vale Neihed Codes Q=Appeteal R=Cost (Real Estate Only) SoAueieee TP Cash Market
(See Column C2) U “Book Vahie V eOther W=Esimsted

FINANCIAL DISCLOSURE REPORT

Page 27 of 37

Page 148 of 155
Monday, January 27, 2025

‘Name of Person Reporting

fii,

McMahon, Colleen)

Date of Report

08/12/2021

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11, *
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 64 of 200

Exhibit 8.20: #425 2020 convertible promissory note valued between $100,001 -

$250,000.
422, Biosymetrics Inc (Com) None if T Buy = [0701/0] L
423, ChargingLedger Ine (Series Seed) None K T Buy 04/14/20) K
424, Eluceda Ltd (Ordinary shares} None M y Buy 10/27/20| M
425, Bnalare Th Ine (C
425, Bnalare Therropeuties Inc (Conv Promissory None
si) UI ie Mo T. Buy 12/2320) M
1, lncome Gain Codes A's$1,000 07 less B=$1,001 - $2,500. C=82,301-- $5,000 D=$$
AS10007 ess $1,001 ~ $2,500 . $5,001 $15,000 E=S15,001- $50,
(Soe Colton BL and 4) F=$$0,001 - $100,000 G.=$100,001 - $1,000,000 FIL =51,000,001 = $5,000, 112 Moré than $5,000,000 =
2. Value Codes 1.9$15,000 or less K $15,001 «$50,000 L=$50,001 - $100,000 M=$100,061 - $250,000
(See Colomns Cl and 03) N=$250,001 = $500,000 © $500,001 - $1,000,000 PL =S1,000,001 -$5,000,000 “P2=85,000 001 = $25,000,000
oe P3 =$25,000,001 - $30,000,000 Pa =Moce thas $50,000,000 oe
4: Velie Meshoil Codes Q=Appriisl ‘R=Cost (Real Estate Oaly) S=Asésiiet T= Cish Market
(See Column C2) VU =Book Value V=Other W=Estimated .

FINANCIAL DISCLOSURE REPORT _| Name drveron Reporting Date of Report

Page 29 of 37 (| Memtanon, Colleen) 08/12/2021

Page 149 of 155

Monday, January 27, 2025
(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt, 11, °

13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
FINANCIAL DISCLOSURE REPORT

Case 1:25-cv-00613-MLB Document 5-14

Filed 03/07/25

Page 65 of 200

Exhibit 8.21: #427 2020 convertible promissory note valued between $250,001 -

$500,000.

Page 29 of 37

Name of Person Reporting

VIL INVESTMENTS and TRUSTS ~ jicome, vas

[| NONE (No reportable income, assets, or transactions. }

MeMahon, Colleen )

ae, transactions (includes these of spouse and dépendeat children: see Bp, 34-60 of filing instructions.)

Date of Report

08/12/2021

A 8 &
see! i D.
Description of Assets licome during Gross value at erid ions dusi ing peri
ee , elec as a ‘Transactions during reporting period
/ () Q) (H @ i) Q) GQ) @) )
Bis ¥- . f ‘ 5
Place ae eee Hem er Typo (ce, Value Value Type (.g., Date Vatue =» Gain tiny of
pt irom p ¢ a div. rent, Code2—- Method = sbuy,scll, —mmv/ddiyy Code? Cade { buyei/ecller
or int) Gg) Code 3 fedemption) ‘G-P) (AH) (if private
(QW) transaction)
426, Hello Hazel (Series Seed). None 1 * Buy 12g20) 1
427. Acredo Cloud Com (Conv Promissory Note}! A Interest i N T Buy 12/0820} N
428. Melitag Ventures Fund It LP Noite “6 U Buy 123720] i
429, Nayya Health Inc (Ser A Preferred) None L T Buy 1320/1
430. Qvale Technology Inc (Preferred Stock) None M T Buy 03/26720|  M

Page 150 of 155
Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 66 of 200

Exhibit 8.22: #520 2020 convertible promissory note valued between (not valued).

FINANCIAL DISCLOSURE REPORT Nanie of Person Reporting Date of Repor
Page 34 of 37 £ MeMuahon, Colleen OR/1 2/2021

Vil. INVESTMENTS atid TRU: vai
VES TMENTS and TRUS TS ~ income, valtie, fransaciions (nchuiles those of spouse nnd dependent children: see Bp. 34-60 af filing instenctions.,)
[] NONE (No reportable income, assets, or transactions.)

Ay B.
i G
Description of Assets Inconay dating (ress value st en ransae! :
(including trust assets) feporting poriod of reporting poriott an
() Q) (1) (2) ) a
Place "{X)" after catch asset Amount” “Type (¢ : 2 es on :
et § i" yre(se, ‘Value Value. Type-(6.8: Date Value Gai

éxempt from prior diselosure a div.,reat, —Codo2_—“- Method ‘buy, sell, ——amméddiyy Code 2 ae 1 a.

or int} “GP) Code’ redemption) (EP) (AED) Cf private

(Q-/) Wansaction)
S11. --Synopsyaine : | None iP T ‘Buy. 12/03/20) 3
312. --Taivan Semiconductor Mfx Co None | KE e | Buy 12/0320] K
513, Tencent Hldgs Lid ADR Nona 1 | + Buy 1203/20/43
314, ~-Thermo Fisher Scientific Ine Com None | jj 7 | Buy 123201 J
515, --Verlsk Analytics Inc Com A ; Dividend J T Buy {2/03/20} J
$16, Visa Ine Com None £ Tr . Buy. 12/03/20] J
517. +-Weat Pharmaceuticals Sves Ine Com Nons a a) Bay 12/03/20 J
$18. Nike Ine CIB None : T Buy 12103720] 3
319. Alpine Grove SV Partners LLC: 7 Nona N U r Buy 12/24/20 N

: Ly :
520, Knoema Corp (Conv Promissory Note) ) N ‘Be lou
One Bi

| oe oni ji uy o12iao] K

BB coe -

Page 151 of 155

Monday, January 27, 2025
(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,

13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 67 of 200

Exhibit 8.23—Trailblazer Merger Corp., |, Hobbs Act money laundering conduit arranged
by LH Financial Services, Arie Rabinowitz, Loeb & Loeb, LLP, Mitchell Nussbaum, Esq,.,
Alexandria Kane, Esq., Colleen McMahon, Edgardo Ramos, Jose A. Cabranes, Robert D.
Sack, Amalya L. Kearse, Damian Williams, Frank V. Sica, Tailwind Capital Management LLP,
and other unindicted coconspirators to launder the profits and proceeds derived from
Hobbs Act extortion, loan sharking, kidnapping, murder for hire, bribery, bank fraud,
private equity fraud, securities fraud, and other racketeering activities.

a SESE I Sat Sool

mn seat

UNITED STATES
SECURITIES AND EXCHANGE COMMISSION

Washington, D.C, 20549

REGISTRATION STATEMENT
UNDER
THE SECURITIES ACT OF 1933

Trailblazer Merger Corporation I

{Exact name of repistrant as specified in its charter}

Delaware 6770 STIUVSIG
(State or other jurisdiction of {Primary Standard industrial {LR.S. Employer
incorporation or organization) Cinsssification Cade Number) Identification Numbez}

{Address, Including zip Code, aid ‘ade, of Registrant’s Principal Executive Offices)

Arle Rabinowitz
Chief Exccutive Officer
510 Madison Avenue
Suite 1401
New York, NY 10022
Telephone: 212-586-8224

(Name, Address, Inchgding Zip Code, and Telephone Number, inchuding Area ¢, of Agent for Seeview)

Copies to:
Mitchell S, Nussbaum, Esq, Rick A, Werner, Exq.
Alexandria Kane, Esq, Haynes and Boone LLP
Loch & Loch LLP 36 Rockefeller Plaza,
345 Park Avenue 26th Floor
New York, New Vork 10105 New York, NY 10112
‘Tel: (212) 407-4000 ‘Tebs (212) 659-7300
A imate date af con t of proposed sale to the public: As soon as practicable after the effcetive date of this regisiration

ve
statement.

If any of the securities being registered on this Form are to be offered on a delayed or continuous basis pursuant to Rule 415 under the
Securities Act of 1933 check the following box. 01

If this Form is fy ty gi ger adyio curiiing for fei ath curd cl, please check the
following box and list comics Act re cot 7 umber pis iintiongtatem@at for ihe same offering. 0

If this Form is aggost-eleelye am, u : GEcurities Ap, cfek the fbllowmy box and list the
Securities Act registra tem of th io Mei:

a i
if this Form is a post-effective amendment filed pursuant to Rule 462(d) under the Securities Act, check the followiag box and list the
Securities Act registration statement number of the earlier effective registration statentent for the sume offering. 0
Indicate by check mark whether the registrant is a large aceclerated filer, an aevelerated filer, a non-accelerated filer, a smatler reporting
company, or an emerging growth company. See the definitions of “lanre accelerated filer," “accelerated filer,” “smaller reposting company”
and “emerging growth company” in Rule 12b-2 of the Exchange Act.

Large accelerated filer 0 Accelerated filer oO
Non-accelerated filer a Smaller reporting company @
Emerging growth company a

{fan emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for
complying with any o«w or revised nancial accounting standards provided pursuaat to Section 7{a)(2)(B) of the Securities Act. 0

Page 152 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 68 of 200

End of document

Page 153 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 69 of 200

Certificate of Service

I Ulysses T. Ware certify that I have this 27" day of January 2025 served each of the below persons
or entities with a copy of this pleading via their public email accounts and submitted the same to
the U.S. Bankruptcy Court (NDGA) to the Chief Bankruptcy Judge, Ellis-Munto for immediate
filing and docketing pursuant to 18 USC §§ 2071(a), (b), Bankr. Rule 5005(a)(2)”? and 5005(b)(1)

with the U.S. Trustee.°°

cc: Office of the U.S. Trustee, Region 21 (ida Mae Townsend)

Kilpatrick, Townsend, & Stockton, LLP (via CEO Wab Kadaba, Esq., J. Henry
Walker, IV, Dennis S. Meir, and John W. Mills, IID

Arie Rabinowitz, Kenneth A. Zitter, Alpha Capital, AG, Stonestreet, L.P.
Markham Holdings, Ltd., AMRO International, S.A., Trailblazer Merger Corp,
I, LH Financial Services Corp., convicted felon Edward M. Grushko, Joseph
Hammer, and Barbara R. Mittman via Kilpatrick, Townsend, Stockton, LLP
(Wab Kadaba, Esq. and J. Henry Walker, IV).

Baker & McKenzie, LLP (via Lawrance B. Mandala, Esq., Robert Alberal, Esq.
and Thomas A. Leghorn, Esq.)*!

William D. NeSmith, III, State Bar of Georgia; Office of the Chief Justice,
Supreme Court of Georgia, the Hon. Michael P. Boggs (via Paula Fredrick and
William D. NeSmith, II--statutory agents in fact); and

John F. King, Georgia Insurance Commissioner on behalf of (undisclosed
identities) John Doe Insurance Companies ##1-5 (via William D, NeSmith, HT,

» With a Judge of the Court. A judge may personally accept for filing a paper listed in (1). The judge must
note on it the date of filing and promptly send it to the clerk.

30 (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

31 Baker & McKenzie, LLP has primary liability in the sum certain amount of $2.225 billion.

Page 154 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 70 of 200

Wab Kadaba, J. Henry Walker, III, Michael D. Hostetter, Edward T.M. Garland,

the State Bar of Georgia, Office of the General Counsel, and Wendy L. Hagenau,
statutory agents in fact);

FINRA (via Robert W. Cook, Robert L.D. Colby, Sarah Jeffries, and Marcia E.
Asquith) on behalf of the Securities and Exchange Commission (11 USC 1109(a)
statutory party in interest); and

Acting Director of the FBI (via Ida Mae Townsend, Esq.)

Whar D. Wine

/s/ Ulysses T. Ware

January 27, 2025

End of document

Page 155 of 155
Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 71 of 200

Case No. 03-93031

United States Bankruptcy Court (12-0)
For the Northern District of Georgia
(Atlanta Division)

Submitted for Filing on

Monday, January 27, 2025, 9:06:11 AM F 2 f\

In re Group Management Corp.
Chapter 11

Cover letter: Movants’ 11 USC 1109(b) Statutory Parties in
Interest Group Management and Ulysses T. Ware’s Bankr.
Rule 9014 and Rule 12(h)(3) Contested Matter.!

Hlbsme > Wh

lysses (elle
The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260

Utware007@gmail.com
Monday, January 27, 2025

' The Movants’ challenge to the Bankruptcy Court (NDGA) In re Group Management Corp., 03-93031
Chapter 11 Article III jurisdiction over predatory criminal usury unlawful debts subject matter, GX |-
4; and (2) challenge to the Article IT] standing of the 02cv2219 (SDNY) plaintiffs, Atlanta, GA law firm
Kilpatrick, Townsend, & Stockton, LLP clients, see Dkt. 11, unregistered broker-dealers. Cf., Ex. 3,
infra. What legitimate and lawful interest would a United States Bankruptcy Court (Ellis-Munro, C.J, and
Hagenau, C.J.) have in not sua sponte affirmatively confirming the Court’s mandatory unwaivable
constitutional jurisdiction to adjudicate the Dkt. 6, 11, 13, 14, 15, and 16 proceedings with respect to
fundamental constitutional prerequisites—‘legally protected interest” in criminal usury convertible
promissory notes--in predatory criminal usury unlawful debts, GX 1-4, and (2) the Article II] standing of
KTS’ unregistered broker-dealers clients to enforce and/or collect GX 1-4? No legitimate interest exists.
If no legitimate interest exists, then any alleged interest, by definition. must be nefarious, corrupt,
perfidious, and illegitimate—that is, an_ unlawful interest.

Page 1 of 4
Monday, January 27, 2025
(12-3) (Part 14-2) re Cover letter to Chief Bankruptcy Judge (NDGA) the Hon. Barbara Ellis-Munro
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 72 of 200

The Honorable Barbara Ellis-Munro, Chief Judge
United States Bankruptcy Court

Northern District of Georgia

Atlanta Division

Richard B. Russell U.S. Courthouse

75 Ted Turner Drive, SW

Atlanta, GA 30303

Re: In re Group Management Corp., Chapter 11 Debtor, Case No. 03-93031 (WLH) —
Movants’ Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul
Certain Orders for Lack of Article III Standing and Subject Matter Jurisdiction

Dear Chief Judge Ellis-Munro:

We are writing to you today on behalf of our clients, Movants Ulysses T. Ware and Group
Management (“GPMT” or “Debtor”), to respectfully submit the attached Rule 9014 Contested
Matter Motion to Strike, Vacate, Set Aside, and Annul Certain Orders (the “Motion”). This letter
serves to provide the Court with a comprehensive overview of the critical Article II] jurisdictional
arguments presented within the Motion, arguments which we believe are dispositive and warrant
immediate judicial attention, sua sponte, as a threshold matter in this long-standing case.

As detailed in the accompanying Memorandum of Law, our Motion is fundamentally grounded in
the irrefutable principle, established by the Supreme Court in Steel Co, v. Citizens for a Better
Env't, 523 U.S. 83, 93-95 (1998), and reiterated in subsequent landmark decisions such as Arbaugh
v. Y & H Corp., 546 U.S. 500, 506-07, 514 (2006), and Lujan v. Defenders of Wildlife, 504 U.S.
555, 560-61 (1992), that Article II standing is an indispensable prerequisite for federal court
jurisdiction, Rule 12(h)(3) of the Federal Rules of Civil Procedure, directly applicable in
bankruptcy proceedings, compels this Court to address and resolve any question of subject matter
jurisdiction, even sua sponte, at any stage of the litigation. We submit that KTS’ clients (Kenneth
A, Zitter, Dennis S. Meir, John W. Mills, III, Wab Kadaba, J. Henry Walker, IV, convicted felon
Edward M. Grushko, Lawrence B. Mandala, Barbara R. Mittman, and Arie Rabinowitz), the
purported claimants in this case stemming from Documents 11, 15, and 16, unequivocally lack
Article III standing, thereby divesting this esteemed Court of subject matter jurisdiction_over
their claims from the inception of this Chapter 11 proceeding.

The crux of our jurisdictional challenge lies in the demonstrably illegal and void ab initio nature
of the predatory criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4,
which form the sole basis for KTS’ clients' purported creditor status. As meticulously detailed in
the Motion and its exhibits, these notes represent criminally usurious debt instruments under New
York Penal Law § 190.40, a class E felony, bearing interest rates exceeding 2000% per annum.
Such contracts, under established New York law and public policy, are not merely voidable, but
legally nonexistent from their inception, conferring no “legally protected interest” upon their
holders.

Page 2 of 4
Monday, January 27, 2025
(12-3) (Part 14-2) re Cover letter to Chief Bankruptcy Judge (NDGA) the Hon. Barbara Ellis-Munro
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 73 of 200

Furthermore, the record establishes, through FINRA’s binding regulatory finding (Exhibit 3 to the
Motion), that KTS’ clients operated as unregistered broker-dealers in violation of 15 U.S.C. §
780(a)(1). Transactions arising from such illegal securities activities are likewise void and
unenforceable under federal law, as elucidated in SEC Release 33-7190 n. 17 (1995). Notably,
KTS’ clients themselves, in their complaint in the related 02cv2219 (SDNY) litigation (see
Complaint paras. 12-13 and GX 5, para. 10.1(iv)), made binding judicial admissions that
unequivocally identify them as “Section 2(a)(11) statutory underwriters” of the Debtor, Group
Management’s, securities. These admissions, under established legal principles, effectively
pleaded them out of federal court, further underscoring the absence of any legitimate legal basis
for their claims.

We emphasize that the purported “injury” claimed by KTS’ clients — the inability to enforce these
illegal instruments — does not constitute a “legally protected interest” that incurred a “concrete
injury in fact” traceable to any lawful conduct by Group Management or Mr. Ware. Instead, it is a
direct consequence of their own illicit criminal actions in attempting to enforce criminally usurious
and illegally transacted debts. Group Management and Mr. Ware acted lawfully and ethically in
refusing to issue fraudulent and bogus Rule 144(k) legal opinions that would have facilitated a
criminal unregistered public offering of GPMT’s equity securities, thereby preventing a blatant
violation of federal securities laws, including 15 U.S.C. §§ 77d, 77e, 77x, 780(a)(1), 78p(b), 78ff,
and 78cc(b).

Moreover, we respectfully remind the Court of Judge Sand’s binding judicial ruling and court
order of August 13, 2003 (Exhibit 1 to the Motion), which conferred statutory insider status under
15 U.S.C. § 78p(b) upon each of KTS’ clients. This ruling triggered the mandatory disgorgement
and turnover provisions of 15 U.S.C. § 78p(b) and 11 U.S.C. § 542(a), (e), requiring the turnover
of over +$522 million in strict-liability insider-trading profits to the Chapter 11 estate, as
affirmed by the Second Circuit in Roth v. Jennings, 489 F.3d 499, 506-10 (2d Cir. 2007) (Kearse,
J.). This prior unappealed ruling further demonstrates the fundamentally flawed and legally
untenable nature of KTS’ clients’ claims in this proceeding.

We further bring to the Court’s attention the statutory and ethical duties incumbent upon the U.S.
Trustee, as codified in 28 U.S.C. § 586(a)(3)(F), and under the District Court (NDGA) and the
State Bar of Georgia Rules of Professional Conduct, specifically Rule 3.3(a)(1) (duty of candor to
the tribunal) and Rule 8.4 (regarding fraud, deceit, and misrepresentation). We believe the U.S.
Trustee has a compelling obligation to thoroughly investigate and address the manifest bad
faith, fraudulent nature, and vexatious character of the pleadings filed by KTS’ clients
(Documents 6, 11, 13, 14, 15, and 16), which constitute egregious violations of Bankruptcy Rule
9011(b) (1-4) and 28 U.S.C. § 1927.

In light of the foregoing, we respectfully urge the Court to grant the Motion in its entirety and enter
the Proposed Joint Unopposed Consent Order, attached as Exhibit V to the Motion. Promptly
addressing and rectifying this fundamental jurisdictional defect is not only legally mandated but
also essential to uphold the integrity of the bankruptcy system and prevent the Court from being
utilized as a forum for the enforcement of illegal and void claims.

Page 3 of 4
Monday, January 27, 2025
(12-3) (Part 14-2) re Cover letter to Chief Bankruptcy Judge (NDGA) the Hon. Barbara Ellis-Munro
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 74 of 200

We thank the Court for its time and consideration of this critical matter and stand ready to assist
the Court in any way necessary to facilitate its expeditious and just resolution.

Respectfully submitted,

/s/ Ulysses T. Ware

Ulyss

DO, Were
T. Ware

For Movants Ulysses T. Ware and Group Management Corp.

Enclosures: Movants’ Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and
Annul Certain Orders

cc:

U.S. Court of Appeals for the Eleventh Circuit, Office of the Judicial Council

Administrative Office of the U.S. Courts, Executive Director

Office of the U.S. Trustee, Region 21, (Ida Mae Townsend, Esq.)

Financial Industry Regulatory Agency (FINRA) on behalf of the Securities and Exchange
Commission (Marcia E. Asquith, Esq.)

State Bar of Georgia, Office of the General Counsel (William D. NeSmith, Ill) on behalf of the
Supreme Court of Georgia, Office of the Chief Justice, the Hon. Michael P. Boggs

Edward T.M. Garland on behalf of Garland, Samuel, & Loeb, P.C. and affiliates

Nall & Miller, LLP

Kilpatrick, Townsend, & Stockton, LLP on behalf of its clients, the 02cv2219 (SDNY) plaintiffs
Unregistered broker-dealers Arie Rabinowitz on behalf of LH Financial Services Corp., Trailblazer
Merger Corp., |

Unregistered broker-dealers Frank V. Sica on behalf of Tailwind Management L.P., Colleen
McMahon, and Michael S. Bertisch (see Ex. 10)

Page 4 of 4
Monday, January 27, 2025
(12-3) (Part 14-2) re Cover letter to Chief Bankruptcy Judge (NDGA) the Hon. Barbara Ellis-Munro
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 75 of 200

Case Number: 03-93031 (WLH), Chapter 11 (11)
Submitted for docketing on January 23, 2025, 2:36:45 PM

United States Bankruptcy Court
For the Northern District of Georgia e —_ 4
Atlanta Division

In re Group Management Corp., Chapter 11 Debtor

Part 13-10—Interested Parties’ Chapter 11 +$522
Million Estate Asset Recovery Plan!

Movants’ Memorandum of Law 1.0 in Support of: Notice of Motion to Strike,
Vacate, Set Aside, and Annul Dkt. 11, 13, 14, 15, 16, 28, 256, 258, 263, 274, and
275 (Hagenau, C.J.) for: (1) Fraud on the Court, (2) Null and Void Ab initio,
(3) Lack of Article III Standing and Subject Matter Jurisdiction over Criminal
Usury Subject Matter; and (4) Ulysses T. Ware and Group Management’s
Notice of Exercise of 11 USC § 1109(b) Right to Appear, be Heard, and Raise
any Issue in 03-93031; and (5) Request for a Mandatory 11 USC § 105(d)(1)
Status Conference.”

N\lortrs L. Wlare—

' See 4 USC § 542(a): Except as provided in subsection (c) or (d) of this section, an entity, other than a
custodian, in possession, custody, or control, during the case, of property [+$522 million in insider-trading
profits] that the trustee may use, sell, or lease under section 363 of this title, or that the debtor may exempt
under section 522 of this title, shall deliver to the trustee, and account for, such property or the value of
such property [+$522 million], unless such property is of inconsequential value or benefit to the estate.

11 USC § 542(e): Subject to any applicable privilege, after notice and a hearing, the court may order an
attorney [KTS, Kenneth A, Zitter, Dennis S. Meir, John W. Mills, III, Wab Kadaba, and J. Henry Walker,
IV, convicted felon Edward M. Grushko, Lawrence B. Mandala, and Barbara R. Mittman], accountant, or
other person [Arie Rabinowitz] that holds recorded information, including books, documents, records, and
papers, relating to the debtor’s property or financial affairs, to turn_over_or disclose such recorded
information to the trustee {or debtor in possession]. See Section 3.2(5), infra.

* (d). The court, on its own motion or on the request ofa p arty ‘in interest—(1) shall hold such status
conferences as are necessary to further the expeditious and economical resolution of the case.

Page 1 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 76 of 200

Table of Contents

Bankr, Role 5005: (Q)(2) scsccccssmcimonsninasanaimanwnrnnvacanmmnanannnanin anim eneaNR RS 5
A. Notice of Filing and SUBMISSION ...........cccccesecssessessssssctseseesssesesssesnsstseessesnerassastarsaesteestseeseess 5
Memorandum of Law 1.00... cscccsesesseesensssseeeeeeenesnseneeseecseeesaseeeserenecaeaeeeeateeesaeeetsaeesaeesesetetseeeeesseseeneents 9
1, QUESTION PRESENTED.........:ccsseeeseesseeteseeeseeeesseeseeaeeseneeneeeeeeesaeeassaeseseaeesesessnaeeesaeeeteasesetsssenasncsuseeesnaas 9

I]. BRIEF ANSWER .....eeceeeceeseesesseeseeaeseteessesseseseesecsesacseesaesaecatssesesaesaesaesessesesecsaeseesaesassaussesssarseaseegeseesnesoess 9
ill; FAGTUAL BACKGROUND. sucanssanwenmmeaem aT AEE REE 10
LV. LEGAL- ANALYSIS sisnanmancnnnmamennninmotner ene 12
A. Article III Standing: “Concrete Injury in Fact” as a Constitutional Prerequisite ..........:c:ecccceee 12

B. Criminal Usury Debt Contracts that Are Void Ab Initio Confer No Legally Protected Interest....... 14

C. KTS’ Clients’ Alleged “Injury” Is Self-Inflicted and Not Cognizable Under Article III as a
Live Gase of Contreversy cisiecanunsnnicesuecuiven enim niin TEEN TE NTNU 17

D. Consequence: No Article III Subject Matter Jurisdiction in the 03-93031 Bankruptcy Court........ 19

E. Policy Considerations and the Purpose of the Bankruptcy Code...............:eccccserresrtseeteeseesteseerenres 20
V. CONCLUSION... ceececesessseeeeeesesseessneeeseeneseeaecaesaccaeesaseaessesseesaeeeeeeaeeaseansesaesasseeaaesaseseesesssnscseeneeseesaesanesa 20
FF.  Exhibits—Supplemental Record ...........cccccsseccsessssseeeeeeeeneseeseeeeneneeeseseesssessceesaeesesenesesaeeetaesees 22

Exhibit 1—Dkt. 65, Aug. 13, 2003, Sand, J.) (deceased), 02cv2219 (SDNY): Unappealed Judicial ruling
(collateral, equitable, and judicial estoppel) of 15 USC §78p(b) statutory insider status (disgorgement of
all profits requirement to the Chapter 11 estate) for each of KTS’ unregistered broker-dealer clients (see
Ex. 3, infra) with respect to the Chapter 11 debtor’s, Group Management Corp.’s, publicly-traded equity
SOCUIIECS .csseveeruuconseveavennceetdecnsnvetendrseatersentersensitaventecsticn invade teathesuwid eainaseciaretecbred vet unia tevesssan tensa sateaNbeTANedtiNd 23

Ex. 1—(Dkt. 65, 02cv2219)—(18 USC § 1961(1) Racketeering Overt and Predicate Act) Aug. 13,
2003, Dkt. 65 02cv2219 (SDNY), Sand, J. (deceased) binding judicial ruling and court order—
Judge Sand in ex parte communications found each KTS client to be a 15 USC § 78p(b) statutory
insider of Group Management Corp, and therefore triggered the Section 16(b)/11 USC §542(a)
disgorgement/turnover requirement, which was not appealed by KTS’ clients, and is therefore, ipso
Sacto, as a matter of law and fact res judicata and collateral estoppel against KTS, Kadaba, the
SBGA, NeSmith, Fredrick, Hagenau, and the 03-93031 (BC NDGA) bankruptcy court pursuant to
FRE 201(b) Judicial notice. ......cccccccessssssesevssssesseseesnevsneneesevenecseeusnsneeenenensnseesanneneseesenenensnsensnneneeeeataes 24

Exhibit 2--Dkt. 90 (Binding Final Judgment)—02cv2219 (SDNY) Prevailing Parties Chapter 11 Debtor
Group Management and 11 USC §1109(b) statutory party in interest Ulysses T. Ware’s Final Judgment—
December 20, 2007, Dkt. 90, Case No. 02cv2219 (SDNY), District Judge Leonard B. Sand, Fed. R. Civ.
P. Rule 41(a)(2) voluntary, ex parte Dismissal with Prejudice of the 02cv2219 (SDNY) Lawsuit After the
Statute of Limitation Had Run on All Claims Final Judgment conferred final judgment prevailing
party status on Group Management and Ulysses Te Wave. ..scesccccccscsscssssssssssssessssessssssssesssessesasessessessensss 26

Exhibit 3—FINRA’s May 17, 2021, binding regulatory factual finding of unregistered broker-
dealer status for KTS’ clients who fraudulently appeared in the 03-93031 Chapter 11, see Dkt. 11,
15, and 16 via KTS’ lawyers Dennis S. Meir and John W. Mills, officers of the court, pursuant to

Page 2 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 77 of 200

and in violation of 18 USC §§ 2, 152, 157, 371, 1951(a), 1956-57, 1961(6)(B), and 1962(a-d)—a
pattern of racketeering activities... ec eseeeceeeeeeneeteeeeeeeereesnneeneseseeneeseeseisesanenseeeenaseniesneeteasenaeneees 28
Exhibit 4--ULS. ». Ware, 04cr1224 (SDNY), Nov. 2007, Tr. 204-06, sworn testimony of KTS’ clients’

official agent, unregistered investment advisor and unregistered broker-dealer Arie Rabinowitz confessing
to being unregistered broker-dealers. see Dkt. 11 (03-93031) (BC NDGA), KTS’ entry of appearance. ..29

Certificate Of SbEVICG cesses BCEAO 30
End of COCUuMe dt ..0......ccccccccccsssscssesssseseseceeceeseussususesessesauseuseusausaueeueeaaesseusecsacsensseueeceusensenarsaueecesaeneaaneeeeanea 31
Page 3 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16,
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 78 of 200

The Office of Ulysses T. Ware

123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
Utware007@egmail.com

Thursday, January 23, 2025

Via email to: USTP.Region21@usdoj.gov and ustrustee.program@usdoj.gov?
Ms. Ida Mae Townsend and

Ms. R. Jeneane Treace, jeneane.treace@usdoj.gov

U.S. Trustee and Assistant U.S. Trustee, Region 21

Office of the United States Trustee Program

362 Richard Russell U.S, Courthouse

75 Ted Turner Drive, SW

Atlanta, GA 30303

Via email: BEMChambers@ganb.uscourts.gov‘
Office of the Chief Bankruptcy Judge (NDGA)?
The Hon. Barbara Ellis-Monro

Richard Russell U.S. Courthouse

75 Ted Tuner Dr., SW

Atlanta, GA 30303

Re: In re Group Management Corp., Case No. 03-93031 (BC NDGA) —
Notice of Exercise of Rights Under 11 U.S.C. § 1109(b), Ongoing Violations of 18
U.S.C. § 2071 (a), (b), and Civil & Criminal Contempt of Rule 41(a)(2) Final Judgment;
and Request for 11 USC § 105(d)(1) Status Conference.

3 (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

* (2) With a Judge of the Court. A judge may personally accept for filing a paper listed in (1) (“motions”
or “applications”). The judge must note on it the date of filing and promptly send it to the clerk.

° The Debtor and Mr. Ware have been informed that unindicted coconspirator former Bankruptcy Judge
(NDGA) Wendy L Hagenau as of May 24, 2024, she is no longer employed as a bankruptcy judge or
judicial officer anywhere in the United States rumored to have been terminated for conspiracy to commit
and engage in bankruptcy fraud and criminal judicial misconduct.

Page 4 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt, 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16,

Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 79 of 200

Bankr. Rule 5005 (a)(2)

A. Notice of Filing and Submission

January 23, 2025

Via Bankr, Rule 5005(a)(2) Electronic Filing

The Honorable Barbara Ellis-Munro

U.S. Bankruptcy Court, Northern District of Georgia
Richard B. Russell Federal Building

75 Ted Turner Drive, SW

Atlanta, GA 30303

Via email to: USTP.Region21@usdoj.gov and ustrustee.program@usdoj.gov®
Ms. Ida Mae Townsend and

Ms. R. Jeneane Treace, jeneane,treace@usdoj.gov

U.S. Trustee and Assistant U.S. Trustee, Region 21

Office of the United States Trustee Program

362 Richard Russell U.S. Courthouse

75 Ted Turner Drive, SW

Atlanta, GA 30303

Dear Judge Ellis-Munro:

The Movants write to inform the Court in regard to the following: Pursuant to Bankruptcy
Rule 5005(a)(2), the undersigned statutory parties in interest, Mr. Ware and Group Management
Corp. (“Group Management”), respectfully submit for your direct attention the enclosed judicial
public record for filing, docketing, and adjudication on the merits in the Chapter 11 Case No. 03-

93031—Movants’ Memorandum of Law 1.0 (Analysis of KTS’ unregistered broker-dealer

6 (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

Page 5 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article III requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 80 of 200

clients’ lack of Article III standing to have appeared in 03-93031, Dkt. 11, and to have sought

redressable judicial relief, Dkt. 15 and Dkt. 16, which rendered all purported orders (Dkt. 28,

256, 258, 263, 274, and 275) in favor of KTS’ racketeering clients ipso facto null and void ab initio

and moot).

In accordance with 18 U.S.C. §§ 2071(a) and (b), we hereby request that you confirm
receipt and immediately file and docket this pleading via the PACER system, no later than today,
January 23, 2025, as required by law. Should you have any questions regarding this or other
Judicial pleadings previously submitted for proper docketing and adjudication, please contact the

undersigned, who will gladly elucidate every prior submission.

Additionally, we request written notice to all interested parties—filed on the official 03-
93031 docket—of a mandatory 11 U.S.C. § 105(d)(1) status conference, so that these proceedings

may continue in a transparent and timely manner,

Hey 2. Ware

Page 6 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 81 of 200

Please be advised, take notice, and be aware.

Comes now Ulysses T. Ware and Group Management, the Petitioners, and gives notice in

regard to the following action in 03-93031, to wit:

1, The undersigned and Group Management, the Debtor, jointly, 11 USC § 1109(b) statutory
parties in interest, jointly, (the “Petitioners”), hereby this 23"! day of January 2025 gives notice to
the Bankruptcy Court, the U.S. Trustee, Kilpatrick, Townsend, & Stockton, LLP, its clients, and
all interest parties the Petitioners will forthwith move in the U.S. Bankruptcy Court (NDGA), 03-
93031 to strike, vacate, set aside, and annul, nunc pro tunc, March 18, 2003, Dkt. 11, 13, 14, 15,

28, 256, 258, 263, 274, and 275 (Hagenau, C.J.), as ipso facto as a matter of law and fact null and

void ab initio and moot—that is, the Petitioners are the Final Judgment Prevailing Parties by

binding final judgment, Dkt. 90, 02cv2219 (SDNY), see Ex. 1, 2, and 3 infra, (2) the $125 million
counterclaim final judgment’s prevailing parties by Judge Sand’s Dec. 20, 2007, Dkt. 90, final
judgment, see Ex. 2, infra, and protected by the binding preclusive effects of res judicata, collateral
estoppel, and the estoppel doctrines from any entry of the moot Dkt. 11, 13, 14, 15, 28, 256, 258,
274, and 275, all lack validity and any preclusive effect. See Federated Dept. Stores, 452 U.S. at
398, 401-02 (explaining the absolute binding “salutary” principles of res judicata and its binding
effects on all courts, the parties, and their privies in all subsequent proceedings between the parties

or their privies).

2, Any party wishing to oppose, challenge, or object to the Motion to Vacate, Set Aside, and

Annul must serve all good faith Bankr. Rule 9011(b)(1-4) and 28 USC §1927 objections on the

Page 7 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article III requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 82 of 200

Petitioners not later than Friday, January 24, 2025, at 11:00 AM EST, time is of the essence,

by email to utware07@gmail.com, else the Petitioners will present to the Court an unopposed

motion and order for entry on the docket.

3. Enclosed is the Movants’ Memorandum of Law 1.0 for your review, analysis, and response
if any. If there are any good faith Bankr. Rule 9011(b)(1-4) and 28 USC § 1927 objections,
opposition to, or challenges to the Movants’ Article III standing and jurisdiction application--note
that KTS clients are petitioners in Dkt. 15 and Dkt. 16 and therefore have the burden of proof and
production to affirmatively establish standing and jurisdiction, see Steel Co., 523 U.S. at 93-95,
and cf., Lujan, 504 U.S. at 560-61, your objections or opposition, if any, are due not later than
Friday, January 24, 2025, at 11:00 AM EST, time is of the essence.
Nba 2. Wire
/s/ UlySses T. Ware

January 23, 2025

Page 8 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article III requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 83 of 200

Memorandum of Law 1.0

TO: U.S. Bankruptcy Court (NDGA), In re Group Management Corp., 03-93031, Chapter 11
FROM: Ulysses T. Ware and Group Management, (the “Movants”).

DATE: January 23, 2025

RE: Article III Standing Analysis — Jn re Group Management Corp., Case No. 03-93031 (WLH)

(Bankr. N.D. Ga.): Absence of a Cognizable “Injury in Fact” for KTS’ Clients

|. QUESTION PRESENTED

Whether KTS’ clients, as purported holders of promissory notes proven to be criminally
usurious under New York Penal Law, section 190.40, the criminal usury law, a class E felony, and
transacted in violation of federal broker-dealer registration requirements, 15 USC § 78o0(a)(1), can
establish a legally cognizable “concrete injury in fact” under Article III of the U.S. Constitution—
and thereby (1) confer Article II standing on KTS’ clients; and (2) confer subject matter
jurisdiction upon the Bankruptcy Court for the Northern District of Georgia in In re Group

Management Corp., Case No. 03-93031 (WLH) (Bankr. N.D. Ga.)?

Il. BRIEF ANSWER

No. Because the promissory notes at issue, GX 1-4, are (1) allegedly criminally usurious
under New York Penal Law § 190.40, rendering them null and void ab initio and unenforceable,
and (2) derived from unregistered securities transactions in contravention of federal law (15 U.S.C.

§ 780(a)(1)), KTS’ clients lack a cognizable legal interest in their, GX 1-4, collection or

Page 9 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 84 of 200

«ce

enforcement. Article III’s “injury in fact” requirement demands that the asserted harm implicate
a “legally protected interest.” Contracts that are void or illegal under state or federal law fail to
create such a legally cognizable interest under Article III. Consequently, KTS’ clients have no
legitimate grounds upon which to claim an actionable injury in federal court, depriving the
Bankruptcy Court of subject matter jurisdiction from the outset and rendering any orders in their

favor null and void ab initio, without vitality, and moot. Steel Co., 523 U.S. at 93-95.’

II]. FACTUAL BACKGROUND

1. Bankruptcy Proceedings

On March 18, 2003, Group Management Corp. (the “Debtor”) while on a daily basis being
threatened with violence, bullied, and harassed by Kenneth A. Zitter, Arie Rabinowitz, Leonard
B. Sand, Jeffrey B. Norris of the SEC, Alexander H. Southwell, and convicted felon Edward M.
Grushko, Esq. Group Management Corp. was forced to and did and file for bankruptcy protection
under Chapter 11 in the Northern District of Georgia, Case No. 03-93031 (WLH) (Bankr. N.D.
Ga.). The schedules, statements, and claims filed in this proceeding listed numerous promissory

notes held by various creditors. KTS’ clients—the 02cv2219 (SDNY) plaintiffs, appeared in 03-

7 "Without jurisdiction, the [federal] court cannot proceed at all in any cause. Jurisdiction is power to
declare the law, and when it ceases to exist, the only function remaining to the court is that of announcing
the fact and dismissing the cause." (523 U.S. at 94, quoting Ex parte McCardle, 74 U.S. (7 Wall.) 506, 514
(1869)).” Moreover the Court explained, Id., “The Court held that for an injury to be redressable, there
must be a likelihood that the relief sought would rectify the alleged harm. A judicial order to pay fines
to the government does not satisfy the redressability prong for Article HI standing when plaintiffs would
receive no personal relief.”). The lack of “harm” to KTS’ clients therefore prohibited any “redressable
reliefs” from being entered by the 02cv2219 (SDNY) district court (e.g., GX 11, GX 24, and GX 34) and
the 03-93031 bankruptcy court ‘(e.g., Dkt. 28, 256, 258, 263, 274, and 275), jointly the null and void ab
initio and moot judgments and orders

Page 10 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 85 of 200

93031, Dkt. 11, on April 10, 2003, and emerged as fraudulent and illegal claimants seeking to
collect on certain criminal usury convertible notes (GX 1-4), in violation of 18 USC §§2, 152,
157, 371, 924(c), 1201-02, 1341, 1343, 1344, 1346, 1503, 1512, 1519, 1961(a), 1961(6)(B),
1956057, 1958-59, 1962(a-d), and 2071(a), (b), see Dkt. 15 and 16—a pattern of racketeering

activities in furtherance of the Hobbs Act racketeering loan sharking and money laundering

conspiracy run by KTS’ clients, see Ex. 3 and Ex. 4, infra,

2. Alleged Criminal Usury

In the course of a thorough Bankr Rule 9011(b)(1-4) and 28 USC § 1927 investigation
regarding the legality and the validity of KTS’ clients’ suspect claims, the Debtor and other parties
in interest have presented documentary evidence and legal analysis to the Court proving that the
interest rates charged (2,000%) on the convertible promissory notes (GX 1-4) greatly exceeded the
25% per annum threshold set forth in New York Penal Law § 190.40. The Debtor further alleged
that the effective annual rate of interest—often disguised through default provisions, penalty rates,
or convertible pricing terms—rendered these notes not merely voidable but void ab initio as
criminally usurious under New York Penal Law, section 190.40 and Adar Bays, Id. This was
corroborated by a prior ruling from Judge Sand in the Southern District of New York, in which he
referenced aspects of KTS’ clients’ lending practices that appeared usurious on their face—see
Sand, J.’s 02cv2219 (SDNY) Nov. 2002 Memorandum Opinion analyzing GX 5’s terms and

conditions.

3. Unregistered Broker-Dealer Activities

Page 11 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt, 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 86 of 200

Additionally, in May 2021, FINRA’s custodian of record Maria E. Asquith, Esq. issued a
binding regulatory finding (Ex. 3) that KTS’ clients had operated as unregistered broker-dealers,
conducting numerous securities transactions without proper licensure in violation of 15 U.S.C. §
780(a)(1), see Ex. 4, infra, The convertible promissory notes (GX 1-4), which had been structured
as criminal usury convertible instruments to acquire Debtor’s stock (50,000,000 shares), were thus
tainted by securities law aiaatiand, 15 USC §§ 77d, 77e, 77b(a)(11), 780(a)(1), and 78p(b). In
the eyes of federal courts, profits or interests derived from such criminal usury transactions, see

18 USC § 1961(6)(B), are not legally cognizable property rights.
4. Motion to Annul, Vacate, and Set Aside

Following these developments, the Debtor and Mr. Ware, 11 USC 1109(b) statutory parties in
interest, currently propose to file in 03-93031 a Motion to Annul, Vacate, and Set Aside certain
orders and claims allowances premised on KTS’ clients’ null and void ab initio criminal usury
notes (GX 1-4). The Debtor contends that KTS’ clients, by relying on criminally usurious
instruments (GX 1-4) and illegal securities transactions, lacked Article III standing ab initio,
thereby depriving the Harikrantoy Court of constitutional and statutory jurisdiction to grant any

relief, Dkt, 28, 256, 258, 263, 274, and 275 (the “Moot Orders”).

IV. LEGAL ANALYSIS

A. Article IIT Standing: “Concrete Injury in Fact” as a Constitutional Prerequisite
Article III of the United States Constitution restricts the lawful jurisdiction of federal courts—

including bankruptcy courts, which are “units” of the district courts, see 28 U.S.C. § 151— to live

Page 12 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 87 of 200

“cases” and “controversies.” A central element of the “case or controversy” requirement is that a
plaintiff (or petitioner—KTS’ clients, see Dkt. 11, 15, and 16) affirmatively “as a threshold matter”
before the federal court is permitted to adjudicate the merits of the claims (i.e., see Steel Co., 523
U.S. at 94-95) demonstrate standing. Under Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61

(1992), a (plaintiff/petitioner) real party in interest must show:

1. Injury in Fact — a concrete, particularized, and actual or imminent injury to a legally

protected interest;®

2, Causation — a causal connection between the alleged injury and the defendant’s conduct;
and

3. Redressability — a likelihood that the requested judicial relief will remedy the alleged

injury.

Federal courts uniformly interpret “injury in fact” to necessitate more than a speculative or

hypothetical grievance; the harm?’ must be to an interest recognized by law. Spokeo, Inc. v.

8 Tpso facto as a matter of law and fact prior to entering its appearance in 03-93031 KTS and the U.S.
Trustee, James H. Morawetz, and the Bankruptcy Judge (Margaret H. Murphy) all knew or were recklessly
willfully blind that KTS’ clients who appeared in the 03-93031 Chapter 11, Dkt. 11, had no legally
protected interest or legal rights in null and void ab initio criminal usury convertible promissory notes,
GX 1-4, which the Bankruptcy Court was permitted to enforce or grant any relief to enforce GX 1-4 via
redressable judicial relief.

* To date KTS nor its clients have ever in any pleading provided proof of any “harm” suffered by its clients,
suffered by unregistered broker-dealers derived from attempted collection or enforcement—@_right or
interest recognized by law, in regard to null and void ab initio criminal usury convertible promissory notes,
GX 1-4. Proof of “harm” to KTS’ clients cannot and does not as a matter of law and fact exist—therefore,
the 03-93031, 04cr1224 (SDNY), and 02cv2219 (SDNY) federal courts never possessed Article III
jurisdiction over their proceedings which are ipso facto void ab initio and moot. Steel Co., 523 U.S. at 93-
95.

Page 13 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article III requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16,
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 88 of 200

Robins, 578 U.S. 330, 339-40 (2016).'° Where the alleged “injury” or “harm” stems from KTS’
clients’ racketeering loan sharking and money laundering crimes and illegal conduct, or contracts
that are illegal or void (GX 1-4, and GX 5) such purported harm is not considered a “legally
protected interest” under either state or federal law. Steel Co. v. Citizens for a Better Env’t, 523

U.S. 83, 102-03 (1998) (emphasizing that standing requires an injury recognized at law).!!

B, Criminal Usury Debt Contracts that Are Void Ab Initio Confer No Legally Protected Interest

1. Criminal Usury Under New York Penal Law, section 190.40, a class E felony.

Under New York Penal Law § 190.40, any note (GX 1-4) bearing an interest rate above 25%

per annum is criminally usurious.'* New Y ork courts have long held that such agreements are not

merely voidable—they are void ab initio, meaning they are treated as if they never existed. Adar

Bays, LLC vy. GeneSYS ID, Inc., 28 F.4th 379 (2d Cir. 2022). Because these contracts, GX 1-4,

and GX 5 are contrary to public policy, courts refuse to recognize any legal right stemming from

them. See Seeman v. Philadelphia Warehouse Co., 274 U.S. 403, 408 (1927) (noting that usurious
contracts are disfavored as a matter of policy) (“As thus stated, the qualification, if taken too

literally, would destroy the rules themselves, for they obviously are to be invoked only to save the

'° The Supreme Court vacated. A plaintiff invoking federal jurisdiction bears the burden of establishing the
“irreducible constitutional minimum” of standing by demonstrating an injury in fact, fairly traceable to
the defendant’s challenged conduct, likely to be redressed by a favorable judicial decision. A plaintiff must
show that he suffered “an invasion of a legaily protected interest” that is “concrete and particularized”
and “actual or imminent, not conjectural or hypothetical.”

"' Tn fact the law strictly prohibits KTS’ client from any collection attempts, Dkt. 11, 15, and 16, with
respect to predatory criminal usury unlawful debts, see NYS Penal Law, section 190.40, the criminal usury
law, a class E felony; and see federal racketeering law, 18 USC §§ 1951(a), 1961(6)(B), and 1962(a-d).

"2 See 18 USC § 1961(6)(B), the collection or attempted collection of GX 1, GX 2, GX 3, and GX 4 by
KTS and its client via Dkt. 11, 15, and 16, and the U.S. Trustee via Dkt. 6, and 13 in 03-93031 constitutes
overt and predicate acts of racketeering activities.

Page 14 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 89 of 200

contract from the operation of the usury laws of the one jurisdiction or the other. The effect of the

qualification is merely to prevent the evasion or avoidance at will of the usury law otherwise

applicable by the parties' entering into the contract or stipulating for its performance at a place
which has no normal relation to the transaction and to whose law they would not otherwise be

subject.“.'3 (emphasis added).

Thus, given that the record is undisputed and effectively stipulated by KTS’ clients, that KTS’
clients’ convertible promissory notes (GX 1-4) did, in fact, exceed the 25% annual interest
threshold—whether expressly or via disguised fees, penalties, or conversion formulas—GX 1-4

are ipso facto criminally usurious under New York law, null and void ab initio, unenforceable,

and are not required to be repaid, Adar Bays, Id.

That criminal usury classification is fatal to Article III standing and subject matter jurisdiction
in the federal or state courts, and accordingly, ipso facto, deprived KTS’ clients of a legally

protected interest—a lawful claim in the Chapter 11 estate or a lawful cause of action in the

underlying 02cv2219 and 04cr1224 (SDNY) moot and void ab initio proceedings--that is, KTS
and its clients are prohibited and cannot invoke the Article III power of federal courts to enforce

or assist in the collection of illicit criminal usury debt instruments. The ex turpi causa non oritur

actio'* principle dictates that no cognizable cause of action arises from a base, illegal, or immoral

'S Respondent brought suit in the District Court for Southern New York to recover for the conversion of a
quantity of canned salmon pledged to it as security for a loan. The pledgor, who had fraudulently regained
possession, sold the salmon to petitioners. The defense set up was that the transaction between respondent
and the pledgor was usurious, and therefore void under the law of New York, where the pledgor conducted
its business, and where petitioners contend the pledge agreement was made.

'4The phrase "ex turpi causa non oritur actio" is a Latin legal maxim which means "from a dishonorable
cause, a lawful action does not arise." This principle is used to prevent a plaintiff from pursuing a legal
remedy if it arises in connection with their own illegal act.

Page 15 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 90 of 200

cause, and criminal usury according to NYS public policy, see In re Venture Mortgage, L.P., 282

F.3d 185 (2d Cir. 2002), falls squarely within that rule.'°

Unregistered Broker-Dealer Activity

The federal securities statutes similarly vitiate KTS’ clients’ claims. Under Section 15(a)(1) of

the Securities Exchange Act of 1934 (15 U.S.C. § 780(a)(1)), any entity “engaged in the business

916

of effecting transactions in securities for the account of others”’° must register with the Securities

and Exchange Commission.'’ Failure to do so renders the relevant transactions unlawful. Coutts

have declared all such securities transactions void or unenforceable. See Regional Props., Inc. v.

Fin. & Real Estate Consulting Co., 678 F.2d 552, 559 (5th Cir. 1982).'*

Where a party’s claim to monetary recovery depends on profits or conversion rights acquired

through an unregistered broker-dealer arrangement, that party holds no “legally protected interest”

'S Cf, Hufnagel v. George, 135 F. Supp. 2d 406-07 (SDNY 2001) (McMahon, J.) (same, criminal usur
Pp y
debts void for policy reasons).

'6 See Ex. 4, infra, Arie Rabinowitz’s teary confessions under oath during the U.S. ». Ware, 04cr1224
(SDNY) Nov. 2007 fraudulent criminal contempt trial to enforce and collect the null and void ab initio GX
1, GX 2, GX 3, and GX 4 criminal usury convertible promissory notes.

17 See Ex. 4, infra, the Nov. 2007, U.S. v. Ware, 04cr1224 (SDNY) trial testimony of government witness
Arie Rabinowitz—in tears Rabinowitz capitulated, confessed, and admitted that he, LH Financial Services,
Alpha Capital, AG, et al. were in fact 15 USC 780(a)(1) unregistered broker-dealers.

18 See Id. at 561: “Moreover, this interpretation is the one implicitly adopted by Eastside Church. There,
we allowed a contract for the purchase of bonds, after it had already been performed, to be rescinded by the
seller. There was nothing to suggest that the contract "by [its own] terms" violated the Act. We permitted
it to be rescinded simply because the purchaser, in performing the contract, had in fact violated the Act
by doing so without being registered as a broker-dealer. Cf. Mills, supra, 396 U.S. at 388 n. 11, 90 S.Ct.
at 623 n. 11, 24 L.Ed.2d at 604 n. 11 (dicta) (proxies submitted in favor of merger could be rescinded, even
though terms of merger were not themselves unlawful, if proxies had been solicited in a manner violative
of the Act).” (emphasis added).

Page 16 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 91 of 200

that a federal court will honor. Hence, KTS’ clients cannot invoke federal judicial power to
safeguard gains derived from securities law violations; any alleged “injury” from their inability to
collect on these illegal instruments is not the sort of harm for which Article III standing is

recognized.

The Court of Appeals further explains in Regional, Id. at 561:

“Moreover, we think that application of the letter of the statute [15 USC § 780(a)(1)] in this
case does further the Act's purposes. In Eastside Church, supra, we emphasized that section
15(a)(1)'s registration requirement{:]
“is of the utmost importance in effecting the purposes of the Act. It is through the broker
registration requirement that some discipline may be exercised over those who may engage

in the securities business and by which necessary standards may be established with respect
to training, experience, and records.” (emphasis added)

Cc. KTS’ Clients’ Alleged “Injury” Is Self-Inflicted and Not Cognizable Under Article ITI as
a Live Case or Controversy.

Even if KTS’ clients suffer a loss by virtue of being denied payment (they did not given the
criminal usury debt is net required to be repaid), that “loss” is entirely self-imposed and self-

inflicted. Parties who knowingly or recklessly enter into criminally usurious lending or violate

securities laws, 15 USC §§ 77d, 77e, 77x, 780(a)(1), 78p(b), and 78ff, bear the risk that their
instruments and resultant duties will be deemed void. Far from supporting standing, the self-
inflicted nature of the alleged nonexistent “injury” undermines the argument that there is a
cognizable harm to be redressed in a federal forum. Clapper v. Amnesty Int’l USA, 568 U.S. 398,

418 (2013) (discussing that “self-inflicted” injuries, or those arising from unlawful activities, lack

the foundation necessary to support Article II] standing; The plaintiffs contended that they had

Page 17 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 92 of 200

taken costly precautions—such as avoiding electronic communications and traveling overseas—
to prevent the risk of surveillance. The Court rejected this argument, holding that: A plaintiff

cannot manufacture standing by voluntarily incurring costs in response to speculative fears of

future government actions; and the alleged economic harm resulting from self-imposed security

measures did not constitute an "injury in fact" under Article IMT). (emphasis added).'°

No place in the 03-93031 Chapter 11 record did nor has KTS and its unregistered broker-
dealer clients presented any evidence or proof whatsoever which “affirmatively established” any
*concrete injury in fact”, much less a purported “concrete injury_in fact” caused by Group
Management and Mr. Ware’s lawful and ethical actions and conduct. Mr. Ware’s and Group
Management’s adamant and lawful refusal to criminally violate the federal securities laws and
issue fraudulent and bogus Rule 144(k) legal opinions to KTS’ clients to enable and facilitate the
criminal violation of the federal securities laws, 15 USC §§ 77e, 77x, 780(a)(1), 78p(b), and 78ff,
and enable an illegal unregistered public offering of Group Management’s equity securities—that

is no injury to KTS’ clients. °

The _ criminal provisions of the federal securities laws caused the alleged injury not

Group Management or Mr. Ware, the Supreme Court has_ held such illusory alleged injury is

not cognizable in the United States federal courts as a live Article III case or controversy—that is,

'° Tn the context of In re Group Management Corp., the principles from Clapper support the argument that
KTS’ clients lack Article III standing. Their inability to collect on or enforce criminally usurious and
illegally transacted promissory notes, GX 1, GX 2, GX 3, and GX 4, does not constitute a concrete ote and
particularized injury. Instead, it reflects the natural consequence of their own illicit conduct, aligning with
the notion that courts should not serve as forums for enforcing void or illegal contracts. Clapper reinforces
the necessity for plaintiffs to demonstrate specific harms caused by defendants rather than abstract or
generalized injuries, thereby undermining claims that rely on the inability to profit from unlawful activities.

Page 18 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article III requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 93 of 200

KTS’ and its clients’ manifestly frivolous claims are null and void ab initio and ipso facto as a
matter of law and fact moot, Stee! Co., 523 U.S. at 94-95, and violated Bankr Rules 9011(b)(1-4)

and 28 USC § 1927.

D. Consequence: No Article Ill Subject Matter Jurisdiction in the 03-93031 Bankruptcy Court

Article III standing is “the threshold question in every federal case.” Warth v. Seldin, 422

U.S. 490, 498 (1975) (emphasis added). Because KTS’ clients have failed at all time during the

03-93031 proceedings to establish an injury to a legally protected interest derived from collection

or enforcement of criminal usury convertible promissory notes, GX 1-4, they lacked Article III

standing (initio) from the outset. See Arbaugh v. Y & H Corp., 546 U.S. 500, 506 (2006) (standing
is jurisdictional and can be raised at any stage of the [03-93031, 02cv2219 (SDNY), or 04cr1224
(SDNY) proceedings pursuant to 11 USC § 1109(b)] by the Court, sua sponte, or any party, even

after judgment). (emphasis added).

A bankruptcy court’s jurisdiction is derivative of the district court’s. 28 U.S.C. § 1334(a),”°
Accordingly, if KTS’ clients never possessed Article III standing in the 02cv2219 (SDNY) lawsuit
(they did not), see Ex, 2, infra, the 03-93031 Bankruptcy Court lacked the power and authority to

adjudicate the merits of their fraudulent claims. See Steel Co., 523 U.S. at 94 (jurisdiction must be

established as_a threshold_matter). Any orders entered by the 03-93031 bankruptcy court that

benefitted KTS’ clients (Dkt. 28, 256, 258, 263, 274, and 275) in any way, whether by allowing

0 Although district courts have original jurisdiction under § 1334(a), 28 U.S.C. § 157(a) allows district
courts fo refer bankruptcy cases and related matters to bankruptcy judges, who function as "units" of

the district court. This delegation enables bankruptcy courts to administer proceedings efficiently while
maintaining the district court's ultimate authority over core jurisdictional questions.

Page 19 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article III requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 94 of 200

their claims, approving a settlement, dismissing the Chapter 11 case with prejudice (Dkt. 28), or

otherwise recognizing their criminal interests—are necessarily null and void ab initio. Steel Co.

Id at 94-95. (noting that orders issued without jurisdiction are a nullity). Cf., Hagenau, C.J., void
ab initio Dkt. 256, 258, 263, 274, and 275, fraudulently and baselessly entered to benefit KTS and
its clients from being forced into 11 USC § 303(a) involuntary Chapter 7 liquidation; and Murphy,
J., manifestly fraudulent Dkt. 28 (dismissal with prejudice of the Chapter 11 on joint motion by

the U.S. Trustee, Dkt. 13, and KTS and its clients, Dkt. 15 and Dkt. 16).

E. Policy Considerations and the Purpose of the Bankruptcy Code
Bankruptcy courts serve the important function of adjusting the rights and obligations of
debtors and legitimate creditors. Grogan v. Garner, 498 U.S. 279, 286 (1991).”! The Bankruptcy

Code promotes equitable distributions to honest creditors but does not permit the enforcement of

void or illegal debts, GX 1-4. Recognizing a claim rooted in criminal usury or illegal securities
transactions would undermine both federal and state policy objectives to deter unlawful lending
and unregistered securities dealing. Thus, disallowing KTS’ clients’ criminal usury claims does
not frustrate the intent of the Bankruptcy Code; rather, it aligns with the overarching principle

that courts should not be conduits for illicit profiteering.

V. CONCLUSION
KTS’ clients lacked Article III standing because as a matter of law, Adar Bays, Id., they
cannot demonstrate a “concrete injury in fact” based on convertible promissory notes, GX 1-4, that

are criminally usurious under New York Penal Law § 190.40, a class E felony, and tainted by

*I The Court held that preponderance of the evidence, rather than clear and convincing evidence, is the
appropriate burden of proof in dischargeability proceedings under 11 U.S.C. § 523(a).

Page 20 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article III requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 95 of 200

unregistered broker-dealer activity under 15 U.S.C. § 780(a)(1), see Es. 3, infra. Contracts deemed

void ab initio or grounded in illegal conduct do_not confer_a legally cognizable interest and

therefore do not confer standing on KTS’ clients in a United States federal court proceeding.
Consequently, the 03-93031 Hanikeoprey Court for the Northern District of Georgia was never
vested with subject matter jurisdiction over these fraudulent and void ab initio claims. Any orders
granting relief to KTS’ clients (Dkt. 28, 256, 258, 263, 274, and 275) are thus jurisdictionally
infirm, moot, and null and void ab initio, Steel Co., Id., and the forthcoming Motion to Annul,

Vacate, and Set Aside should be granted.

Accordingly, this Court should recognize that the fundamental defect—KTS’ clients’ lack
of Article III standing—is fatal, precluded, and prohibited any further adjudication of KTS’ clients’
alleged claims. Ensuring that federal courts do not become an instrument to enforce criminally
usurious or illegal securities-based transactions is a core tenet of federal jurisprudence. For these
reasons, the Court should grant the Motion to Annul, Vacate, and Set Aside, and take all necessary

steps to expunge any relief previously accorded to KTS’ clients (Dkt.28, 256, 258, 263, 274, and

275) based on such void and illegal instruments (GX 1-4).

spectfully submitted by:
Q «Woe
/s/ Ulysses T. Ware
For: 11 USC § 1109(b) statutory parties in interest Ulysses T. Ware and the Debtor Group
Management (successor in interest to Group Management Corp.).

Ulysses T. Ware

123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
Utware007(@gmail.com

Page 21 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article III requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 96 of 200

F. Exhibits—

Supplemental Record

Page 22 of 31

Thursday, January 23, 2025
(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered

broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 97 of 200

Exhibit 1—Dkt. 65, Aug. 13, 2003, Sand, J.) (deceased), 02cv2219
(SDNY): Unappealed Judicial ruling (collateral, equitable, and judicial
estoppel) of 15 USC §78p(b) statutory insider status (disgorgement of all
profits requirement to the Chapter 11 estate) for each of KTS’
unregistered broker-dealer clients (see Ex. 3, infra) with respect to the
Chapter 11 debtor’s, Group Management Corp.’s, publicly-traded equity
securities.”?

»? Judge Sand’s Aug. 13, 2003, ruling, binding a lawful court order—(A) subject to enforcement against
Hagenau, KTS, its client, et al., via civil and criminal contempt (18 USC §§401(2), 401(3)) absolutely
binding on the 03-93031 Chapter 11 Bankruptcy Court (NDGA) (Hagenau, C.J.), which (B) conferred
fiduciary duty status on all 18 USC §1962(d) racketeering to commit bankruptcy fraud unindicted
coconspirators to wit, Hagenau, KTS, its partners, each of KZS’ unregistered broker-dealer clients, et al.
that is, Hagenau, KTS, its partners, and its clients are subject to (i) an existing and extant and current
equitable lien on their personal and individual assets, (ii) current and extant constructive trust impressed
on their assets, (iii) and U.C.C. Article 1 encumbrance and lien on their assets in the amount of +8522
plus interest running from the date of Judge Sand’s 15 USC §78p(b) court order, August 13, 2003, (i.e.,
stolen and concealed property and assets of the 03-93031 Chapter 11 estate).

Page 23 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article III requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt, 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 98 of 200

Ex. 1—(Dkt. 65, 02cv2219)—(18 USC § 1961(1) Racketeering Overt and Predicate Act)
Aug. 13, 2003, Dkt. 65 02cv2219 (SDNY), Sand, J. (deceased) binding judicial ruling
and court order—Judge Sand in ex parte communications found each KTS client to be a
15 USC § 78p(b) statutory insider of Group Management Corp, and therefore triggered the
Section 16(b)/11 USC §542(a) disgorgement/turnover requirement, which was not
appealed by KTS’ clients, and is therefore, ipse facto, as a matter of law and fact res
judicata and collateral estoppel against KTS, Kadaba, the SBGA, NeSmith, Fredrick,
Hagenau, and the 03-93031 (BC NDGA) bankruptcy court pursuant to FRE 201(b)

judicial notice.

Appx 34-2—GX 24 (Dkt. 65, 02cv2219)—found each 02cv2219 plaintiff to be a 15 USC 78p(b)
statutory insider of GPMT, and their and their agents required to disgorge back to GPMT +5500
million in trading profits.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ALPHA CAPITAL AK TIBNGESELLSCHALT,
AMRO INTERNATIONAL, $.A.,
MARKI{AM HOLDINGS, LTD., and.
STONESTREET LIMITED PARTNERSHIP,

Plaintiffs, i 02 Civ, 2219 (LBS)

sapsinst- : ORDER
GROUP MANAGEMENT CORP,
formerly known as 'VG CORP,,
formerly kaown as INTERNET
VENTURE CORP.,

Defendant.

SAND, District Judge.
in a telephonic conference on July 2, 2003, this Court ordered that Defendant Group

Management coniply with a conversion request by Plaintiff Stonestrect L.P,, contingent on tho

provision by Plaintiff of an affidavit stating, inter alia, that Stonestreet beneficially owned less

than 9.9% of Group Manayement’s common stock, as well as an opinion fetter stating that the
$1 conversion would therefore be in compliance with Rule 144(k). Seo Tr. July 2, 2003. Plaintiff’

subsequently provided an unaworn slatentent to the effect that Stonestreet’s ownership was

below the appropriate tevel; when Defendant still failed 10 honor the conversion request, the

8. Court ordered on July 23 that i) Plaintisf provide a swom affidavit, as required by Silly 2 Onter;

nt :
‘+ and ii) that Defendant honor the Stonestreet conversion request within two busi days
tp

MICROFILM

>
€£. thereafter, on pain of contempt,

On August |, 2003, the Caurt received from Plaimiff copies of an affidavit and opinion

COPIES MAILED TO ALL PARTIES), 4\n,

Page 24 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.

Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 99 of 200

The conspiracy to commit securities and bankruptcy fraud by KTS during the In
re Group Mangement Corp, 03-93031 (BC NDGA) Chapter 11 proceedings. KTS'
| ‘ere in ex parte communications with the 02cv2219 (SDNY)
- district court ; J.) that KTS did in fact knowingly violated 18 USC 2, 157,
371, 924(c), 1201-02,1341, 1343, 1503, 1951(a), 1956-57, 1958-59, 1961(6)(B)
and 1962(d) by concealing and suppressing its clients' ownership of GPMT's
stock. letter relating not to Plaintiff Stonestreet, but rather to Plaintiff Alpha Capital. Ploinitf

explained, upon inquiry from Chambers, that Stonestreet n fact beneficially owned more than,

0.9% of Group Management's stock.

Given the above facts, the Court observes thal the conditions set in the July 2 Order
regarding the Stonestreet conversion request have not been ritel, and that Defendant is therefore
not incontenpt of that Order, or of the follow-up Order of July 23, Nonetheless, pursuant to
other orders of this Court, including the Order and Judgment of November 25, 2002, Defendant
is still bound to hortor appropriate conversion requests fom Alpha Capital, and Plaintiff has
submitted both an affidavit and opinion lelter regarding the legality of the current Alpha
conversion request, Accordingly, failure by Defendant to honor that request within go as Ws

days of this Order shall constitute contempt.

SO ORDERED,

Dated: New York, New York
August 96; 2003

#)

Page 25 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article III requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 100 of 200

Exhibit 2--Dkt. 90 (Binding Final Judgment)—02cv2219 (SDNY)
Prevailing Parties Chapter 11 Debtor Group Management and 11 USC
§1109(b) statutory party in interest Ulysses T. Ware’s Final Judgment—
December 20, 2007, Dkt. 90, Case No. 02cv2219 (SDNY), District Judge
Leonard B. Sand, Fed. R. Civ. P. Rule 41(a)(2) voluntary, ex parte
Dismissal with Prejudice of the 02cv2219 (SDNY) Lawsuit After the
Statute of Limitation Had Run on All Claims Final Judgment conferred
final_judgment prevailing party status on Group Management and
Ulysses T. Ware.”

3 KTS’ unregistered broker-dealer clients’ Dec. 20, 2007, voluntary Rule 41(a)(2) dismissal with
prejudice of the 02cv2219 (SDNY) lawsuit—final judgment on the merits for the Chapter 11 debtor, Group

Management, and 11 USC §1109(b) statutory party in interest Ulysses T. Ware, is currently and will be
enforced against Hagenau, KTS, its clients, and each 18 USC §1962(d) unindicted coconspirator resisting
the legal and equitable preclusive effects—that is, the immediate 11 USC §542(a) turnover of all Chapter
11 estate assets, of the binding court order, see 18 USC §§401(2), and 401(3), and Fed. R. Crim. P. 42.

Page 26 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 101 of 200

Page 27 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt, 15 and 16.

Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 102 of 200

Exhibit 3—FINRA’s May 17, 2021, binding regulatory factual
finding of unregistered broker-dealer status for KTS’ clients who
fraudulently appeared in the 03-93031 Chapter 11, see Dkt. 11, 15,
and 16 via KTS’ lawyers Dennis S. Meir and John W. Mills, officers
of the court, pursuant to and in violation of 18 USC §§ 2, 152, 157,
371, 1951(a), 1956-57, 1961(6)(B), and 1962(a-d)—a_pattern of

racketeering activities.

CERTIFICATION OF NO FINRA BUSINESS RECORDS

Te

|, Marcia E. Asquith, being first duly sworn, depose and state as follows:

1. lam the Executive Vice President, Board and External Relations, In that
capacity, | oversee the functions of the Office of the Corporate Secretary at
the Financial Industry Regulatory Authority, Inc. (“FINRA’), | am familiar with
and am a custodian of FINRA business records, including interpretations,
policies and rules adopted by the FINRA Board of Governors.

2. No documents related to the firms listed below were prepared, kept and
maintained in the ordinary course of FINRA's business:

a) Alpha Capital, AG

b) Stonestreet, L.P,

¢) Markham Holdings, Ltd.
d) Amro International, S.A,
@) LH Financial Services

Marcia E. Asquith
Executive Vice President, Board/ad Extemal
Relations and Corporate Secretary

‘Subscribed and sworn to before me this athaay of May 2021
+ 2 i :

- 3 t BL,
Fatt. 2. mee
Notary Public, District of Columbia i Eo
4 55 i
1

My commission expires:

Page 28 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article III requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 103 of 200

Exhibit 4--U.S. vy. Ware, 04cr1224 (SDNY), Nov. 2007, Tr. 204-06,
sworn testimony of KTS’ clients’ official agent, unregistered investment
advisor and unregistered broker-dealer Arie Rabinowitz confessing to
being unregistered broker-dealers. see Dkt. 11 (03-93031) (BC NDGA),
KTS’ entry of appearance.

UNITED STATES ¥. WARE, CASE NO. 09-0851 (2D CR.) (7010)
ON APPEAL FROM UNITED STATES wv. WARE, 04¢11224 (Sweet, 5.)
18 USC 404(3) CRIMINAL CONTEMPT PROSECUTION
APPELLANT WARE’S OPENING BRIEF

1 Moreover, being unregistered brokers-dealers operating in violation of 15 U.S.C.
2 S?7S8o0fa)(1), Tr. 204-05, Rabinowitz testified as follows at Tr. 204:

1 ADMISSION OF BROKER-DEALER STATUS BY en,
ARI RABINOWITZ UNDER CROSS EXAMINATION. ™,

Mir. Ware: What Is the name af your campany?

3 Rabinowitz: LH Financial Services.

> Mr. Ware: What business is that company?

> Rabinowitz: We are in the private placement.business.

i Tr, 206 Cc Nn 5

? r. Ware: Approximately how many companies have you assisted Alpha Capital
3 ak over, let's say, the last . rere

* Rabinowitz: A good few Alunidired,
3 Mr. Ware: A good few Tingle?

5 Rabinowitz: Yess

? Rabinowitz" ‘testimony of being in the private placement business, and assisting
3 Alpha, Capital With “a pood few hundred” transactions: pursuant to 15 U.S.C.
> §A7b(aya2). Rabinowitz and Alpha were “dealers” not eligible for any exemption
> under. Title 15 Section 4, and thus not eligibie for 17 C.F.R. $240.144(k)/(Rule 144(k}
i regarding the purchase of the Notes of IVG/GPMT (GX 41-4).

fage 4 of 12
Appellant Ware’s Statement of Facts
U.S. v. Ware, 09-085 4er (2c Cir.)

Opening Appeal Bricf

Page 29 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.

Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 104 of 200

Certificate of Service

I Ulysses T. Ware certify that I have this 23" day of January 2025 served each of the below persons
or entities with a copy of this pleading via their public email accounts and submitted the same to
the U.S. Bankruptcy Court (NDGA) to the Chief Bankruptcy Judge, Ellis-Munto for immediate
filing and docketing pursuant to 18 USC §§ 2071(a), (b), Bankr. Rule 5005(a)(2)”4 and 5005(b)(1)

with the U.S. Trustee.”5

cc: Office of the U.S. Trustee, Region 21 (ida Mae Townsend)

Kilpatrick, Townsend, & Stockton, LLP (via CEO Wab Kadaba, Esq., J. Henry
Walker, IV, Dennis S. Meir, and John W. Mills, IIT)

Arie Rabinowitz, Kenneth A. Zitter, Alpha Capital, AG, Stonestreet, L.P.
Markham Holdings, Ltd., AMRO International, $.A., Trailblazer Merger Corp,
I, LH Financial Services Corp., convicted felon Edward M. Grushko, Joseph
Hammer, and Barbara R. Mittman via Kilpatrick, Townsend, Stockton, LLP
(Wab Kadaba, Esq. and J. Henry Walker, IV).

Baker & McKenzie, LLP (via Lawrance B. Mandala, Esq., Robert Alberal, Esq.
and Thomas A. Leghorn, Esq.)*°

William D. NeSmith, III, State Bar of Georgia; Office of the Chief Justice,
Supreme Court of Georgia, the Hon. Michael P. Boggs (via Paula Fredrick and
William D. NeSmith, III--statutory agents in fact); and

4 With a Judge of the Court. A judge may personally accept for filing a paper listed in (1). The judge must
note on it the date of filing and promptly send it to the clerk.

*5 (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

26 Baker & McKenzie, LLP has primary liability in the sum certain amount of $2.225 billion.

Page 30 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article III requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 105 of 200

John F. King, Georgia Insurance Commissioner on behalf of (undisclosed
identities) John Doe Insurance Companies ##1-5 (via William D, NeSmith, III,
Wab Kadaba, J. Henry Walker, III, Michael D. Hostetter, Edward T.M. Garland,
the State Bar of Georgia, Office of the General Counsel, and Wendy L. Hagenau,
statutory agents in fact);

FINRA (via Robert W. Cook, Robert L.D. Colby, Sarah Jeffries, and Marcia E.
Asquith) on behalf of the Securities and Exchange Commission (11 USC 1109(a)
statutory party in interest); and

Acting Director of the FBI (via Ida Mae Townsend, Esq.)
RMWaor

/s/ Uly4ses T. Ware .

January 23, 2025

End of document

Page 31 of 31

Thursday, January 23, 2025

(11) (Part 13-10) Re: Article Ill requisite “concrete injury in fact” analysis in regard to KTS’ unregistered
broker-dealer clients’ fraudulent appearance in the 03-93031 Chapter 11, Dkt. 11, to collect and/or
enforce criminal usury convertible promissory notes, GX 1, GX 2, GX 3, and GX 4 via Dkt. 15 and 16.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 106 of 200

Case No. 03-93031

United States Bankruptcy Court (12-12)
For the Northern District of Georgia
(Atlanta Division)

Submitted for Filing on

Friday, January 31, 2025, 11:34:42 AM [- 5
ae]

In re Group Management Corp., Chapter 11

Appellants’-Movants’ Memorandum of KTS and its Clients’ (unregistered
broker-dealers—see Ex. 3, infra) Hobbs Act RICO Conspiracy to Commit
Bankruptcy Fraud, 18 USC §§ 2, 152, 157, 371, 924(c), 1951(a), 1956-57, 1958-
59, 1961(6)(B), and 1962(a-d)—a pattern of racketeering activities.'

ubmitted by:
Cy fs MT ance
s/ Ulysses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
Utware007@gmail.com
Friday, January 31, 2025

' The Movants’ challenge to the Bankruptcy Court (NDGA) In re Group Management Corp., 03-9303 1
Chapter 11 Article III jurisdiction over predatory criminal usury unlawful debts subject matter, GX 1-
4; and (2) challenge to the Article III standing of the 02cv2219 (SDNY) plaintiffs, Atlanta, GA law firm
Kilpatrick, Townsend, & Stockton, LLP clients, see Dkt. 11, unregistered broker-dealers. Cf., Ex. 3,
infra. What legitimate and lawful interest would a United States Bankruptcy Court (Ellis-Munro, C.J. and
Hagenau, C.J.) have in not sua_sponte affirmatively confirming the Court’s mandatory unwaivable
constitutional jurisdiction to adjudicate the Dkt. 6, 11, 13, 14, 15, and 16 proceedings with respect to
fundamental constitutional prerequisites—‘“legally protected interest” in criminal usury convertible
promissory notes--in predatory criminal usury unlawful debts, GX 1-4, and (2) the Article HI standing of
KTS’ unregistered broker-dealers clients to enforce and/or collect GX _ 1-4? No legitimate interest exists.
If no legitimate interest exists, then any alleged interest, by definition. must be nefarious, corrupt,
perfidious, and illegitimate—that is, an unlawful interest.

Page 1 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ilda Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 107 of 200

Table of Contents
Bankr. Rule 5005 (2)... .cnncooaian nica erewecewaweewawwie wise Wei 5
Memorandum of Hobbs Act RICO Conspiracy to Commit Bankruptcy Fraud ........... cece 7
J. A CALL FOR IMMEDIATE INTERVENTION: A SYSTEMIC BREACH OF TRUST AND A
DEMAND FOR. TUSTIGCR , sscsssississsseiscisssersscecsse cesivivesisavviescraavsnnscenrcatiesinssessstianesiseiteveaeianineesitneniarenins ab
Il. OVERWHELMING AND IRREFUTABLE EVIDENCE OF DELIBERATE AND BAD FAITH
FRAUDS: seccsesnsessrncasessanroesnnsannnedianonesanskanadiea ieee as EET TT 10
A. FINRA’s Definitive Regulatory Certification of Unregistered Broker-Dealer Status: Exposing the
Miegal Foundation of CTS. Clients? Claims. uenccessrccmecctnennimmercaramarcucerenneneteroneannvees ear ersomanevnnircuranonionte 10
B. Criminally Usurious Loan Contracts (GX 1-4): Illegal and Unenforceable Predicates for KTS
Clistits’ Clini Scissors ancnmmmnmmnninranmnmmnnmnnier TINT 11
C, Dkt. 11: KTS Clients’ Fraudulent Entry of Appearance and Knowing Misrepresentation of
“Creditor” Status. .....cccsescssccscsereeseessesceseescesseeeesceseeeeeeeeeeneeteneeacecsenseceesemeaseeesaeeamesaececcaresessmeeesnesneanegenea 13
D. Dkts. 15 & 16 (Exhibits 15A & 16A): KTS’ Emergency Motion to Dismiss and Supporting Brief —
Active Perpetration of Fraud and Judicial Admissions of [legality .....cccccccccsstcesssereeeesesecnes 14
E. Concealment of +$522 Million in Insider-Trading Profits: The Corrupt Motive for the Fraudulent
I CHGLIEY consercensenarnnsennersencovaremanmecisunssansnansnantsecennnnissnenidsid MGA ET GUAT GST 15
F. Ethical Dereliction by KTS Attorneys: Violation of GA Bar Rules 3.3(a) and 8.4 — A Stain on the
Legal ProtessiOti;cccicccivessaimscassssenanecreesnarsacsrneasnavevnnveecnsteceosascom rive sbestatesseetexteeresarnienenties 16
II. PROFOUND HARM INFLICTED UPON THE BANKRUPTCY COURT, CREDITORS,
ESTATE, AND ULYSSES T. WARE: secnnenceneowan sesame 17
IV. DEMAND FOR IMMEDIATE AND DECISIVE INVESTIGATION AND REMEDIAL
ACTION BY THE U.S. TRUSTEE .......ccccccccccccsceeseeseeteeeescneeneeaeseeaeceenenaecaenanesesaesecseseaseaseasseresneceeatenes 19
V. DEMAND FOR IMMEDIATE MEETING TO DISCUSS REMEDIAL ACTION... cece 21
HN ClOSUPOS? eccrssscssccwisesnvenseeneTH RT enniesTterwonn rai cenimannernananorene rTM eerste 22
Certificate of Strviteuiccssccscarancncncannannie na enema eran raetatererre 23

Exhibit 1—Dkt. 65, Aug. 13, 2003, Sand, J.) (deceased), 02cv2219 (SDNY): Unappealed Judicial ruling
(collateral, equitable, and judicial estoppel) of 15 USC §78p(b) statutory insider status (disgorgement of
all profits requirement to the Chapter 11 estate) for each of KTS’ unregistered broker-dealer clients (see
Ex. 3, infra) with respect to the Chapter 11 debtor’s, Group Management Corp.’s, publicly-traded equity
SGUUTIUEES: acre anaemia earr am 25

Ex. 1—(Dkt. 65, 02cv2219)—(18 USC § 1961(1) Racketeering Overt and Predicate Act) Aug. 13,
2003, Dkt. 65 02cv2219 (SDNY), Sand, J. (deceased) binding judicial ruling and court order—
Judge Sand in ex parte communications found each KTS client to be a 15 USC § 78p(b) statutory
insider of Group Management Corp, and therefore triggered the Section 16(b)/11 USC §542(a)
disgorgement/turnover requirement, which was not appealed by KTS’ clients, and is therefore, ipso
facto, as a matter of law and fact res judicata and collateral estoppel against KTS, Kadaba, the
SBGA, NeSmith, Fredrick, Hagenau, and the 03-93031 (BC NDGA) bankruptcy court pursuant to
PT RC TIOIE, «iiscssvavsvossetvaescsnsesconcastesveressesestascessenrseztecnenestattnsasnnasvnnanvussusnsseastsateonnsvaceaais 26

Page 2 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 108 of 200

Exhibit 2--Dkt. 90 (Binding Final Judgment)—02cv2219 (SDNY) Prevailing Parties Chapter 11 Debtor
Group Management and 11 USC §1109(b) statutory party in interest Ulysses T. Ware’s Final Judgment—
December 20, 2007, Dkt. 90, Case No. 02cv2219 (SDNY), District Judge Leonard B. Sand, Fed. R. Civ. _
P. Rule 41(a)(2) voluntary, ex parte Dismissal with Prejudice of the 02cv2219 (SDNY) Lawsuit After the
Statute of Limitation Had Run on All Claims Final Judgment conferred final judgment prevailing
party status on Group Management and Ulysses T. Ware. .........cccccccccccccicieieeenerennneeeneneeeanennnenaens 28

Exhibit 3—FINRA’s May 17, 2021, binding regulatory factual finding of unregistered broker-
dealer status for KTS’ clients who fraudulently appeared in the 03-93031 Chapter 11, see Dkt. 11,
15, and 16 via KTS’ lawyers Dennis S. Meir and John W. Mills, officers of the court, pursuant to
and in violation of 18 USC §§ 2, 152, 157, 371, 1951(a), 1956-57, 1961(6)(B), and 1962(a-d)—a
pattern of racketeering activities, 0.0.0.0... cscs cs sseetseetessscssssersssssessescsseessresnesssssrsetisessessticesseseeassneeses 30

Exhibit 4--U.S. ». Ware, 04cr1224 (SDNY), Nov. 2007, Tr. 204-06, sworn testimony of KTS’ clients’
official agent, unregistered investment advisor and unregistered broker-dealer Arie Rabinowitz confessing
to being unregistered broker-dealers. see Dkt. 11 (03-93031) (BC NDGA), KTS’ entry of appearance. ..31

End of Cocume nt .......0.....cccccccecessccccceecsecseeeuscteeeesesucssncseceeceseesesnccenscesscsusensaeesueceueuuecacsnsaeereecausasenecesersaenagen 32

Page 3 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 109 of 200

The Office of Ulysses T. Ware

123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
Utware007@gmail.com

Friday, January 31, 2025

Via email to: USTP.Region2 |@usdoj.gov and ustrustee.program@usdoj.gov*
Ms. Ida Mae Townsend and

Ms. R. Jeneane Treace, jeneane.treace@usdoj.gov

U.S. Trustee and Assistant U.S. Trustee, Region 21

Office of the United States Trustee Program

362 Richard Russell U.S. Courthouse

75 Ted Turner Drive, SW

Atlanta, GA 30303

Via email: BEMChambers@ganb.uscourts.gov’
Office of the Chief Bankruptcy Judge (NDGA)

The Hon. Barbara Ellis-Monro
Richard Russell U.S. Courthouse
75 Ted Tuner Dr., SW

Atlanta, GA 30303

Re: Inve Group Management Corp., Case No. 03-93031 (BC NDGA) —
Notice of Exercise of Rights Under 11 U.S.C. § 1109(b), Ongoing Violations of 18
U.S.C. § 2071 (a), (b), and Civil & Criminal Contempt of Rule 41(a)(2) Final Judgment;
and Request for 11 USC § 105(d)(1) Status Conference.

2 (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

3 (2) With a Judge of the Court. A judge may personally accept for filing a paper listed in (1) (“motions”
or “applications”). The judge must note on it the date of filing and promptly send it to the clerk.

Page 4 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ilda Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 110 of 200

Bankr. Rule 5005 (a)(2)
A. Provisional Notice of Filing and Submission

Pending Receipt by the Court via the U.S. Mail

January 31, 2025

Via Bankr. Rule 5005(a)(2) Electronic Filing

The Honorable Barbara Ellis-Munro

U.S. Bankruptcy Court, Northern District of Georgia
Richard B. Russell Federal Building

75 Ted Turner Drive, SW

Atlanta, GA 30303

Via email to: USTP.Region21@usdoj.gov and ustrustee.program@usdoj.gov*
Ms. Ida Mae Townsend and

Ms. R. Jeneane Treace, jeneane.treace(@usdoj.gov

U.S. Trustee and Assistant U.S. Trustee, Region 21

Office of the United States Trustee Program

362 Richard Russell U.S. Courthouse

75 Ted Turner Drive, SW

Atlanta, GA 30303

Dear Judge Ellis-Munro:
The Appellants-Movants write to inform the Court in regard to the following: Pursuant to
Bankruptcy Rule 5005(a)(2), the undersigned statutory parties in interest, Mr. Ware and Group

Management Corp. (“Group Management”), respectfully submit for your direct attention the

“ (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

Page 5 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 111 of 200

enclosed Rule 9013(a)(1)/11 USC §105(d)(1) judicial public record for provisional filing,

docketing, and entry in the Chapter 11 Case No. 03-93031.

In accordance with 18 U.S.C, §§ 2071(a) and (b), we hereby respectfully request that the
Court confirm receipt and provisionally (pending receipt of a U.S, mailed copy) file and docket
this Bankr. Rule 9013(a)(1) requesi for an 11 USC § 105(d)(1) status conference via the PACER
system, no later than January 31, 2025, as required by law. Should you have any questions
regarding this or other judicial pleadings previously submitted for proper docketing and

adjudication, please contact the undersigned, who will gladly elucidate every prior submission.

Additionally, we request written notice to all interested parties—filed on the official 03-
93031 docket—of the scheduling of the mandatory 11 U.S.C. § 105(d)(1) status conference, so

that these proceedings may continue in a transparent and timely manner.

itted by:
/s/ Ulysses T. Ware ‘

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
Utware007@gmail.com
Friday, January 31, 2025

Page 6 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 112 of 200

Memorandum of Hobbs Act RICO Conspiracy to Commit
Bankruptcy Fraud

To: Executive Office of the U.S. Trustee
United States Department of Justice

950 Pennsylvania Avenue, NW
Washington, DC 20530

US. Trustee, Region 21

Attn: Ida Mae Townsend, Esq.

Office of the U.S. Trustee, Region 21
362 Richard Russell Federal Building
75 Spring Street, SW

Atlanta, GA 30303

Date: January 31, 2025

Re: Urgent Demand for Investigation and Remedial Action: Egregious and Deliberate
Fraud Upon the United States Bankruptcy Court, Creditors, the Chapter 11 Estate, and
Ulysses T. Ware in In re Group Management Corp., Case No. 03-93031 (Bankr. N.D. Ga.) —
A Scheme to Misappropriate $522 Million in Estate Assets Through Criminal Usury and
Securities Fraud

Dear Ms. Townsend:

I. A CALL FOR IMMEDIATE INTERVENTION: A SYSTEMIC
BREACH OF TRUST AND A DEMAND FOR JUSTICE.

This memorandum constitutes an urgent and formal demand for the immediate initiation
of a comprehensive investigation and the implementation of decisive remedial action by the
Executive Office of the U.S. Trustee and the U.S. Trustee for Region 21, Ida Mae Townsend, Esq.
We write to expose a deeply troubling and meticulously orchestrated scheme of fraud, perpetrated

by Kilpatrick Townsend & Stockton, LLP (“KTS”), its unregistered broker-dealer clients (Alpha

Capital Aktiengesellschaft, Amro International, $.A., Markham Holdings, Ltd., and Stonestreet

Page 7 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 _ Filed 03/07/25 Page 113 of 200

Limited Partnership, collectively “KTS Clients”), and attorneys Dennis S. Meir, Esq., John W.

Mills, III, Esq., J. Henry Walker, IV, Wab Kadaba, and potentially others at KTS, (the

“Defendants”). This fraudulent enterprise, executed with malice and a brazen disregard for the rule

of law, has inflicted profound damage upon the United States Bankruptcy Court for the Northern

District of Georgia (the “Bankruptcy Court”), the legitimate creditors of the Chapter 11 estate of

Group Management Corp. (““GPMT” or “the Debtor’), the Chapter 11 estate itself, and Mr. Ulysses

T. Ware (“Mr. Ware”).

The core objective of this meticulously planned and ruthlessly executed Hobbs Act RICO fraud

was to:

I.

Plunder the Chapter 11 Estate of $522 Million in Illicit Insider-Trading Profits:
Defendants conspired to knowingly, intentionally, and in bad faith steal, conceal, and
misappropriate in excess of $522 million in assets — representing illegal 15 USC § 78p(b),
see Dkt. 65, 02cv2219 (SDNY) (Sand, J.), Aug. 13, 2003, order, short-swing insider-
trading profits derived from criminal and illicit transactions in GPMT’s equity securities

by KTS Clients—(i) unregistered broker-dealers and (ii) fiduciaries of the Chapter 11

Debtor, These profits, by operation of federal securities law, 15 USC § 78p(b) and
bankruptcy law, 11 USC §§ 541(a)(1), and 542(a), rightfully belong to the Debtor’s
Chapter 11 estate and are intended for distribution to legitimate creditors.

Deceive and Manipulate the Bankruptcy Court to Procure a Fraudulent Dismissal:
Through a calculated campaign of deliberate, intentional, and bad faith material
misrepresentations, omissions, and the knowing assertion of baseless claims, Defendants

intentionally deceived and manipulated the Bankruptcy Court into issuing a Dismissal

Page 8 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, lda Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 114 of 200

Order (Dkt, 28 in Case No. 03-93031) in May 2003. This Dismissal Order was procured
under the patently false pretense that the Debtor’s estate was without assets and that the
Chapter 11 case was filed in “bad faith,” thereby terminating the bankruptcy proceedings
and paving the way for Defendants to abscond with the $522 million in estate assets. See
Dkt, 15 and Dkt. 16 for KTS’ fraud on the court.

3. Undermine the Integrity of the Federal Judiciary and the Bankruptcy System:
Defendants’ actions represent a grave assault on the integrity of the federal judiciary and
the bankruptcy system. They have exploited the Bankruptcy Court as a tool for their
fraudulent scheme, undermining public trust in the impartiality and fairness of federal
courts and jeopardizing the very foundations of the bankruptcy process designed to ensure

equitable and orderly administration of distressed estates.

We submit to the Executive Office of the U.S. Trustee and to U.S. Trustee Townsend that the
irrefutable evidence detailed herein unequivocally demonstrates a deliberate, intentional, and bad
faith fraud perpetrated upon the Bankruptcy Court, creditors, the Chapter 11 estate, and Mr. Ware.

This is not a case of mere negligence or inadvertence; this is a calculated and egregious criminal

conspiracy—a Hobbs Act racketeering loan sharking and money laundering criminal enterprise

and scheme to plunder a bankruptcy estate for personal and business gain, executed with the

knowingly, deliberate, and active participation ofa prominent international law firm, James H.

Morawetz, Esq., and its clients. We demand immediate and decisive action from the U.S. Trustee

to investigate this matter fully, hold the perpetrators accountable, and rectify the profound injustice

that has been inflicted.

Page 9 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 115 of 200

Il. OVERWHELMING AND IRREFUTABLE EVIDENCE OF
DELIBERATE AND BAD FAITH FRAUD.

The evidence supporting our demand for investigation and remedial action is not merely

suggestive; it is overwhelming, irrefutable, and comprised of multiple independent lines of proof,

including:

A. FINRA’s Definitive Regulatory Certification of Unregistered Broker-Dealer Status:
Exposing the Illegal Foundation of KTS Clients’ Claims.

l.

Authoritative Regulatory Determination: Attached hereto as Exhibit 3 is the
“CERTIFICATION OF NO FINRA BUSINESS RECORDS” issued by Marcia E. Asquith,
Executive Vice President, Board and External Relations, of the Financial Industry
Regulatory Authority (“FINRA”), dated May 17, 2021. Ms. Asquith, a high-ranking
FINRA official with custodial authority over FINRA’s records, unequivocally certifies
that “No documents related to the firms listed below were prepared, kept and maintained
in the ordinary course of FINRA’s business.” The “firms listed below” explicitly include
entities directly representing KTS Clients, such as “LH Financial Services.”

Binding Regulatory Finding of Unregistered Status: This FINRA Certification is not a

mere administrative statement; it is a definitive regulatory finding by the self-regulatory

organization delegated oversight authority by the Securities and Exchange Commission

(“SEC”) over broker-dealers. Jt constitutes conclusive evidence that KTS Clients, at all

relevant times, operated as unregistered broker-dealers in direct violation of 15 U.S.C.
§ 780(a)(1).
Void Ab Initio Contracts Under 15 U.S.C. § 78ee(b): Section 29(b) of the Securities

Exchange Act of 1934, 15 U.S.C. § 78cc(b), explicitly renders contracts, GX 1-4, and GX

Page 10 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ilda Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 116 of 200

5, made in or performed in violation of the Act, including the broker-dealer registration
requirement of 15 U.S.C. § 780(a)(1), veid ab initio as regards the rights of the violator
(in this case, KTS unregistered broker-dealer Clients, see Ex. 3, infra). This federal
statutory provision and underpinning public policy eviscerates and vitiates any legal basis
for KTS Clients’ claims—Dkt. 11, 15, and 16, in the 03-93031 Bankruptcy Case. Their
purported “creditor” status is a complete sham and a fraudulent legal fiction, built upon
purported contracts, GX 1-4, and GX 5, that Congress has declared null and void initio

and unenforceable from their inception.

B. Criminally Usurious Loan Contracts (GX 1-4): Illegal and Unenforceable Predicates
for KTS Clients’ Claims.

1.

Predatory Interest Rates Exceeding 2000% Per Annum: The loan contracts (designated
as GX 1-4 in the 03-93031 Bankruptcy Case) upon which KTS Clients predicate their

claims are not merely commercially unreasonable; they are criminally usurious under New

York Penal Law § 190.40, the criminal usury law, a class E felony, bearing predatory
interest rates exceeding 2000% per annum. Such exorbitant and unconscionable rates are
not merely indicative of civil usury; they fall squarely within the ambit of criminal usury,

a Class E felony under New York law.”

Void Ab Initio Under New York Law and Federal RICO law: Under New York Penal

Law, criminally usurious contracts, GX 1-4, and GX 5, are null and void ab initio,

> Cf, 28 USC 586(a)(3)(F) duty and obligation of Ida Mae Townsend, Esq. with respect to criminal
activities committed by KTS, its lawyers, its clients, the Appellees, and others acting in concert therewith.

Page 11 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ilda Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 117 of 200

unenforceable, and uncollectible by KTS’ clients,° from their inception and conferring no

legally protected rights upon the lender. Adar Bays, LLC v. GeneSYS ID, Inc., 28 F.4th
379, 392 (2d Cir. 2022). Furthermore, these criminally usurious debts constitute “unlawful
debts” under the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C.
§ 1961(6)(B), further underscoring their illegality and unenforceability in federal court.

3. Lack of Subject Matter Jurisdiction and Article ILI Standing: Federal courts, including
bankruptcy courts, lack subject matter jurisdiction to enforce criminally usurious contracts,

GX_1-4, and GX_5, which are deemed null and void ab initio, unenforceable, and

uncollectible as against public policy’ and fall outside the scope of federal jurisdiction.

Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94-95 (1998). Furthermore, KTS
Clients, asserting claims based on these void and illegal contracts, lacked a “legally
protected interest” and have not and cannot (a legal and factual impossibility)
demonstrate a “concrete injury in fact,” thus indisputably failing to meet the irreducible

constitutional minimum requirements for Article III standing. Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560-61 (1992).

§ However, KTS’ fraudulent appearance in 03-93031, Dkt. 11, and its racketeering criminal activities to
collect or enforce GX 1-4, and GX 5, Dkt. 15 and Dkt, 16, ipso facto has dire and devastating penal and 11
USC § 303(a) involuntary Chapter 7 liquidation pecuniary consequences—that is, their pleadings filed
in 03-93031 constitute binding judicial admissions, factual stipulations, and confessions of KTS and its
clients’ criminal violations of federal law 18 USC §§ 1961(6)(B) (the collection of unlawful criminal usury
debts, GX 1-4); cf., U.S. v. Grote, 961 F.3d 105 (2d Cir. 2019) (aff'd criminal conviction, sentence, and
+$3.5 billion in forfeiture judgment for unlawful debt collection activities). (emphasis added).

7 See In re Venture Mortgage Fund, L.P., 282 F.3d 185 (2d Cir. 2002),

Page 12 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 118 of 200

C. Dkt. 11: KTS Clients’ Fraudulent Entry of Appearance and Knowing Misrepresentation
of “Creditor” Status.

I

Initial Act of Deception and Abuse of Process: Attached hereto as Exhibit 11A is
Document 11 from the 03-93031 Bankruptcy Case, “ENTRY OF APPEARANCE;
REQUEST FOR SPECIAL NOTICE; REQUEST FOR SERVICE OF PAPERS; AND
RESERVATION OF RIGHTS,” filed by KTS on behalf of KTS Clients on April 10, 2003.

This fraudulent pleading marks the inception of KTS Clients’ fraudulent scheme within

the 03-93031 Bankruptcy Court.

. False Representation of “Creditor” Status: In Dkt. 11, KTS, acting with manifest bad

faith and in violation of their ethical duties as officers of the court, GA Bar Rule 3.3 and
8.4, knowingly, in bad faith, and affirmatively—committed perjury, misrepresented KTS

Clients as “interested parties and creditors.” This deliberate misrepresentation—

conspiracy to commit perjury on a federal court, was demonstrably false and misleading
at the time it was made—and continues to be false which KTS’ lawyers have never
corrected the record, and KTS attorneys Dennis S. Meir and John W. Mills, TI, knew or
should have known it to be false had they conducted the required prefiling Bankr. Rule
9011(b)(1-4) and 28 USC § 1927 investigation.

Knowing Lack of Article III Standing: As sophisticated securities and bankruptcy law
practitioners, KTS attorneys (Meir, Mills, Walker, and Kadaba) were intimately familiar
with the requirements of Article III standing and the legal implications of 15 U.S.C. §
780(a)(1) and 78cc(b), They knew or recklessly disregarded the fact that their unregistered

broker-dealer clients, asserting claims based on null and void initio and illegal contracts,

GX 1-4, and GX 5, lacked the constitutionally required standing to invoke the jurisdiction

Page 13 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, lda Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 119 of 200

of the Bankruptcy Court with respect to Dkt. 15 and Dkt. 16. Their fraudulent entry of

appearance, Dkt. 11, therefore, was_a_ knowing, bad faith, reckless, irresponsible,

unethical, and deliberate attempt to fraudulently gain access to the Bankruptcy Court

and abuse its processes for their unregistered broker-dealer clients’ unlawful objectives.

D. Dkts. 15 & 16 (Exhibits 1SA & 16A): KTS’ Emergency Motion to Dismiss and
Supporting Brief — Active Perpetration of Fraud and Judicial Admissions of Illegality

1.

Escalation of Fraudulent Conduct and Affirmative Misrepresentations: Attached
hereto as Exhibit 15A is Document 15, “EMERGENCY MOTION TO DISMISS OR, IN
THE ALTERNATIVE, FOR RELIEF FROM THE AUTOMATIC STAY,” and as Exhibit
16A is Document 16, its accompanying “BRIEF IN SUPPORT,” both filed by KTS on
behalf of KTS Clients. These filings represent a significant escalation of Defendants’
fraudulent scheme and a deepening of their bad faith and fraudulent perjury and
misrepresentations to the Bankruptcy Court.

Persistent and Emphatic Misrepresentation of “Creditor” Status: Throughout Dkts.
15 and 16, KTS unregistered broker-dealer Clients, through KTS, persistently and
emphatically reiterate their false claim of being legitimate “creditors.” This
misrepresentation and perjury is not a mere oversight; it is a calculated and deliberate tactic
to deceive the Bankruptcy Court and to create a false predicate for their demands for
dismissal or stay relief.

Exploitation of the Bankruptcy Court and Abuse of Process: In Dkts. 15 and 16, KTS
Clients actively seek affirmative relief from the Bankruptcy Court — dismissal of the

Chapter 11 case or, alternatively, relief from the automatic stay — based on demonstrably

Page 14 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ilda Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 120 of 200

false, perjury, and misleading representations. This constitutes a blatant exploitation of the
Bankruptcy Court and a gross abuse of its processes for their own illicit ends.

Binding Judicial Admissions of Criminal Usury and RICO Conspiracy: Most
damningly, in Dkts. 15 and 16, KTS’ lawyers, acting as officers of the court and under

penalty of Bankruptcy Rule 9011, made and pleaded in court filings implicit, explicit, and

unequivocal judicial admissions that their clients’ claims arise from “criminal usury
unenforceable debts in violation of NYS Penal Law, sect. 190.40” (paraphrased) and are
part of a “Hobbs Act, 18 USC 1951(a) conspiracy to collect and enforce criminal usury
unlawful debts, GX 1, GX 2, GX 3, and GX 4, via the conspiracy to commit bankruptcy
fraud, 18 USC §§ 2, 157, 371, 1341, 1343, 1951(a), 1956-57, 1961(6)(B), and 1962(a-d).”
(paraphrased). These sworn statements, made directly to the Bankruptcy Court, are

irrefutable judicial admissions of the illegal and fraudulent nature of their own claims and

conduct. They constitute a confession to the very RICO violations and criminal usury

schemes that Appellants now allege.

E. Concealment of +$522 Million in Insider-Trading Profits: The Corrupt Motive for the
Fraudulent Scheme.

hi

Deliberate Suppression of Material Estate Assets: Defendants’ fraudulent scheme was
meticulously designed and executed to conceal from the Bankruptcy Court, the Chapter 11
estate, Mr. Ware, and creditors the existence of over $522 million in insider-trading profits,
assets rightfully belonging to the Debtor’s Chapter 11 estate under 15 U.S.C. § 541 and

subject to mandatory disgorgement under 11 USC 542(a) and 15 U.S.C. § 78p(b).®

8 See Roth y, Jennings, 489 F.3d 499, 506-10 (2d Cir. 2007) (Kearse, J.); and 15 USC §§ 78p(b) and
78cc(b). See Ex. 1, infra, Sand, J., Aug. 13, 2003, Dkt. 65, 02cv2219 (SDNY) Order.

Page 15 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 121 of 200

2. Motive to Misappropriate Estate Assets and Unjustly Enrich Perpetrators: The
motive for this elaborate fraud is clear: to steal, conceal, and misappropriate these

substantial estate assets for the benefit of KTS Clients and potentially KTS itself, unjustly

enriching the perpetrators at the direct expense of legitimate creditors and the integrity of
the bankruptcy system. The $522 million represents a massive windfall for Defendants,
obtained through calculated deception and abuse of the federal courts.

3. Fraudulent Dismissal Order, Dkt. 28 (Murphy, J.), as the Culmination of the Scheme:
The fraudulent Dismissal Order (Dkt. 28 in Case No. 03-93031), procured through
Defendants’ persistent misrepresentations and omissions, represents the culmination of
their scheme. It served as the essential instrument to terminate the bankruptcy proceedings
and to allow Defendants to escape accountability for their fraudulent conduct and to retain

the ill-gotten gains of their scheme.

F, Ethical Dereliction by KTS Attorneys: Violation of GA Bar Rules 3,3(a) and 8.4-—A
Stain on the Legal Profession

1. Breach of Duty of Candor to the Tribunal (Rule 3.3(a)): KTS attorneys Dennis S, Meir,
John W, Mills, I, and others at KTS, as officers of the Bankruptcy Court, flagrantly
violated Georgia Rule of Professional Conduct 3.3(a), “Candor Toward the Tribunal.”
They in Dkt, 11, 14, 15, and 16 knowingly committed perjury, and knowingly in bad faith

made false statements’ of material fact and law to the Bankruptcy Court, offered evidence

they knew to be false, (see exhibits attached to Dkt. 15 and 16), and failed to disclose
material facts necessary to avoid assisting a criminal or fraudulent act by their clients, see

Ex. | and Ex. 3, infra.

Page 16 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 122 of 200

2. Professional Misconduct Involving Fraud and Dishonesty (Rule 8.4): Their conduct

further constitutes “professional misconduct” under Georgia Rule of Professional Conduct
8.4, as it involved extreme and unprecedented criminal dishonesty, fraud, deceit, and
misrepresentation. Their orchestration of a racketeering bankruptcy fraud conspiracy
scheme to deceive the Bankruptcy Court, conceal assets, and procure a dismissal for their
clients’ unlawful benefit is a profound breach of their ethical obligations and a stain on the
legal profession.

Abuse of the Privilege to Practice Law in Federal Court: KTS attorneys have abused
the privilege to practice law in federal court by weaponizing their legal expertise and the
authority of their law firm to perpetrate a deliberate fraud upon the Bankruptcy Court. Their
actions warrant not only disciplinary action by the Georgia Bar but also sanctions by the
Bankruptcy Court itself, including disbarment from practice before the federal courts of
the Northern District of Georgia, and criminal prosecution for their RICO crimes (18 USC

§§ 2, 152, 157, 371, 1951(a), 1956-57, 1958-59, 1961(6)(B), and 1962(a-d)) activities,

Il. PROFOUND HARM INFLICTED UPON THE BANKRUPTCY
COURT, CREDITORS, ESTATE, AND ULYSSES T. WARE

Defendants’ calculated and bad faith fraud has inflicted profound and irreparable harm upon
multiple parties and upon the integrity of the bankruptcy system itself:

1.

United States Bankruptcy Court for the Northern District of Georgia: Defilement of
the Judicial Process: The Bankruptcy Court was directly and intentionally targeted and
victimized by Defendants’ Hobbs Act RICO loan sharking and money laundering
fraudulent scheme. Its processes were abused, its integrity undermined, and its authority

flouted. The fraudulent Dismissal Order (Dkt. 28)—and other equally fraudulent and

Page 17 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 123 of 200

manifestly frivolous ultra vires and moot orders, Dkt. 256, 258, 263, 274, 275, and 278,

all stands as a monument to this defilement of the judicial process and must be vacated to
vindicate the Court’s honor and restore public confidence in the impartiality and fairness
of federal bankruptcy courts.

2. Legitimate Creditors of the Chapter 11 Estate: Unjust Deprivation of Recoveries:
Innocent and legitimate creditors of the Debtor’s Chapter 11 estate have been directly and
unjustly harmed and defrauded by Defendants’ Hobbs Act RICO criminal racketeering
criminal enterprise’s scheme. The fraudulent dismissal, Dkt. 28, and other fraudulent
teliefs, Dkt, 256, 258, 263, 274, 275, and 278, have irrevocably deprived Group
Management, Mr. Ware, and others of their rightful opportunity to recover their valid
claims from the +$522 million in concealed insider-trading profits, assets specifically
intended under bankruptcy law for distribution to creditors. Defendants’ fraud has
effectively stolen millions of dollars from the pockets of legitimate creditors to unjustly
enrich themselves and their clients.

3. Chapter 11 Estate of Group Management Corp.: Plundered and Depleted of Assets:
The Chapter 11 estate of Group Management Corp. has been systematically plundered and
depleted of its most valuable assets — the +$522 million in insider-trading profits —
through Defendants’ racketeering fraudulent scheme. Assets intended to benefit creditors
and facilitate an equitable reorganization have been stolen, concealed, diverted, and
misappropriated through calculated deception and abuse of the legal system.

4. Ulysses T. Ware and Group Management Corp.: Victims of Vexatious and
Fraudulent Litigation: Mr. Ware and Group Management Corp. have been subjected to
years of vexatious, bad faith, and fraudulent litigation at the hands of Defendants—see Dkt.

Page 18 of 32
Friday, January 31, 2025
(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,

Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 124 of 200

28, 256, 258, 263, 274, 275, and 278. They have been forced to expend significant
resources and endure protracted legal battles to defend against baseless and illegal claims,
all while Defendants were actively perpetrating a fraud upon the court and concealing the

true nature of their unlawful scheme.

IV. DEMAND FOR IMMEDIATE AND ~~ DECISIVE
INVESTIGATION AND REMEDIAL ACTION BY THE USS.
TRUSTEE

In light of the overwhelming and irrefutable evidence of deliberate and bad faith fraud detailed
herein, on behalf of Group Management Corp. and Ulysses T. Ware, we formally demand that the
Executive Office of the U.S. Trustee and the U.S. Trustee for Region 21, Ida Mae Townsend, Esq.,

immediately undertake the following critical actions:

1. Initiate a Formal and Expedited Investigation: Commence a formal and expedited
investigation into the fraudulent conduct of Kilpatrick Townsend & Stockton, LLP,
attorneys Dennis S. Meir, John W. Mills, II, J. Henry Walker, IV, Wab Kadaba, et al., and
KTS Clients (Alpha Capital Aktiengesellschaft, Amro International, S.A., Markham
Holdings, Ltd., and Stonestreet Limited Partnership) in connection with Jn re Group
Management Corp., Case No. 03-93031 (Bankr. N.D. Ga.). This investigation must
include a comprshensive review of all relevant filings in the 03-93031 Bankruptcy Case,
the attached FINRA Certification (Exhibit 1), Documents 11 (Exhibit 11A), 15 (Exhibit
15A), and 16 (Exhibit 16A), and any and all other evidence of fraud and unethical conduct.

2. Refer KTS Attorneys for Disciplinary Investigation and Sanctions: Immediately refer

for interim suspension from all appearances and practice in the District Court (NDGA)

Page 19 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, |da Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 125 of 200

attorneys Dennis 8. Meir, John W. Mills, III, J. Henry Walker, [V, Wab Kadaba, and
Kilpatrick Townsend & Stockton, LLP to the District Court (NDGA) Lawyer Disciplinary
Committee, and Georgia Bar Association for a thorough disciplinary investigation based
on their egregious violations of Georgia Rules of Professional Conduct 3.3(a) and 8.4.
Further, request that the Bankruptcy Court itself impose sanctions upon KTS and its
attorneys, including but not limited to substantial monetary sanctions, disgorgement of fees
earned in connection with the fraudulent scheme, and disbarment from practice before the
federal courts of the Northern District of Georgia.

3. Demand Criminal Investigation and Prosecution by the U.S. Attorney: Formally refer
this matter to the United States Attorney for the Northern District of Georgia, the Federal
Bureau of Investigation (FBI), FINRA, and the Securities and Exchange Commission
(SEC) for a full and comprehensive criminal investigation and prosecution of Kilpatrick
Townsend & Stockton, LLP, attorneys Dennis 8S. Meir, John W. Mills, III, et al., and KTS
Clients (Alpha Capital Aktiengesellschaft, Amro International, S.A., Markham Holdings,
Ltd., and Stonestreet Limited Partnership) for potential violations of 18 U.S.C. §§ 152,
157, 371, et seg. (bankruptcy fraud, securities fraud, RICO violations, conspiracy, and
related federal crimes). The scale and deliberateness of this fraud, involving the
misappropriation of hundreds of millions of dollars and a calculated assault on the federal
judicial system, demand a vigorous criminal response.

4. Commit to Full Cooperation in Asset Recovery and Estate Administration: Pledge the
full cooperation and resources of the U.S. Trustee’s office to assist GPMT and its counsel
in all efforts to locate, trace, recover, and administer the +$522 million in concealed
insider-trading profits and any other assets of the Debtor’s estate. This cooperation should

Page 20 of 32
Friday, January 31, 2025
(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,

Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 126 of 200

include, but not be limited to, utilizing the U.S. Trustee’s investigative powers and
resources to identify and pursue all avenues of asset recovery and to ensure that these
recovered assets are properly administered for the benefit of the defrauded creditors of

the Chapter 11 estate.

V. DEMAND FOR IMMEDIATE MEETING TO DISCUSS
REMEDIAL ACTION

We reiterate our demand for an immediate meeting with representatives of the Executive

Office of the U.S. Trustee and U.S. Trustee, Region 21, Ida Mae Townsend, Esq., at your earliest
possible convenience. We seek your unequivocal assurance that the U.S. Trustee’s office will
treat this matter with the urgency and seriousness it manifestly deserves and will commit to taking
swift and decisive action to investigate and remedy this egregious fraud, hold the perpetrators
accountable to the full extent of the law, and restore integrity to the bankruptcy system. The scale
of this fraud and its corrosive effect on public trust demand nothing less than a swift,

comprehensive, and forceful response from the U.S. Trustee.

RESPECTFULLY SUBMITTED,
Dated: January 31, 2025

GROUP MANAGEMENT and Ulysses T. Ware

Ulysses T. Ware
we e One

For Mévants Ulysses T. Ware and Group Management

cc: U.S. Court of Appeals for the Eleventh Circuit, Office of the Judicial Council
Administrative Office of the U.S. Courts, Executive Director
Office of the U.S. Trustee, Region 21, (Ida Mae Townsend, Esq.)

Page 21 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 127 of 200

Financial Industry Regulatory Agency (FINRA) on behalf of the Securities and Exchange
Commission (Marcia E. Asquith, Esq.)

State Bar of Georgia, Office of the General Counsel (William D. NeSmith, IT) on behalf of
the Supreme Court of Georgia, Office of the Chief Justice, the Hon. Michael P. Boggs
Edward T.M. Garland on behalf of Garland, Samuel, & Loeb, P.C., and affiliates

Nall & Miller, LLP

Kilpatrick, Townsend, & Stockton, LLP on behalf of its clients, the 02cv2219 (SDNY)
plaintiffs

Unregistered broker-dealers Arie Rabinowitz on behalf of LH Financial Services Corp.,
Trailblazer Merger Corp., I

Unregistered broker-dealers Frank V. Sica on behalf of Tailwind Management L.P., Colleen
McMahon, and Michael S. Bertisch (see Ex. 10)

Enclosures:

Exhibit 1: CERTIFICATION OF NO FINRA BUSINESS RECORDS, dated May 17, 2021,
by Marcia E. Asquith, Executive Vice President, FINRA

Exhibit 11A: Document 11, “ENTRY OF APPEARANCE; REQUEST FOR SPECIAL
NOTICE; REQUEST FOR SERVICE OF PAPERS; AND RESERVATION OF RIGHTS,” In
re Group Management Corp., Case No. 03-93031 (Bankr. N.D. Ga.).

Exhibit 15A: Document 15, “EMERGENCY MOTION TO DISMISS OR, IN THE
ALTERNATIVE, FOR RELIEF FROM THE AUTOMATIC STAY,” Jn re Group
Management Corp., Case No. 03-93031 (Bankr. N.D. Ga.).

Exhibit 16A: Document 16, “BRIEF IN SUPPORT OF EMERGENCY MOTION TO
DISMISS OR, IN THE ALTERNATIVE, FOR RELIEF FROM THE AUTOMATIC STAY,”
In re Group Management Corp., Case No. 03-93031 (Bankr. N.D. Ga.).

Page 22 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 128 of 200

Certificate of Service

I Ulysses T. Ware certify that I have this 31“ day of January 2025 served each of the below
persons or entities with a copy of this pleading via their public email accounts and submitted
the same to the U.S. Bankruptcy Court (NDGA) to the Chief Bankruptcy Judge, Ellis-Munto
for immediate provisional filing and docketing pursuant to 18 USC §§ 2071(a), (b), Bankr.

Rule 5005(a)(2)? and 5005(b)(1) with the U.S, Trustee.?”

cc: Office of the U.S. Trustee, Region 21 (Ida Mae Townsend)

Kilpatrick, Townsend, & Stockton, LLP (via CEO Wab Kadaba, Esq., J. Henry
Walker, IV, Dennis S. Meir, and John W. Mills, IID)

Arie Rabinowitz, Kenneth A. Zitter, Alpha Capital, AG, Stonestreet, L.P. Markham
Holdings, Ltd., AMRO International, S.A., Trailblazer Merger Corp, I, LH Financial
Services Corp., convicted felon Edward M. Grushko, Joseph Hammer, and Barbara
R. Mittman via Kilpatrick, Townsend, Stockton, LLP (Wab Kadaba, Esq. and J.
Henry Walker, IV).

Baker & McKenzie, LLP (via Lawrance B. Mandala, Esq., Robert Alberal, Esq. and
Thomas A. Leghorn, Esq.)"

William D. NeSmith, II, State Bar of Georgia; Office of the Chief Justice, Supreme
Court of Georgia, the Hon. Michael P. Boggs (via Paula Fredrick and William D.
NeSmith, [I--statutory agents in fact); and

° With a Judge of the Court. A judge may personally accept for filing a paper listed in (1), The judge must
note on it the date of filing and promptly send it to the clerk.

'0 (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

! Baker & McKenzie, LLP has primary liability in the sum certain amount of $2.225 billion.

Page 23 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ilda Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 129 of 200

John F. King, Georgia Insurance Commissioner on behalf of (undisclosed identities)
John Doe Insurance Companies ##1-5 (via William D. NeSmith, II, Wab Kadaba,
J. Henry Walker, III, Michael D. Hostetter, Edward T.M. Garland, the State Bar of
Georgia, Office of the General Counsel, and Wendy L. Hagenau, statutory agents in
fact);

FINRA (via Robert W. Cook, Robert L.D. Colby, Sarah Jeffries, and Marcia E.
Asquith) on behalf of the Securities and Exchange Commission (11 USC 1109(a)
statutory party in interest); and

Acting Director of the FBI (via Ida Mae Townsend, Esq.)

Mbjras 2 Ware

/s/ Ulysses T. Ware

January 31, 2025

Page 24 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 130 of 200

Exhibit 1—Dkt. 65, Aug. 13, 2003, Sand, J.) (deceased), 02cv2219
(SDNY): Unappealed Judicial ruling (collateral, equitable, and judicial
estoppel) of 15 USC §78p(b) statutory insider status (disgorgement of all
profits requirement to the Chapter 11 estate) for each of KTS’
unregistered broker-dealer clients (see Ex. 3, infra) with respect to the
Chapter 11 debtor’s, Group Management Corp.’s, publicly-traded equity
securities. 7

'? Judge Sand’s Aug. 13, 2003, ruling, binding a lawful court order—(A) subject to enforcement against
Hagenau, KTS, its client, et al., via civil and criminal contempt (18 USC §§401(2), 401(3)) absolutely
binding on the 03-93031 Chapter 11 Bankruptey Court (NDGA) (Hagenau, C.J.), which (B) conferred
fiduciary duty status on all 18 USC §1962(d) racketeering to commit bankruptcy fraud unindicted
coconspirators to wit, Hagenau, KTS, its partners, each of AZS” unregistered broker-dealer clients, et al
that is, Hagenau, KTS, its partners, and its clients are subject to (i) an_existing and extant and current
equitable lien on their personal and individual assets, (ii) current and extant constructive trust impressed
on their assets, (iii) and U.C.C. Article 1 encumbrance and lien on their assets in the amount of +$522M
plus interest running from the date of Judge Sand’s 15 USC §78p(b) court order, August 13, 2003, (i.c.,
stolen and concealed property and assets of the 03-93031 Chapter 11 estate).

Page 25 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 _ Filed 03/07/25 Page 131 of 200

Ex. 1—(Dkt. 65, 02cv2219)—(18 USC § 1961(1) Racketeering Overt and Predicate Act)
Aug. 13, 2003, Dkt. 65 02cv2219 (SDNY), Sand, J. (deceased) binding judicial ruling
and court order—Judge Sand in ex parte communications found each KTS client to be a
15 USC § 78p(b) statutory insider of Group Management Corp, and therefore triggered the
appealed by KTS’ clients, and is therefore, ipso facto, as a matter of law and fact res
judicata and collateral estoppel against KTS, Kadaba, the SBGA, NeSmith, Fredrick,
Hagenau, and the 03-93031 (BC NDGA) bankruptcy court pursuant to FRE 201(b)

judicial notice.

Appx 34-2—GX 24 (Dkt. 65, 02cv2219)—found each 02cv2219 plaintiff to be a 15 USC 78p(b)
statutory insider of GPMT, and their and their agents required to disgorge back to GPMT +5500
million in trading profits,

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ALPHA CAPITAL AKTIENGESELLSCHAPT,
AMRO INTERNATIONAL, $.A.,
MARKUAM HOLDINGS, LID., and
STONESTRERT LIMITED PARTNERSHIP,

Plaintitts, : 02 Civ. 2219 (L188)
sagainst- i ORDER
GROUP MANAGEMENT CORP.,
formerly known as 1VG CORP.,
formerly known as INTERNET
VENTURE CORP,,

Defendant.

EFS ee we ae ek ee

SAND, District Judge.

Ina telephonic conference on July 2, 2003, this Court ordered that Defendant Group

Management comply with a conversion request by Plaintiff St treet 1.P., contingent on the -
provision by Plaintiff of an affidavit stating, filer alia, that Storicatreet beneficlally owned less

than 9.9% of Group Management's common s10ck, as well ag an opinion Ieiter stating that the

“MA

conversion would therefare be in compliance with Rule 144(k). See Tr, July 2, 2003. Plainuit
subsequently provided an answom statement to che effect that Stonesizeet'y ownership was
below the appropriate level; when Dofendant still failed to honor tho conversion request, the
8 Court ordered on July 23 that 4) Plaintiff provide a swom affidavit, as required by July 2 Order;

~~
+ and ii) that Defendant honor the Stonestrect conversion request within two busi lays

MICROFILM

*< thereafter, on pain of contempt.

Oa August 1, 2003, the Court received from Plaintiff copies of an affidavit and opinion

COPIES MATLED TO ALL PARITES,, .\x,

Page 26 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.

Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 132 of 200

The conspiracy to commit securities and bankruptcy fraud by KTS during the In
re Group Mangement Corp, 03-93031 (BC NDGA) Chapter 11 proceedings. KTS'
clients’ ju itted in ex parte communications with the 02cv2219 (SDNY)

district iT that KTS did in fact knowingly violated 18 USC 2, 157,
371, 924(c), 1201-02,1341, 1343, 1503, 1951(a), 1956-57, 1958-59, 1961(6)(B)
and 1962(d) by concealing and suppressing its clients’ ownership of GPMT's
stock, eter relating not to Plaintiff Stowestet, but rather to Plaintiff Alpha Capital, Plaintiff

explained, upon inquiry from Chambers, that Stonestreet in fact beneficially owned mare than,

9.9% of Group Management's stock.

Given the above facts, the Court observes that the conditions set in the July 2. Order
regarding the Stonestteet Conversion request have nat been met, and that Defendant is therefore
notin contempt of that Order, or of the follow-up Order of July 23. Nonetheless, pursuant to
other orders of this Couit, including the Order and Jadpment of November 25, 2002, Defendant
ig still bound to honor appropriate conversion requests from Alpha Capital, anid Plaintiff has
submitted both an affidavit and opinion letter regarding the legality of the current Alpha
As

conversion request. Accordingly, failure by Defendant to honor that request within’ oo business

days of this Ordet shall constitute contempt,

80 ORDERED.

Dated: New York, New York
Aujtust 3; 2003
1

Page 27 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete

candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 _ Filed 03/07/25 Page 133 of 200

Exhibit 2--Dkt. 90 (Binding Final Judgment)—02cv2219 (SDNY)
Prevailing Parties Chapter 11 Debtor Group Management and 11 USC
§1109(b) statutory party in interest Ulysses T. Ware’s Final Judgment—
December 20, 2007, Dkt. 90, Case No. 02cv2219 (SDNY), District Judge
Leonard B. Sand, Fed. R. Civ. P. Rule 41(a)(2) voluntary, ex parte
Dismissal with Prejudice of the 02cv2219 (SDNY) Lawsuit After_the
Statute of Limitation Had Run on All Claims Final Judgment conferred
final judgment prevailing party status on Group Management and
Ulysses T. Ware.'°

'3 KTS’ unregistered broker-dealer clients’ Dec. 20, 2007, voluntary Rule 41(a)(2) dismissal with
prejudice of the 02cv2219 (SDNY) lawsuit—final judgment on the merits for the Chapter 11 debtor, Group
Management, and 11 USC §1109(b) statutory party in interest Ulysses T. Ware, is currently and will be
enforced against Hagenau, KTS, its clients, and each 18 USC §1962(d) unindicted coconspirator resisting
the legal and equitable preclusive effects—that is, the immediate 11 USC §542(a) turnover of all Chapter
11 estate assets, of the binding court order, see 18 USC §§401(2), and 401(3), and Fed. R. Crim. P, 42.

Page 28 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 134 of 200

Page 29 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete

candor to the 03-93031 tribunal.

Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 135 of 200

Exhibit 3—FINRA’s May 17, 2021, binding regulatory factual
finding of unregistered broker-dealer status for KTS’ clients who
fraudulently appeared in the 03-93031 Chapter 11, see Dkt. 11, 15,
and 16 via KTS’ lawyers Dennis S. Meir and John W. Mills, officers
of the court, pursuant to and in violation of 18 USC §§ 2, 152, 157,
371, 1951(a), 1956-57, 1961(6)(B), and 1962(a-d)—a_pattern of
racketeering activities.

CERTIFICATION OF NO FINRA BUSINESS RECORDS

—

|, Marcia E. Asquith, being first duly sworn, depose and state as follows:

1, 1am the Executive Vice President, Board and External Relations. In that
capacity, | oversee the functions of the Office of the Corporate Secretary at
the Financial Industry Regulatory Authority, Inc. CFINRA’). | am farniliar with
and am a custodian of FINRA business records, including interpretations,
policies and rules adopted by the FINRA Board of Governors.

2. No documents related to the firms listed below were prepared, kept and
maintained in the ordinary course of FINRA’s business:

a) Alpha Capital, AG

b) Stonestreet, L.P.

¢) Markham Holdings, Lid.
d) Amro International, S.A.
@) LH Financial Services

ee tft t
Marci E. Asquith

Executive Vice President, Board/aad Externat
Relations and Corporate Secretary

ae

Notary Public, District of Columbias |
3

My commission expires:

Page 30 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 136 of 200

Exhibit 4--U.S. v. Ware, 04cr1224 (SDNY), Nov. 2007, Tr. 204-06,
sworn testimony of KTS’ clients’ official agent, unregistered investment
advisor and unregistered broker-dealer Arie Rabinowitz confessing to
being unregistered broker-dealers. see Dkt. 11 (03-93031) (BC NDGA),
KTS’ entry of appearance.

UNITED STATES v. WARE, CASE ND. 09-0851 (2D CIR.) (2010)
ON APPEAL FROM UNITED STATES v. WARE, 04cr1224 (Sweet, 4.)
418 USC 401(3) CRIMINAL CONTEMPT PROSECUTION
APPELLANT WARE’S OPENING BRIEF

i Moreover, being unregistered brokers-dealérs operating in violation of 15 U.S.C,

2 $78o0(a){1), Tr. 204-05, Rabinowitz testified as follows at Tr. 204:

1 ADMISSION OF BROKER-DEALER STATUS BY
3 ARI RABINOWIT? UNDER CROSS EXAMINATION.

%
* Mr. Ware: What is the name of your campany? ge ek,

3 Rabinowitz: LH Financial Services.

> Mr. Ware: What business is that company?
3 Rabinowitz: We are in the private placement busingss.
L Tr. 206 ¢ “Sil

z Mir. Ware: Approximateiy how many. companies have you assisted Aipha Capitai
306th over, let's say, the last five wer

& Rabinowitz: A good fev fupaced,”
5 Mr. Ware: A nn few huinded?

5 Rabinowitz: Yee

¢ Rabinowitz estir

3 Alpha. ‘Capital With “a pood few hundred” transactions: pursuant to 15 U.S.C.
> 677 biahia2) Rabinowitz and Alpha were “dealers” not eligible for any exemption
3
'

any of being in the private Placement business, and assisting

under Title 15 Section 4, and thus not eligibie for 17 C.F.R. 6240.144(k)/iRule 144k)
regarding the purchase of the Notes of IVG/GPMT (GX 1-4).

Page 4 of 12
Appellant Ware’s Statement of Facts
ULS. v. Ware, 09-085 ter (2d Civ.)

Opening Appeal Brief

Page 31 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re: Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ida Mae Townsend, Esq., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.

Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 137 of 200

End of document

Page 32 of 32

Friday, January 31, 2025

(12-12) 01.31.25 (Part 14-12) re Memorandum of Request for Action by the Office of the U.S. Trustee,
Region 21, Ilda Mae Townsend, Esq,., an officer of the court with GA Bar Rule 3.3 duty of complete
candor to the 03-93031 tribunal.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 138 of 200

The Office of Ulysses T. Ware

123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260

utware007(@gmail.com
SS
Sunday, February 9, 2025, 10:22:21 AM

VIA ELECTRONIC MAIL-TO ALL APPELLEES OR THEIR AGENTS IN FACT.

Wab Kadaba, Esq.

J. Henry Walker, IV, Esq.

Kilpatrick Townsend & Stockton LLP
1100 Peachtree Street, Suite 2800
Atlanta, GA 30309

Re: In re Group Management Corp., Case No. 03-93031 (WLH) (Bankr. N.D. Ga.) — Proposed
Dispositive Joint, Agreed, and Stipulated Article IN Standing, Subject Matter Jurisdiction,
and Sanctioning Appellate Record under Bankruptcy Rule 8009(d), Dkt. 281, Feb. 7, 2025.

Dear Appellees, Mr. Kadaba. and Mr. Walker:'

I Ulysses T. Ware, attorney in fact, represents Appellants Ulysses T. Ware and Group Management
in the above-referenced appeal before the United States District Court for the Northern District of
Georgia. We are writing to you, as purported legal counsel for Appellees Kilpatrick Townsend &
Stockton LLP and its clients, see Dkt. 11, regarding the designation of the appellate record in this
matter of significant jurisdictional import.

As previously communicated, and to ensure the most efficient and cost-effective appellate review,
Appellants propose to finalize and submit a Joint Stipulated Appellate Record pursuant to
Bankruptcy Rule 8009(d). To this end, we have prepared and previously shared Draft #1 of a Joint
Stipulated Appellate Factual Record (12-17) (Part 12-17). We firmly believe this draft accurately
and fairly delineates the undisputed facts essential to the resolution of the critical jurisdictional
and Article III standing challenges raised in the Appellants’ Notice of Appeal concerning your
unregistered broker-dealer clients.

As you are aware, Bankruptcy Rule 8009(d) explicitly provides for an “Agreed Statement as the
Record on Appeal.” When accurate and duly approved by the Bankruptcy Court, such a stipulated
record serves to streamline the appellate process, directing the reviewing court’s attention to the
core factual and legal issues, thereby conserving judicial resources and promoting clarity. We

' Bankr. Rule 8009 (g) Other Necessary Actions. All parties to an appeal must take any other action
necessary to enable the bankruptcy clerk to [timely] assemble and transmit the [03-93031 appellate]

record.

Page 1 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 139 of 200

maintain that a stipulated record is particularly appropriate and advantageous in this appeal, which
turns on fundamental questions of Article III jurisdiction and standing, issues demonstrably and
unequivocally supported by undisputed facts already present within the existing record.

Draft #1 of the Joint Stipulated Appellate Factual Record is intended to be a product of
collaborative effort, reflecting the “Consent Joint Jurisdictional Declaration of Undisputed
Material Facts and Stipulated Admissions” previously filed with the Bankruptcy Court. We remain
confident that the factual assertions outlined in Draft #1 are readily verifiable by direct reference
to the cited docket entries and exhibits, and provide a demonstrably clear and concise factual
foundation fully suitable for the District Court’s appellate review of these critical jurisdictional
matters.

We therefore formally invite you to undertake a comprehensive review of Draft #1 and to engage
in_a collaborative and good-faith process to finalize the stipulated record. While Appellants
remain open to reasonable and constructive refinements and additions that you may deem
necessary, we must emphasize that any such proposals must fully preserve the accurate and
comprehensive _presentation_of the core jurisdictional facts, which_are_non-negotiable.
Appellants firmly believe that a mutually agreed-upon stipulated record will significantly benefit
all parties, as well as the District Court, by ensuring a focused, expeditious, and efficient appellate
review process.”

To ensure the timely designation of the appellate record and to comply fully with the Bankruptcy
Court’s established deadline of February 18, 2025 (Dkt. 281), we respectfully require your and
your clients’ Bankruptcy Rule 9011(b)(1-4) and 28 U.S.C. § 1927 compliant written response,
including any proposed revisions to Draft #1, no later than Monday, February 10, 2025, at
11:00 AM Eastern Standard Time. Given the Court’s imminent deadline, time is of the
essence.

Please be further advised that Appellants will proceed without delay to submit A-4: Draft
#1, along with any supplemental facts, and legal and equitable inferences firmly established
by res judicata and collateral estoppel—particularly as they relate to Judge Sand’s Final
Order, Dkt. 65, dated August 13, 2003, in Case No. 02cv2219 (SDNY), and the voluntary Rule
41(a)(2) Final Judgment, Dkt. 90, dated December 20, 2007—to the Bankruptcy Court for
its independent consideration and approval pursuant to Rule 8009(d) should we not receive
your and your clients’ definitive response, or achieve a mutually agreed-upon Rule 8009(d)

2 Please be advised, take notice, and be aware that any and all actual and/or constructive “resistance” by
KTS, its lawyers, partners, associates, legal counsel, agents, proxies, surrogates, alter-egos, or most
importantly, unindicted coconspirators’, to Judge Sand’s final judgment, Dkt. 90, preclusive effects, and
orders, Dkt. 65, preclusive effects, described above, shall be met with immediate civil and 18 USC § 401(3)
criminal contempt measures in the appropriate U.S. District Court. Accordingly, you are to temper and
constrain any response or opposition to the Rule 8009(d) Joint Stipulated Appellate Record given the
parameters of res judicata and the estoppel doctrines.

Page 2 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 140 of 200

joint stipulated record, by Monday, February 10, 2025, at 11:00 AM Eastern Standard Time.
This deadline is absolute.

We anticipate your prompt response and good faith cooperation in resolving this critical matter.

/s/ Ulysses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
Utware007@gmail.com
February 9, 2025, 10:22:21 AM

Page 3 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 141 of 200

Table of Contents
eA D RAT ORPACCMN ZU e eee LOTTA IAIN ccscesvisnveversieriseronsvevevestsssassdnesensononoeutensereauacsensbauterovesiseibeseisnssteeenvens 7
A. IPOdN CHO ccc REREAD 10
B. Rule 8009(d) Dispositive Jurisdiction and Sanctioning Appellate Facts.............0:c:ccsee 11
Sunday, February 9, 2025, 10:55:53 AMCertificate of Service........ccccesscsscsseessseneeeereneneteeseneasieneees 15

Exhibit I—Dkt. 278—Barbara Ellis-Monro’s Self-incrimination for conspiracy to obstruct justice
and commit bankruptcy fraud, 18 USC §§ 2, 152, 157, 371, 924(c), 1341, 1343, 1344, 1346, 1503,
1951(a), 1956-57, 1958-59, 1961(6)(B), 1962(a-d), and 2071(a), (b), et. seqs. confessed and admitted
by Barbara Ellis-Monro in her personal and individual capacity as an 18 USC § 1962(d) unindicted
coconspirator having joint and several personal criminal and civil liability in the amount of
ERIS ccs cseniexnvennsavaneuneuainewean srensistenisans ier cavercrcvesnsiaiensanvedverevoinreccetvaracumerumniorecnzesetteie 18

FE, Exhibits—Supplemental Recor sciicciissssissceissvssssssecssueiasseaiciseavensesvatoasnsrteuseisavisuvientendevseavsionsvesvas 19

Exhibit 1—Dkt. 65, Aug. 13, 2003, Sand, J.) (deceased), 02cv2219 (SDNY): Unappealed Judicial ruling
(collateral, equitable, and judicial estoppel) of 15 USC §78p(b) statutory insider status (disgorgement of
all profits requirement to the Chapter 11 estate) for each of KTS’ unregistered broker-dealer clients (see
Ex. 3, infra) with respect to the Chapter 11 debtor’s, Group Management Corp.’s, publicly-traded equity
SECULILIES, «: .ciciinaane Te eT UR aE ETRE 20

Ex. 1—(Dkt. 65, 02cv2219)—(18 USC § 1961(1) Racketeering Overt and Predicate Act) Aug. 13,
2003, Dkt. 65 02cv2219 (SDNY), Sand, J. (deceased) binding judicial ruling and court order—
Judge Sand in ex parte communications found each KTS client to be a 15 USC § 78p(b) statutory
insider of Group Management Corp, and therefore triggered the Section 16(b)/11 USC §542(a)
disgorgement/turnover requirement, which was not appealed by KTS’ clients, and is therefore, ipso
facto, as a matter of law and fact res judicata and collateral estoppel against KTS, Kadaba, the
SBGA, NeSmith, Fredrick, Hagenau, and the 03-93031 (BC NDGA) bankruptcy court pursuant to
BE ey IEAM CAERRS. sccesiss sacs ecenennivasaveieencevansvcvsnes tonsuevasavevinarususeenassedvaetevestinsstdenannvoeseenveanteaass 21

Exhibit 2--Dkt. 90 (Binding Final Judgment)—02cv2219 (SDNY) Prevailing Parties Chapter 11 Debtor
Group Management and 11 USC §1109(b) statutory party in interest Ulysses T. Ware’s Final Judgment—
December 20, 2007, Dkt. 90, Case No. 02cv2219 (SDNY), District Judge Leonard B. Sand, Fed. R. Civ.
P. Rule 41(a)(2) voluntary, ex parte Dismissal with Prejudice of the 02cv2219 (SDNY) Lawsuit After the
Statute of Limitation Had Run on All Claims Final Judgment conferred final judgment prevailing
party status on Group Management and Ulysses T, Ware. .......:.ccccscccssesesseisesenennnenenenersneneranerennnenenens 23

Exhibit 3—FINRA’s May 17, 2021, binding regulatory factual finding of unregistered broker-
dealer status for KTS’ clients who fraudulently appeared in the 03-93031 Chapter 11, see Dkt. 11,
15, and 16 via KTS’ lawyers Dennis S. Meir and John W. Mills, officers of the court, pursuant to
and in violation of 18 USC §§ 2, 152, 157, 371, 1951(a), 1956-57, 1961(6)(B), and 1962(a-d)—a
pattern of racketeering activities. Actual innocent Brady exculpatory evidence..............0eeene 25

Exhibit 4—Sweet, J., U.S. v. Ware, 04cr1224 (SDNY) Brady disclosure court order, Dkt. 32.0.0... 26

Exhibit 5—U.S. v. Ware, 04cr1224 (SDNY), Nov. 2007, Tr. 204-06, sworn testimony of KTS’ clients’
official agent, unregistered investment advisor and unregistered broker-dealer Arie Rabinowitz confessing
to being unregistered broker-dealers.......issecccssssssssssaisonisssanscrstvesssvencesessnevevareeeteaceesensnteaeiesteenasredcensecsonsenee 29

Page 4 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 142 of 200

Exhibit 6—02cv2219 (SDNY) plaintiffs’ (KTS’ clients’) complaint’s judicial admissions and confessions
(res judicata and collateral estoppel) of 15 USC §77b(a)(11) statutory underwriters of Group
Management’s securities. Para. 12-13 pleaded KTS’ clients out of the federal COUTTS... seseseeeeeeeeeees 30

Exhibit 7—extreme armed and potentially deadly violence perpetrated against the Debtor and its agent in
fact Ulysses T. Ware in furtherance to their conspiracy to collect criminal usury debts (GX 1-4) in
violation of NYS Penal Law, section 190.40 and federal RICO law 18 USC §§ 1951(a), 1961(6)(B), and
1962(a-d)—a pattern of racketeering activities... sss eseseeseeeesseerensceeeseneeaeeaeeaecaseanieesetetaesaneetsenetaetanes 31

Supplemental Appendices ................cccccscsceseeseeseneseeeeessceeacssensacsecesesseeearseeneenssseneaesneneatsnensennaneneens 31

Appendix 1—U.S. Marshals note given to Ulysses T. Ware on Sept. 12, 2024, in Brooklyn, NY at 10:17
AM, during the unlawful, armed, forced entry into Mr. Ware’s residence while the Marshals lacked a
lawful search warrant, arrest warrant, or lawful legal process; aided, abetted, assisted, enabled, and

facilitated by the property Manager. ........ccccceceeceeceseeeeereeeeeeseeneeerseneeneeeessieeenaneeeseersnenetessnetsstenterssenes 32

A. Sept. 12, 2024, 10:17 AM, Brooklyn, NY alleged U.S. Marshals (SDNY) Plummer, Morton,
and Belriz outside of Mr. Ware’s residence regarding a fraudulent referral by former (SDNY)
magistrate Judge Michel H. Dolinger and Colleen McMahon regarding a lawful Fed. R. Civ. P. Rule
11(b)(1-4) Prefiling Investigation concerning imminent RICO and 18 USC 1961(6)(B) unlawful,
armed debt collection activities, related to U.S. v. Ware, OScr1115 (SDNY),04cr1224, and 02cv2219
(SDNY); and In re Group Management Corp.., 03-93031 (BC NDGA), to wit: GX 1, GX 2, GX, 3,
and GX 4— the NYS Penal Law, section 190.40, null and void ab initio criminal usury unlawful
debts—the Marshals with the assistance of the property manager broke into Mr. Ware’s residence
while armed and without any warrant, or lawful process—a potentially deadly encounter, to
intimidate, bully, threaten, and force Mr. Ware into giving up and abandoning his and Group
Management’s legal rights as 11 USC § 1109(b) statutory parties in interest. ........ccceeseeeeeeseeeaeens 33

B. Sept. 1, 2004, Atlanta, GA armed, forced, unlawful entry—potentially deadly, into Mr. Ware’s
law office without any lawful warrant by persons impersonating U.S. Marshals—Hobbs Act
conspiracy to collect the criminal usury unlawful debts, GX 1, GX 2, GX 3, and GX 4—government
trial exhibits in U.S. v. Ware, 04cr1224 (SDNY), and plaintiffs’ exhibits in 02cv2219 (SDNY), and
in In re Group Management Corp., 03-93031 (BC NDGA) Chapter 11. ....ecccceseeeeeeeseeteeeeeeeee 34

C. Actual innocent dispositive Brady exculpatory and impeachment evidence deliberately,
intentionally, and in bad faith suppressed and concealed by AUSA Alexander H. Southwell, Steven
D, Feldman, Nicholas S$. Goldin, Maria E. Douvas, Sarah E. Paul, Katherine Polk-Failla, David N.
Kelley, Michael J. Garcia, Robert W. Sweet, (deceased), Colleen McMahon, Leonard B. Sand,
(deceased), William H. Pauley, III (deceased), Robert A. Katzmann (deceased), Jose A. Cabranes,
Edgardo Ramos, Laura Talor-Swain, Amalya L. Kearse, Robert D. Sack, Damian Williams, Daniel
Gitner, Won Shin, Andrea Griswold, Danielle Sassoon, Hagan Scotten, Jun Xiang, Michael H.
Dolinger, and other Unindicted Coconspirators........cccsscsesseeseessesseseseeeeeaeeeeceseeeseceneeesesseeeneeaseeenesaees 35

Appendix 2—McMahon’s, Sica’s, Tailwind’s, Ramos, Taylor-Swain, DeArcy-Hall, Livingston,
Cabranes, Kearse, Sack’s, Gitner’s, and Hagenau’s coordinated conspiracy to commit bankruptcy fraud
and obstruct justice regarding 02cv2219 (SDNY), 03-93031 (BC NDGA), 04cr1224 (SDNY), and
0Scr1115 (SDNY} the Hobbs Act Unlawful Debt Collection Proceedings, to wit: 18 USC §§ 2, 156-
57, 371, 924(c), 1201-02, 1341, 1343, 1344, 1346, 1503, 1951, 1956-57, 1958-59, 1961(6)(B), 1962(a-
d), and.2071(a),.(b),. a patient Of cketeering BETIVITIES,.:..0..caniannnomnnimmuannnnnamnmnA 36

Page 5 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 143 of 200

Appendix 3--Re: Appellants’ and Appellees’ Consent Joint Jurisdictional Declaration of
Undisputed Material Facts and Stipulated Admissions pursuant to Bankruptcy Rule 9011(b)(1-4)
AMG 28 USC 1927. oc cecccccccccccccccsesscsecssesesscnessesaecesseceeeecseceesecaeeaaesesaesnesseesaecaeeaesaecandcamearsesesaeeessseetaeees 37

STATEMENT OF ULYSSES T. WARE REGARDING ATTEMPTED CONSENT AND IMPLIED
CONSENT OF APPELLEES-RESPONDENTS TO JOINT DECLARATION OF UNDISPUTED

JURISDICTIONAL MATERIAL FACTS .uu..ccccccsssccsesscsscscssecsecsneseecessnseseseeessecsacsecaeeasseeesaeesensatseeeeas 44
CERTIFICATION OF COUNSEL PURSUANT TO BANKRUPTCY RULE 9011(b)(1-4) AND 28
Te TO eccrsnreeccncecveneereenecamesSanrarrcencicetoncsensisarrsesa omnes sirsns einer nnNaNS:eT REC REtniN SRO NNER ORME RENO 46
THE PARTIES’ JOINT DECLARATION OP socciss.sissvseisescrisreces ssevicnssntasscosmernnnnacnenvsrivninciesieren 48
UNDISPUTED JURISDICTIONAL MATERIAL FACTS vc cccccccccsecctessesesececesetertesteseaseseseerenerenes 48
CEFtIfCatE Of SEEVICE.......0.-osictsunnincnnaea eRe ee reerenrans 62
End of COcument .............:cccsccsceceseccscessnsesseeennseasenseenscsansnenesacuanssaensagersansesdneanesaesssagessetonsnsensesessesessanseasaeenss 63
Page 6 of 63

Tuesday, February 18, 2025
(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 144 of 200

A-4: Draft #1 (02.09.25)--10:22:21 AM
Case No. 03-93031

United States Bankruptcy Court (A-4—Draft #1)
For the Northern District of Georgia

(Atlanta Division)
Submitted for Filing on
Sunday, February 9, 2025, 10:22:21 AM

In re Group Management Corp., Chapter 11

The Appellants’ and Appellees’ Joint Stipulated and Agreed
Bankr. Rule 8009(d)*? Appellate Factual Record.‘

The Appellants hereby this 9" day of Feb. 2025 incorporate
by reference, attach hereto, and make the same a part hereof,
in heac verba (12-0) (Part 14-0), and all attachments to this
email (A-1).

3(d) Agreed Statement as the Record on Appeal. Instead of the record on appeal as defined in subdivision
(a), the parties may prepare, sign, and submit to the bankruptcy court a statement of the case showing how
the issues presented by the appeal arose and were decided in the bankruptcy court. The statement must set
forth only those facts alleged and proved or sought to be proved that are essential to the court’s resolution
of the issues. If the statement is accurate, it—together with any additions that the bankruptcy court may
consider necessary to a full presentation of the issues on appeal—must be approved by the bankruptcy
court and must then be certified to the court where the appeal is pending as the record on appeal. The
bankruptcy clerk must then transmit it to the clerk of that court within the time provided by Rule 8010. A
copy of the agreed statement may be filed in place of the appendix required by Rule 8018(b) or, in the case
of a direct appeal to the court of appeals, by F. R. App. P. 30.

4 The Rule 8009 (d) appellate factual record is governed by the equitable and legal preclusive effects of: (i)
Ex. 1, Ex, 2, and Ex. 3, infra; and therefore res judicata and collateral estoppel governs the factual issues
herein determined by binding final judgments, Ex. 2, final orders, Ex. 1, and binding regulatory findings,
Ex. 3.

Page 7 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 145 of 200

Submitted by:

/s/ Ulysses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
Utware007@gmail.com
February 9, 2025

Page 8 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 146 of 200

Case No. 03-93031

United States Bankruptcy Court (A-4-D1)
For the Northern District of Georgia

(Atlanta Division)

Submitted for Filing on
Saturday, February 8, 2025, 10:22:21 AM

In re Group Management Corp., Chapter 11

Re: Appellants’ and Appellees’ Consent Joint
Jurisdictional Declaration of Undisputed Material Facts
and Stipulated Admissions pursuant to Bankruptcy

Rule 8009(d), 9011(b)(1-4) and 28 USC 1927.5

Submitted by:

/s/ Ulysses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
Utware007@gmail.com
February 9, 2025

> The Movants’ challenge to the Bankruptey Court (NDGA) In re Group Management Corp., 03-93031
Chapter 11 Article III jurisdiction over predatory criminal usury unlawful debts subject matter, GX 1-
4: and (2) challenge to the Article III standing of the 02cv2219 (SDNY) plaintiffs, Atlanta, GA law firm
Kilpatrick, Townsend, & Stockton, LLP clients, see Dkt. 11, unregistered broker-dealers. Cf., Ex. 3,
infra, What legitimate and lawful interest would a United States Bankruptcy Court (Ellis-Monro, C.J. and
Hagenau, C.J.) have in not sua_sponte affirmatively confirming the Court’s mandatory unwaivable
constitutional jurisdiction to adjudicate the Dkt. 6, 11, 13, 14, 15, and 16 proceedings with respect to
fundamental constitutional prerequisites—“legally protected interest” in criminal usury convertible
promissory notes--in predatory criminal usury unlawful debts, GX 1-4, and (2) the Article III standing of
KTS’ unregistered broker-dealers clients to enforce and/or collect GX 1-4? No legitimate interest exists.
If no legitimate interest exists, then any alleged interest, by definition. must be nefarious, corrupt,
perfidious, and illegitimate—that is, an unlawful interest.

Page 9 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 147 of 200

A. Introduction.

Re: In re Group Management Corp., Case No. 03-93031 (WLH) (Bankr. N.D. Ga.) — The
Appellants’ and Appellees’ Proposed Dispositive Joint, Agreed, and Stipulated Article III
Standing, Subject Matter Jurisdiction, and Sanctioning Appellate Record under Bankruptcy
Rule 8009(d), Dkt. 281, Feb. 7, 2025.
Dear Appellees and Counsel:

This communication pertains to the above-referenced appeal, currently pending before the

United States District Court for the Northern District of Georgia, and specifically addresses the

designation of the appellate record as mandated by Dkt. 281, dated February 7, 2025.

Pursuant to Bankruptcy Rule 8009(d), and in the paramount interests of judicial economy
and a focused appellate review, Appellants Ulysses T. Ware and Group Management are formally
submitting the enclosed Proposed Dispositive Joint, Agreed, and Stipulated Article IH Standing,
Subject Matter Jurisdiction, and Sanctioning Appellate Record under Bankruptcy Rule 8009(d)

for your comprehensive review and considered response.

This proposed stipulated record is intended to be dispositive of critical issues central to this

appeal, namely, (i) Article III standing, (ii) subject matter jurisdiction, and (iii) the propriety of
sanctions under Bankruptcy Rule 9011 and 28 U.S.C. § 1927, as well as the Bankruptcy Court’s
inherent sanctioning authority. Appellants firmly believe that the enclosed proposed irrefutable
facts, derived directly from the record and controlling legal precedent, warrant your unqualified
agreement and stipulation, thereby streamlining the appellate process and facilitating a swift and

just resolution by the District Court.

Page 10 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 148 of 200

As officers of the court and in accordance with the dictates of Bankruptcy Rule 9011(b)(1-
4) and 28 U.S.C. § 1927, Appellants hereby submit the following Dispositive Jurisdiction and

Sanctioning Appellate Facts for your meticulous review and substantive comment:

B. Rule 8009(d) Dispositive Jurisdiction and Sanctioning Appellate
Facts.

The Appellants and each Appellees hereby this 9th day of February 2025, and after
consultation with legal counsel, being fully aware and legally advised all independently and

voluntarily have agreed, stipulated, and consented that:

(1) Each Appellee has knowingly and willfully engaged in bad faith and criminal misconduct—
(A) conspiracy to commit bankruptcy fraud in 03-93031, 18 USC §§ 2, 152, 157, 371, and (B)
conspiracy to enable the continued collection of null and void ab initio criminal usury unlawful
debts, GX 1-4, in violation of 18 U.S.C. §§ 2, 152, 157, 371, 401(2), 401(3), 924(c), 1201-02,
1341, 1343, 1344, 1346, 1503, 1512, 1519, 1951(a), 1956-57, 1958-59, 1961(6)(B), 1962(a-d),
and 2071(a), (b), in violation of Bankr. Rule 9011(b)(1-4), 28 U.S.C. § 1927, and during the 03-

93031 proceedings;

(2) Each Appellee and/or their agents, proxies, surrogates, or alter-egos, directly and/or indirectly,
have jointly and/or individually, knowingly, deliberately, intentionally, and in bad faith colluded,
conspired, and racketeered as an illegal Hobbs Act predatory loan sharking, money laundering,
and racketeering association in fact as defined in 18 U.S.C. § 1961(4), and each has knowingly
and willfully in bad faith, with reckless disregard for the law and the facts, aided, abetted, assisted,

enabled, and facilitated the "resistance", criminal contempt, 18 USC §§ 401(2), 401(3), to lawful

Page 11 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 149 of 200

final orders, (A-1, Ex. 1, Dkt. 65, 02cv2219 (SDNY)), final judgment (A-1, Ex. 2, Dkt. 90,
02cv2219 (SDNY)), and binding regulatory findings (A-1, Ex. 3, FINRA's May 17, 2021,

regulatory finding of unregistered broker-dealer status for each of Appellee KTS' clients, cf.,

Dkt. 11), which has irreparably injured, damaged, and harmed each Appellant in the sum certain

amount of $5.2225 billion, jointly and severally.

(3) Each Appellee after careful consideration and on the advice of retained legal counsel, or acting
pro se each hereby this 9th day of February 2025, (A) has agreed, stipulated, consented, and did
not in the 03-93031 proceedings, and will not present any good faith appellate opposition to the
following dispositive Article IL jurisdictional facts as the Joint and Stipulated Bankr, Rule 8009(d)
dispositive appellate record facts of the Parties; (B) it is agreed that at no time during the 03-93031
proceedings did I or legal counsel make any effort, and nor did I seek to intervene in the 03-93031

proceedings and protect any legal or equitable interest which I might have had; (C) I hereby agree,

stipulated, and concede as a binding judicial admission that I have knowingly waived, forfeited,
and abandoned any legal or equitable interest to appear in the 03-93031 Chapter 11, or appear in
this Article III jurisdictional appeal; and (D) I further knowingly and willingly acknowledge, agree,

stipulate, and concede that:

i. KTS' clients, see Dkt. 11, are unregistered broker-dealers, see A-1, Ex. 3, irrefutably

lacked a "legally protected interest" in GX 1-4, and GX 5, which are null and void ab initio,
unenforceable, uncollectible, criminal usury convertible promissory notes, and contracts,
respectively, created and distributed in violation of the federal securities law, 15 USC §§ 77e, 77x,

780(a)(1), and 78ff, by Appellees Arie Rabinowitz, LH Financial Service Corp., Kenneth A. Zitter,

Page 12 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 150 of 200

Esq., convicted felon Edward M. Grushko, Esq., Barbara R. Mittman, Esq., Konrad Ackermann,

KTS, and Appellee KTS’ clients (see Dkt. 11), and other Appellees, known and unknown, a
racketeering, predatory, loan sharking, and money laundering illegal association in fact,
operating in knowing and reckless violation of NYS Penal Law, section 190.40, the criminal usury
law, a class E felony, and in violation of 15 U.S.C. §§ 77d, 77e, 77x, 780(a)(1), 78p(b), 78ff, and
SEC Release 33-7190 n. 17 (1995); and therefore, ipso facto, as a matter of fact Appellees, KTS,

and KTS’ clients (see Dkt. 11) could not and did not suffer the Article III required “concrete

injury in fact” to a “legally protected interest” caused by Appellants’ Ware and Group

Management’s lawful conduct in refusing to aid, abet, and assist Appellees and their agents to
have recklessly and criminally violated the federal securities laws, 15 USC §§ 77d, 77e, 77x,
780(a)(1), 78p(b), 78cc(b), 78ff, and SEC Release 33-7190 n. 17 (1995), and federal racketeering
laws, 18 U.S.C. §§ 1951(a), 1961(6)(B), and 1962(a-d), and enforce and collect the criminal usury
convertible promissory eta, GX 1-4.

ii. The United States Bankruptcy Court (NDGA) in regard to In re Group Management
Corp., 03-93031, Chapter 11, ipso facto, lacked Article III subject matter jurisdiction from March
18, 2003, the filing of the Chapter 11 petition, Dkt. 1, over null and void ab initio, unenforceable,
uncollectible convertible promissory notes (GX 1-4) having an implied interest rate in excess of
+2000% annually, a criminal usury unlawful debt created and distributed in violation of public
policy, NYS Penal Law, section 190.40, the criminal usury law, a class E felony, (the “Criminal
Usury Subject Matter”);

ili. The Criminal Usury Subject Matter, GX 1-4, sold and purchased by and through a

criminal usury so-called subscription agreement, GX 5, in violation of 15 USC §§ 77d, 77e, 77x,

Page 13 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 151 of 200

780(a)(1), 78p(b), and 78ff, were purchased by Appellee KTS’ clients, Dkt. 11, certified

unregistered broker-dealers, (A-1, Ex. 3) in criminal violation of the federal securities laws, to

wit: 15 U.S.C. §§ 77d, 77e, 77x, 780(a)(1), 78p(b), 78ff, and 78cc(b), and SEC Release 33-7190
n. 17 (1995); NYS Penal Law, section 190.40, the criminal usury law, a class E felony; in violation
of federal racketeering laws, 18 U.S.C. §§ 1951(a), 1961(6)(B), and 1962(a-d), et. seqs. See Adar
Bays, LLC v. GeneSYS ID, Inc., 28 F.4d 379 (2d Cir, 2022); also see United States v. Grote, 961
F.3d 105 (2d Cir. 2020) (aff'd conviction, sentence, and +$3.5 billion forfeiture judgment for

unlawful debt [see GX 1-4] collection activities [see 03-93031, Dkt. 6, 11, 13, 14, 15, 16, 28, 256,

258, 263, 274, 275, and 278; also see Sept. 1, 2004, kidnapping and attempted armed robbery of
Appellants, A-1, Ex. 7, infra; and also see Sept. 12, 2024, break-in of Appellants’ office and
residence by agents of the Appellees to collect the criminal usury unlawful debts, GX 1-4, using

force, threats, firearms, and intimidation, Id].

As time is of the essence, and to comply with the Court’s February 18, 2025, deadline for
designation of the appellate record, we must respectfully insist that any and all written oppositional
challenges, disputes, or other opposition to the enclosed Article III jurisdictional and sanctioning

facts must be received by Appellants, in writing via electronic mail to utware007@gmail.com, no

later than Monday, February 10, 2025, by 11:00 AM Eastern Standard Time. This deadline

is absolute and non-extendable.

Absent timely receipt of your written ultra vires objections, comments, or other denials,
Appellants forthwith without any further notice or attempts to resolve this matter, will proceed to

file this Proposed Dispositive Joint, Agreed, and Stipulated Article III Standing, Subject Matter

Page 14 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 152 of 200

Jurisdiction, and Sanctioning Appellate Record with the Bankruptcy Court, seeking its prompt

approval pursuant to Rule 8009(d).

Respectfully submitted,
The Office of Ulysses T. Ware
/s/ Ulysses T. Ware

Ulysses T. Ware
Attorney for Appellants Ulysses T. Ware and Group Management

Tuesday, February 18, 2025, 10:22:21 AM

Page 15 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 _ Filed 03/07/25 Page 153 of 200

Certificate of Service

I Ulysses T. Ware certify that I have this 9" February 2025 served each of the below persons or
entities with a copy of this pleading via their public email accounts and submitted the same to the
U.S. Bankruptcy Court (NDGA) to the Chief Bankruptcy Judge, Ellis-Munro for immediate filing
and docketing pursuant to 18 USC §§ 2071(a), (b), Bankr. Rule 5005(a)(2)° and 5005(b)(1) with

the U.S. Trustee.’

cc: Office of the U.S. Trustee, Region 21 (Mary Ida Townson)
U.S. Court of Appeals for the Eleventh Circuit, Office of the Judicial Council

Kilpatrick, Townsend, & Stockton, LLP (via CEO Wab Kadaba, Esq., J. Henry
Walker, IV, Dennis S. Meir, and John W. Mills, IID)

Arie Rabinowitz, Kenneth A. Zitter, Alpha Capital, AG, Stonestreet, L.P.
Markham Holdings, Ltd., AMRO International, S.A., Trailblazer Merger Corp,
I, LH Financial Services Corp., convicted felon Edward M. Grushko, Joseph
Hammer, and Barbara R. Mittman via Kilpatrick, Townsend, Stockton, LLP
(Wab Kadaba, Esq. and J. Henry Walker, IV).

Baker & McKenzie, LLP (via Lawrance B. Mandala, Esq., Robert Alberal, Esq.
and Thomas A. Leghorn, Esq.)*

William D. NeSmith, III, State Bar of Georgia; Office of the Chief Justice,
Supreme Court of Georgia, the Hon. Michael P. Boggs (via Paula Fredrick and
William D. NeSmith, I]--statutory agents in fact); and

° With a Judge of the Court. A judge may personally accept for filing a paper listed in (1). The judge must
note on it the date of filing and promptly send it to the clerk.

7 (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise. ,

§ Baker & McKenzie, LLP has primary liability in the sum certain amount of $2.225 billion.

Page 16 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document5-14 Filed 03/07/25 Page 154 of 200

John F. King, Georgia Insurance Commissioner on behalf of (undisclosed
identities) John Doe Insurance Companies ##1-5 (via William D. NeSmith, III,
Wab Kadaba, J. Henry Walker, III, Michael D. Hostetter, Edward T.M. Garland,
the State Bar of Georgia, Office of the General Counsel, and Wendy L. Hagenau,
statutory agents in fact);

FINRA (via Robert W. Cook, Robert L.D. Colby, Sarah Jeffries, and Marcia E.
Asquith) on behalf of the Securities and Exchange Commission (11 USC 1109(a)
statutory party in interest); and

Acting Director of the FBI (via Mary Ida Townson,
Esq., U.S. Trustee, Region 21)

/s/ Ulysses T. Ware

February 9, 2025

Page 17 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 155 of 200

Exhibit I—Dkt. 278—Barbara Ellis-Monro’s Self-incrimination for
conspiracy to obstruct justice and commit bankruptcy fraud, 18 USC
§§ 2, 152, 157, 371, 924(c), 1341, 1343, 1344, 1346, 1503, 1951(a), 1956-
57, 1958-59, 1961(6)(B), 1962(a-d), and 2071(a), (b), et. seqs. confessed
and admitted by Barbara Ellis-Monro in her personal and individual
capacity as an 18 USC § 1962(d) unindicted coconspirator having

joint and several personal criminal and civil liability in the amount of
+$5.2225 billion.

Casé 03-93031-wih Dec 27B Filed 01/27/25 Entered 01/27/25 17:44:42 Dese Main
Decument Page 1 of 1

UNITED STATES BANKRUPTCY COURT

NORTHERN DISTRICT OF GEORGIA. By: & oh f p a a
1431 United States Courthouse ;

75 Tod Turner Drive, 5...
Allania, Georgia 30303

Chambers of Phone: 404-215-1030
BARBARA ELLIS-MONRO
Chief Judge

January 27, 2028

Mr. Ulyases T. Ware
123 Linden Blvd., Suite.9-L es
Brooklyn, N¥ 11226 £

Dear Mr. Ware:

I am in receipt of over one hundred emails from you received since May 29, 2024. In these
numerous rails and attachments, you have requested, ().an evidentiary show cause hearing for various
reasons; (ii) mopening of the closed bankruptey case 03-93031; (ili) vacating pleadings and orders; (iv)
transferring the closed case to the Southern District of New York; (v) my recusal or resignation; (vi)
filing of an Asset Recovery Plan; and (vii) investigations, contempt, sanctions and other relict as to ;
judges, attomeys, individuals and law firms all in a case that was dismissed by consent in May 2003.

The case has been closed since June 2003,

I write to celteraie the findings in the orders éntered by now retired Judge Hagenau. Emails do
not constitute Filing with the Court [Doc. 246, p. 53]. Thus, none of the emails have been or will be
docketed. Further, the Court bas prohibited you from filing, sending, or otherwise delivering documents
for filing in this case, except for notices of appeal and papera filed in connection therewith. (Doc, 275, p.
13}. Any notice of appeal or related papers must be properly filed, not emailed, ta be docketed.

Each of the emails received to date has been and will be preserved.
This letter will be docketed. The case remains closed.

Sincetely,
a a Bsa yeh a

Bilin-Monre
Chief United States Bankruptoy Judge

C: Clerk, USBC, NDGA.

Page 18 of 63

Tuesday, February 18,2025)

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 156 of 200

F. Exhibits—

Supplemental Record

Page 19 of 63

Tuesday, February 18, 2025
(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)

Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 157 of 200

Exhibit 1—Dkt. 65, Aug. 13, 2003, Sand, J.) (deceased), 02cv2219
(SDNY): Unappealed Judicial ruling (collateral, equitable, and judicial
estoppel) of 15 USC §78p(b) statutory insider status (disgorgement of all
profits requirement to the Chapter 11 estate) for each of KTS’
unregistered broker-dealer clients (see Ex. 3, infra) with respect to the
Chapter 11 debtor’s, Group Management Corp.’s, publicly-traded equity
securities.’

Actual innocent Bary exculpatory evidence concealed
and suppressed by KTS and its unregistered broker-
dealer clients in criminal and civil contempt of the
Brady disclosure order, Sweet, J., Aug. 10, 2007, Dkt.
32, see Ex. 4, infra.

° Judge Sand’s Aug. 13, 2003, ruling, binding a lawful court order—(A) subject to enforcement against
Hagenau, KTS, its client, et al., via civil and criminal contempt (18 USC §§401(2), 401(3)) absolutely
binding on the 03-93031 Chapter 11 Bankruptcy Court (NDGA) (Hagenau, C.J.), which (B) conferred
fiduciary duty status on all 18 USC §1962(d) racketeering to commit bankruptcy fraud unindicted
coconspirators to wit, Hagenau, KTS, its partners, each of K7S’ unregistered broker-dealer clients, et al—
that is, Hagenau, KTS, its partners, and its clients are subject to (i) an_existing and extant and current
equitable lien on their personal and individual assets, (ii) current and extant constructive trust impressed
on their assets, (iii) and U.C.C. Article 1 encumbrance and lien on their assets in the amount of +$522M
plus interest running from the date of Judge Sand’s 15 USC §78p(b) court order, August 13, 2003, (i.e.,
stolen and concealed property and assets of the 03-93031 Chapter 11 estate).

Page 20 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 158 of 200

Ex. 1—(Dkt. 65, 02cv2219)—(18 USC § 1961(1) Racketeering Overt and Predicate Act)
Aug. 13, 2003, Dkt. 65 02cv2219 (SDNY), Sand, J. (deceased) binding judicial ruling
and court order—Judge Sand in ex parte communications found each KTS client to be a
15 USC § 78p(b) statutory insider of Group Management Corp, and therefore triggered the
Section 16(b)/11 USC §542(a) disgorgement/turnover requirement, which was not
appealed by KTS’ clients, and is therefore, ipso facto, as a matter of law and fact res
judicata and collateral estoppel against KTS, Kadaba, the SBGA, NeSmith, Fredrick,

Hagenau, and the 03-93031 (BC NDGA) bankruptcy court pursuant to FRE 201(b)

judicial notice.

Appx 34-2—GX 24 (Dkt. 65, 02cv2219)—found each 02cv2219 plaintiff to be a 15 USC 78p(b)
statutory insider of GPMT, and their and their agents required to disgorge back to GPMT +5500
million in trading profits.

oe

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ALPHA CAPITAL AKTIENGESELLSCHAFT,
AMRO INTERNATIONAL, S.A, 2
MARKHAM HOLDINGS, LTD., and_ :
STONESTRENT LIMITED PARTNERSHIP,

Plointitfs, : 02 Civ. 2219 (L188)

-againat« : ORDER
GROUP MANAGEMENT CORP.,
formerly knoyrn as IVG CORP.,
formerly kriown as INTERNET
VENTURE CORP.,

Defendant.

Ho ok ee ee ee emits

SAND, Distriot Judge.

In a telephonic conference on July 2, 2603, this Court ordered that Defendant Group
Management comply with a conversion request by Plaintiff Stoncstrect 1..P., contingent on the
provision by Plaintiffof an affidavit stating, inter alis, that Stoniestreet beneficially owned less

than 9.9% of Group Management's common stock, as well as an opinion letter stating that the

= conversion would therefore be in compliance with Rule 144(k). See Tr. July 2; 2003. Plaintiff
subsequently provided an unswom statentent to the effect that Stonestreet’s ownership was
below the appropriate level; when Defendant still failed to honor the conversion requost, the

8 Court ordered on July 23 that i) Plaintiff provide a sworn affidavit, as required by Jaly 2 Order;

ae : :
+ and if) that Defendant honor the § conversion request within two busi lays

MECROFILM

2 thereafter, on pain of contempt.

Page 21 of 63

Oa August 1, 2003, the Court received from Plaintiff copies of an affidavit andl opinion

COPTES MAYLED TO ALL PARTIES, 4)

Tuesday, February 18, 2025
(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.

Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 159 of 200

The conspiracy to commit securities and bankruptcy fraud by KTS during the In
re Group Mangement Corp, 03-93031 (BC NDGA) Chapter 11 proceedings. KTS'
clients’ aa in ex parte communications with the 02cv2219 (SDNY)
district court ; J.) that KTS did in fact knowingly violated 18 USC 2, 157,
371, 924(c), 1201-02,1341, 1343, 1503, 1951(a), 1956-57, 1958-59, 1961(6)(B)
and 1962(d) by concealing and suppressing its clients' ownership of GPMT's
stock. Iciter relating vot to Plaintiff Stonestreet, but rather to Plaintiff Alpha Capital, Plointift

explained, upon inquiry from Chanibers, that Stonestreet in fact beneficially owned more than,

9,9% of Group Management's stock. |

Given the above facts, thé Court obsecves that the conditions set in the July 2 Order
feparding the Stonestreet Conversion request have not been met, and that Defendant is therefore
“not in contempt af that Order, or of the follow-up Order of July 23. Nonetheless, pursuant to,
other orders of this Coust, including the Order and Judgment of November 25, 2002, Defendant
is still bound to hottor appropriate conversion requests from Alpha Capital, and Plaintiff hus
submitted both an affidavit and opinion fetter regarding the legality of the current Alpha
conversion request, Accordingly, failure by Defendant to honor thot Tequest sins orton As

days of this Order shall constitute contempt,

$0 ORDERED.:

Dated: New York, New York
August 20 2003

hi $

Page 22 of 63
Tuesday, February 18, 2025
(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)

Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 160 of 200

Exhibit 2--Dkt. 90 (Binding Final Judgment)—02cv2219 (SDNY)
Prevailing Parties Chapter 11 Debtor Group Management and 11 USC
§1109(b) statutory party in interest Ulysses T. Ware’s Final Judgment—
December 20, 2007, Dkt. 90, Case No. 02cv2219 (SDNY), District Judge
Leonard B. Sand, Fed. R. Civ. P. Rule 41(a)(2) voluntary, ex parte
Dismissal with Prejudice of the 02cv2219 (SDNY) Lawsuit After the
Statute of Limitation Had Run on All Claims Final Judgment conferred
final judgment prevailing party status on Group Management and
Ulysses T. Ware.'°

'0 KTS’ unregistered broker-dealer clients’ Dec. 20, 2007, voluntary Rule 41(a)(2) dismissal with
prejudice of the 02cv2219 (SDNY) lawsuit—final judgment on the merits for the Chapter 11 debtor, Group
Management, and 11 USC §1109(b) statutory party in interest Ulysses T. Ware, is currently and will be
enforced against Hagenau, KTS, its clients, and each 18 USC §1962(d) unindicted coconspirator resisting
the legal and equitable preclusive effects—that is, the immediate 11 USC §542(a) turnover of all Chapter
11 estate assets, of the binding court order, see 18 USC §§401(2), and 401(3), and Fed. R. Crim. P. 42.

Page 23 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 161 of 200

Page 24 of 63

Tuesday, February 18, 2025
(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)

Jurisdictional and Sanctioning Facts.

Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 162 of 200

Exhibit 3—FINRA’s May 17, 2021, binding regulatory factual finding of
unregistered broker-dealer status for KTS’ clients who fraudulently appeared
in the 03-93031 Chapter 11, see Dkt. 11, 15, and 16 via KTS’ lawyers Dennis S.
Meir and John W. Mills, officers of the court, pursuant to and in violation of
18 USC §§ 2, 152, 157, 371, 1951(a), 1956-57, 1961(6)(B), and 1962(a-d)—a
pattern of racketeering activities. Actual innocent Brady exculpatory
evidence.'!

CERTIFICATION OF NO FINRA BUSINESS RECORDS

——

|, Marcia E. Asquith, being first duly sworm, depose and state as follows:

1. | am the Executive Vice President, Board and External Relations. In that
capacity, | oversee the functions of the Office of the Corporate Secretary at
the Financial Industry Regulatory Authority, Inc. (“FINRA”). | am farniliar with
and am a custodian of FINRA business records, including interpretations,
policies and rules adopted by the FINRA Board of Governors.

2, No documents related to the firms listed below were prepared, kept and
maintained in the ordinary course of FINRA’s business:

a) Alpha Capital, AG

b) Stonestreet, L.P.

c) Markham Holdings, Lid,
d) Amro International, S.A.
@) LH Financial Services

Pe he

te E. Asquith

Executive Vice President, Board/ayd External
Relations and Corporate Secretary

Subscribed and sworn to before me this (thay of May 2021
f { a : ,

we a GS

Notary Public, District of Columbiey §

My commission expires:

| Deliberately suppressed and concealed by Barbara Ellis-Monro, Wendy L. eeehan, KTS, its clients,
the State Bar of GA, Michael P. Boggs, FINRA, et al. in criminal and civil contempt of Sweet, J.’s Brady
disclosure court order, Ex. 4, infra.

Page 25 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 163 of 200

Exhibit 4—Sweet, J., U.S. v. Ware, 04cr1224 (SDNY) Brady disclosure
court order, Dkt. 32.

Page 26 of 63

Tuesday, February 18, 2025
(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)

Jurisdictional and Sanctioning Facts.

Case 1:25-cv-00613-MLB Document 5-1 Filed 03/07/25 Page 164 of 200

to tht

Si

Page 27 of 63

Tuesday, February 18, 2025
(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)

Jurisdictional and Sanctioning Facts.

Case 1:25-cv-00613-MLB Document5-14 Filed 03/07/25 Page 165 of 200

Motion for a bill of particulars will bi

‘euinatory EX

Sry

iment, or legal authority to su

|

Page 28 of 63

Tuesday, February 18, 2025
(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)

Jurisdictional and Sanctioning Facts.

Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 166 of 200

Exhibit 5—U.S. v. Ware, 04cr1224 (SDNY), Nov. 2007, Tr. 204-06,
sworn testimony of KTS’ clients’ official agent, unregistered investment
advisor and unregistered broker-dealer Arie Rabinowitz confessing to
being unregistered broker-dealers.

UNITED STATES uv. WARE, CASE NO. 09-0851 (21D Ci.) (2010)
ON APPEAL FROM LNITED STATES v. WARE, 04c01224 (Sweet, 3.)
18 USC 401(8) CRIMINAL CONTEMPT PROSECUTION
APPELLANT WARE’S OPENING BRIEF

Moreover, being unregistered brokers-cdeslers operating in violation of 15 U.S.C.

$78o0(a}(14b Tr. 204-05, Rabinowitz testified as follows at Tr. 204:

ADMISSION OF BROKER-DEALER STATUS BY
ARI RABINOWITZ UNDER CROSS EXAMINATION.

r. Ware: What is the narne of your company?

Rabinowitz: LH Financial Services,

Mr. Ware: What business is that cornpany?

Rabinowitz: We are in the private placementb aihess.

Tr. 206

Vir. Ware: Approximately how many companies have you assisted Aipha Capital
with over, let's say, the last five <e

Rabinowitz: A good few hurielced, ;
Mir. Ware: A good fow nundted?

Rabinowitz: Yes

Rabinowitz" egstinvony of being in the private placement business, and assisting
Alpha, Capital With “a food few hundred” transactions: pursuant to 15 U.S.C..
§77b Hazy Rabinowitz and Alpha were “dealers” not eligible for any exemption
under, Title 15 Section 4, and thus not eligible for 17 C.F.R. 8240,.144{k}/{Rule 144(ik}
regarding the purchase of the Notes of IVG/GPMT (GX 1-4).

Cage 4 of 12
Appellant Ware's Statement of Facts
U.S. v. Ware, 09-085 I¢r (2d Cir.)

Opening Appeal Brief

Page 29 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 167 of 200

Exhibit 6—02cv2219 (SDNY) plaintiffs’ (KTS’ clients’) complaint’s
judicial admissions and confessions (res judicata and collateral estoppel)
of 15 USC §77b(a)(11) statutory underwriters of Group Management’s
securities. Para. 12-13 pleaded KTS’ clients out of the federal courts.

Le : '
A 12. Plaintiffs purchased the Notes purvuant to thé tems of the Subscription Agreement
{the “Subscription Agreement”) entered into between and among the partlés on or sbout Febriary

Ly 2, 2001. Plaintiffs collectively paid $1.1 million to 1VG and each Piaintiff received a Note in

proportion to ite investment, as set forth in the paragraph 10,

ae ‘ we
Le
ar"

13. Pursuant to Section 10.1{iv) of the Subscription Agreement, VG was obligated to
. file on or before May 3, 2001, « form SB-2 Registration Statement with the United States

rea

Securities and Exchange Commission registering the stock undedlying the Notes so that upon

ee

conversion the stock could be sold on the open market without nese VG was obligated to .

ikea

121

~~

have such registration sidncssie daddaeaih ineicteve on ve Yocdhen Tub 17, 2001, Thus Section
7” 10.169) of the Subsoription Agreement provides:

“Phe Company shall file with the Commission within 90 days of the
Closing Date (the *Filing Date"), and use its reasonable commercial efforts
to cause to be declared effective a Form SB-2 registration statement (or —
such other form as it is eligible to use) within 135 days of the Closing
Date in order to register the Registrable Securities for resale and
distribution under the Act. The registration statement described in this
paragraph must be declared effective by the Commission within 135 “_
of the Closing Date (as defined eee Date’).”

{VG fuiled to comply with ite obligations aod to date has not had iti registration statement.
deslared effective.

Page 30 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 168 of 200

Exhibit 7—extreme armed and potentially deadly violence perpetrated
against the Debtor and its agent in fact Ulysses T. Ware in furtherance to
their conspiracy to collect criminal usury debts (GX 1-4) in violation of
NYS Penal Law, section 190.40 and federal RICO law 18 USC 8§
1951(a), 1961(6)(B), and 1962(a-d)—a pattern of racketeering activities.

Supplemental
_ Appendices

Page 31 of 63
Tuesday, February 18, 2025
(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)

Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 169 of 200

Appendix 1—U.S. Marshals note given to Ulysses T. Ware on Sept. 12, 2024, in Brooklyn,
NY at 10:17 AM, during the unlawful, armed, forced entry into Mr. Ware’s residence
while the Marshals lacked a lawful search warrant, arrest warrant, or lawful legal process;
aided, abetted, assisted, enabled, and facilitated by the property manager.

Page 32 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 170 of 200

A. Sept. 12, 2024, 10:17 AM, Brooklyn, NY alleged U.S. Marshals (SDNY) Plummer,
Morton, and Belriz outside of Mr. Ware’s residence regarding a fraudulent referral by former
(SDNY) magistrate Judge Michel H. Dolinger and Colleen McMahon regarding a lawful Fed. R.
Civ. P. Rule 11(b)(1-4) Prefiling Investigation concerning imminent RICO and 18 USC
1961(6)(B) unlawful, armed debt collection activities, related to U.S. ». Ware, OScr1115
(SDNY),04cr1224, and 02cv2219 (SDNY); and In re Group Management Corp.., 03-93031 (BC
NDGA), to wit: GX 1, GX 2, GX, 3, and GX 4—the NYS Penal Law, section 190.40, null and and

void ab initio criminal usury anlayfal debts—the Marshals with the assistance of the property
manager broke into Mr. Ware’s residence while armed and without any warrant, or lawful

process—@ potentially deadly encounter, to intimidate, bully, threaten, and force Mr. Ware into
giving up and abandoning his and Group Management’s legal rights as 11 USC § 1109(b) statutory
parties in interest.

Page 33 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 171 of 200

B. Sept. 1, 2004, Atlanta, GA armed, forced, unlawful entry—potentially deadly, into Mr.
Ware’s law office without any lawful warrant by persons impersonating U.S. Marshals—Hobbs
Act conspiracy to collect the criminal usury unlawful debts, GX 1, GX 2, GX 3, and GX 4—
government trial exhibits in U.S. v. Ware, 04cr1224 (SDNY), and plaintiffs’ exhibits in 02cv2219
(SDNY), and in Jn re Group Management Corp., 03-93031 (BC NDGA) Chapter 11.

Pati AT as eels

15, 9/14 Contempt of Court Atlanta, Georgia 10/15/04; co gf Me. Ware, #1 will have Jauge Szod
: aca lai : : row your ass in] isan, wigger, antl you will
Auer ad Dismissed pursuant oO cscr se Gat ho U5 Fon TEGK Tal jou
a are focking with ... 1 want that stock and
to order of Judge i hove Options, ele | will ane the marshals
Leonard B. Sand ieee your ae

mm Hol
don't do it unit see what happens to
(en in ong ene
Zita, sy. in March 2003; see ake the
iranscript of the September 1, 2004 legal arrest
dkidmapping) pareceditht of Mr Were in
tee admitted seeps 3 Zilles

. hell beRae District False thomai W. ‘Thrash,
© Je; ef Din 288 order in 2219 (Sand, J.) ruling
‘yUhvesh aed the Marshals lacked authority and
isdiciion fo have entered Me, W

7. According to Sr. U.S. Probation Offer Atonya M. Craft of the Northern District of

© Georgia, on September £, 2004, the deiendant was arrested in the Northern District of
Georgia in response to an order issued by the Honorable Leonard B, Sand, U,S, District

~ Judge, Southern District of New York, in 02 CV 2219 (LBS), On December 22, 2003,

Judge Sand ordered the defendants in this civil matter (which included the defendant) to
deliver Silver Screen Studios, Inc. common stock to honor all of the conversion requests
for Group Management Corp, or Silver Screen Studios, Ine, stock duly subniitted by the
plaintiffs, On June 21, 2004, Judge Sand issued a warrant for ihe defendant's arrest for
contempt of cour, for failure to obey the December 22, 2003, order. ‘This arrest arder
indicated that the defendant was to be arrested by the U.S. Marshals Service and detained
ualil the défendant purged himself of contenrpt by delivering the above-referenced

Pégal opinioas ic mt
brading shares of GOMT'S stogh)"* ip

States i 2002-2007 attemptirg to erlodl GPMT and
iat. Yiare oot of mare than $500 meson dofass in

BAM whore
(ami bitiatar

cd Wabi Yel et et yt inne OF, which a Cetra wd ke ba, Wodeis' gatmin
ethane, esteory

you re Pome b her utente pas emcthy wth th Cot ant ra Lier

neato ave hate ba aa eta 4, etl wid ba Sad 4 foie yea fs ba

Spocrk tiated he Ady 2 Occar bat yeu ave parliuly Gods $ hang a delat sanctets ertorad

pate feces Ea OE ON Cente MT Foe fe

Cavtabaate rhegzetl Po a detast Oger re Rea tear
id.

WARE, LYeshg . ‘Onn Coty” es shaeerse fel ae ees
eo oS —
common stock, On July 1) 2004, the defendant was arrested by the U.S. Marshals Service = | 5
inthe Norther District of Georgia, He appeared before the Honorable Thomas W. 4/28/2012

Mey 8/18/20)
‘Thrash, Jr., in that district, refused 40 purge himself of contempt and offered no =

acceptable reason to prevent enforcement of the contempt order. On September 2, 2004,
the Honorable Thomas W, Thrash, Jr., ordered the defendant (o remain in the custody of
the U.S, Marshals Service until he purged himself of contempt or was ordered released by
cither Judge Thrash or Judge Sand, The defendant’s request for bond was granted, and he
was released on September 3, 2004, alter posting $150,000 in cash and a $100,000 bond,
cosigned by two other individuals.

PL12ev-04307- TW Document 1-5 Filed (21042 Pane 33 of 49

71, On September 28, 2004, the Honorable Leonard B, Sand yacated the June 21, 2004, order
fn part to the extent that it authorized the arrest of the defendant outside of the state of
New York and more than 100 miles from the U.S, Courthouse located at 500 Peart Street,
New York, New York, The order remained in effect insofar as it could be served on the
defendant in the state of New York or within 100 milés of the US, Courthouse located at
$00 Pearl Street, New York, New York.

78. On October 7, 2004, the defendant moved to Vacate and release the bail of $250,000 set
on September 2, 2004, On October 15, 2004, the defendant's mation was granted by the
Honorable Thomas W, Thrash, Jr; $150,000 was refunded to the defendant, and the
corporate surety bond was discharged.

We RE 2) AEN eee ee bam 8 eae em Pedy

Page 34 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 172 of 200

Cc, Actual innocent dispositive Brady exculpatory and impeachment evidence deliberately,
intentionally, and in bad faith suppressed and concealed by AUSA Alexander H. Southwell, Steven
D, Feldman, Nicholas S. Goldin, Maria E. Douvas, Sarah E, Paul, Katherine Polk-Failla, David N.
Kelley, Michael J. Garcia, Robert W. Sweet, (deceased), Colleen McMahon, Leonard B. Sand,
(deceased), William H. Pauley, III (deceased), Robert A. Katzmann (deceased), Jose A. Cabranes,
Edgardo Ramos, Laura Talor-Swain, Amalya L. Kearse, Robert D, Sack, Damian Williams, Daniel
Gitner, Won Shin, Andrea Griswold, Danielle Sassoon, Hagan Scotten, Jun Xiang, Michael H.
Dolinger, and other Unindicted Coconspirators.

Alexander 3

Whe csivad the 100 milw Limit argent? Thay Lia a spectous anyamant. with ne leged baste,
t have won that dasue wich « mumiay of diatadat cpusts where a paracn bed An contwmpt waa
hoydng i* avnid wrevadicion. aed go ekders trom wists in'the Warthern Biateier of
fexag, | havahed the Mexshale arrest people io Califoraia, Washington, Wisconsin, Navada
and prohably other jucsdictiony that 2 cae!) remmeter, Mowtxal Gf chase people have been
inaavonrated in Texas for Bore then a yaar. Oqe paysoo axrase in Washingeon state fox

eiwil qantmept is wtéll fn prison in Teme agtar since than 2 Lu

Kaan ‘Yodaral Bula of Givil Procedure 4.4. wait states that ac wruer of cavil comitaaay for
& persqn held in contempt ‘aay be eaawed amd ‘pferond £2 sy diateriet.* it goes on to
gtate that athar ortinra in Cobtampe proceedings ate subject to the 160 mile limit.

@hoaver arqued Chia matter dide‘t da hinder per bemesmek. Susans needs ta file a sovion
fer Fedauwideracion afd have his arragrad agian!

very O. @arrie
Yriet Counsel

Unrced Staten hacurities and Ewckange Gonmidelon

Fort Worth aefice.
war aee peer’ eee Suite « u500

‘ Gerth; Th. aaa 0a

Peres Le 27h-H452-

Pax: (817) WTR abeT

fematli porciei dene. gow

cenentigighial Meganga--——
seoelye born: Alesendar.fonthuel|gasdas gov Fae Mannan Aanamallbneni ser!
dant; Mednesdey, Ostaber O68, 2006 11:04 PR
To: ‘tore wi0 00s, Ge
object: Wir Thoms Ware
fim Likely nana when he oan arrested on the ‘oleh pontempt exter. Ha Was arnwited in
Aclonta and release the simé cay, which wey sonawnere around the beginning 6f Sepcamber.
Aa 4 tucved out, a wazrant on 8 cavil sentmpe prdexr canot exttnd a ond 100 milea free
u met acee or in the sana state, ao he wea ‘wiieh he pointed opt
a Band, the wily gay that ha Mle hun Se ined anritampes charged
hi ke ay cen,

semen DES ATO Whanageisiosn

From: Horx.nv@anC.G0V (egilco Norris JPARC. GOV]
Sent: Wainesday, October 06, 2004 12:57 rt
Ta; Gouthweli, Alenandar

Aumject: Themaa Ware

Sonar 3501-72 |

oo

“ll Merve there been miy developments x the contempt prosecution of
Thomas Ware ines the payinniag af faptenter? f qt 4 Gryptic e-mass Arrow
tqgatiol ne el i

| A co Aichi

Page 35 of 63

Tuesday, February 18, 2025
(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)

Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 173 of 200

Appendix 2—McMahon’s, Sica’s, Tailwind’s, Ramos, Taylor-Swain, DeArcy-Hall,
Livingston, Cabranes, Kearse, Sack’s, Gitner’s, and Hagenau’s coordinated conspiracy to
commit bankruptcy fraud and obstruct justice regarding 02cv2219 (SDNY), 03-93031 (BC
NDGA), 04cr1224 (SDNY), and O05cr1115 (SDNY)—the Hobbs Act Unlawful Debt
Collection Proceedings, to wit: 18 USC §§ 2, 156-57, 371, 924(c), 1201-02, 1341, 1343,
1344, 1346, 1503, 1951, 1956-57, 1958-59, 1961(6)(B), 1962(a-d), and 2071(a), (b), a
pattern of racketeering activities.

Coordinated conspiracy to obstruct justice and conceal Brady actual
innocent exculpatory/impeachment evidence.

In re Group Management Corp. (03-93031)(BC NDGA) (Hagenau, C, J.)
and
Alpha Capital, AG et al., v. GPMT, et al., (02cv2219)(SDNY) (McMahon, J.)

Actual innocent petition filed on 10.20.22.
ripley

RUS] Sea eT team ti caaa sg
Cetra Coton fia

show cause order entered 4 days later show cause order entered 7 days later

Piven Cuda Petr inn tce a steaL | PICT) Ply Setcicarers) Lars Cope aes | angel fa Dacha

esha}

Sle del ee eh ager aed |
Nene ora cem b) tae bead

Page 36 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 174 of 200

Appendix 3--Re: Appellants’ and Appellees’ Consent Joint Jurisdictional Declaration
of Undisputed Material Facts and Stipulated Admissions pursuant to Bankruptcy Rule
9011(b)(1-4) and 28 USC 1927.

Case No. 03-93031

United States Bankruptcy Court (12-17)
For the Northern District of Georgia

(Atlanta Division)

Submitted for Filing on
Tuesday, February 4, 2025, 10:22:21 AM

In re Group Management Corp., Chapter 11

Re: Appellants’ and Appellees’ Consent Joint Jurisdictional
Declaration _of Undisputed Material Facts and Stipulated Admissions

pursuant to Bankruptcy Rule 9011(b)(1-4) and 28 USC 1927 ae

Submitted by:

/s/ Ulysses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260

Utware007@gmail.com
February 4, 2025

'2 The Movants’ challenge to the Bankruptcy Court (NDGA) In re Group Management Corp., 03-93031
Chapter 11 Article III jurisdiction over predatory criminal usury unlawful debts subject matter, GX 1-
4; and (2) challenge to the Article III standing of the 02cv2219 (SDNY) plaintiffs, Atlanta, GA law firm
Kilpatrick, Townsend, & Stockton, LLP clients, see Dkt. 11, unregistered broker-dealers. Cf., Ex. 3,
infra. What legitimate and lawful interest would a United States Bankruptcy Court (Ellis-Monro, C.J. and
Hagenau, C.J.) have in not sua sponte affirmatively confirming the Court’s mandatory unwaivable
constitutional jurisdiction to adjudicate the Dkt. 6, 11, 13, 14, 15, and 16 proceedings with respect to
fundamental constitutional prerequisites—‘“legally protected interest” in criminal usury convertible
promissory notes--in predatory criminal usury unlawful debts, GX 1-4, and (2) the Article III standing of
KTS’ unregistered broker-dealers clients to enforce and/or collect GX 1-4? No legitimate interest exists.
If no legitimate interest exists, then any alleged interest, by definition, must be nefarious, corrupt,
perfidious, and illegitimate—that is, an unlawful interest.

Page 37 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 175 of 200

Table of Contents

STATEMENT OF ULYSSES T. WARE REGARDING ATTEMPTED CONSENT AND IMPLIED
CONSENT OF APPELLEES-RESPONDENTS TO JOINT DECLARATION OF UNDISPUTED

JURISDICTIONAL MATERIAL FACTS |... cee ct eens eines ricer enieessesseeneassaensenteneeseseaseeneeeans 44
CERTIFICATION OF COUNSEL PURSUANT TO BANKRUPTCY RULE 9011(b)(1-4) AND 28

USC. § (SM cocmsnnancmmavrenuimmmaanumann parm an ani TTEM MENTE 46
THE PARTIES’ JOINT DECLARATION OB ........cccccccccccssesseestessseesseeeeesseesseesnessaneseseesnessereseeseesanees 48
UNDISPUTED JURISDICTIONAL MATERTAL FACTS ..... cc ccsccceeeessseeseeeeseeececesenneesesensaneeeenees 48
Certificate of Service........ccccccccsccsssseeeeeeeseneeenaeeteieeeeeeeeenereeneneeeenieennne sete reeneeniesenenennaeeenennaseneeenieasstirenees 16

Exhibit I—Dkt. 278—Barbara Ellis-Monro’s Self-incrimination for conspiracy to obstruct justice
and commit bankruptcy fraud, 18 USC §§ 2, 182, 157,371, 924(c), 1341, 1343, 1344, 1346, 1503,
1951 (a), 1956-57, 1958-59, 1961(6)(B), 1962(a-d), and 2071(a), (b), et. seqs. confessed and admitted
by Barbara Ellis-Monro in her personal and individual capacity as an 18 USC § 1962(d) unindicted
coconspirator having joint and several personal criminal and civil liability in the amount of

AG5,.2225 DUNO, oo... ecccccccesceeessecssessecseessecseesneesnecsecsuecsuesneeeueesnsseenseesecsaeesueeneenesseesneeseseseeueaneenuteeaeaneentenneeaes 18
FEF, _Exhibits—Supplemental Record ..........ccccccssssscsesenseesessesesenseeeserseenseersesstensesesseeraesesonerseeseteessneeses 19

Exhibit 1—Dkt. 65, Aug. 13, 2003, Sand, J.) (deceased), 02cev2219 (SDNY): Unappealed Judicial ruling
(collateral, equitable, and judicial estoppel) of 15 USC §78p(b) statutory insider status (disgorgement of
all profits requirement to the Chapter 11 estate) for cach of KTS’ weregistered broker-dealer clients (sce
Ex, 3, infra) with respect to the Chapter 11 debtor’s, Group Management Corp.’s, publicly-traded equity
SGUIIDNGS coon ana cs ee ETT RENTERS 20

Ex. 1—(DIet. 65, 02cv2219)—(18 USC § 1961(1) Racketeering Overt and Predicate Act) Aug. 13,
2003, Dkt. 65 02cv2219 (SDNY), Sand, J. (deceased) binding judicial ruling and court order—
Judge Sand in ex parte communications found each KTS client to be a 15 USC § 78p(b) statutory
insider of Group Management Corp, and therefore triggered the Section 16(b\/11 USC §542(a)
disgorgement/turnover requirement, which was not appealed by KTS’ clients, and is therefore, ipso
facto, as a matter of law and fact ves judicata and collateral estoppel against KTS, Ki adaba, the
SBGA, NeSmith, Fredrick, Hagenau, and the 03-93031 (BC NDGA) bankruptcy court pursuant to

I ee EGE, ovece sxnvacusccceecsavsrsscectuatenceunssanssaricaniertsaassnusteavatd naneatersciTessventwerstecnteaseacteniees 21

Exhibit 2--Dkt. 90 (Binding Final Judgment)—02cv2219 (SDNY) Prevailing Parties Chapter | 1 Debtor
Group Management and 11 USC §1109(b) statutory party in interest Ulysses T. Ware’s Final Judgment—
December 20, 2007, Dkt. 90, Case No. 02cv2219 (SDNY), District Judge Leonard B. Sand, Fed. R. Civ.
P. Rule 41(a)(2) voluntary, ex _parte Dismissal with Prejudice of the 02cv2219 (SDNY) Lawsuit After the
Statute of Limitation Had Run on All Claims Final Judgment conferred final judgment prevailing
party status on Group Management and Ulysses Ty Ware. .........cccecsecseesiessssssiersnessesesnsnesneneasssessnnnaes 23

Exhibit 3—FINRA’s May 17, 2021, binding regulatory factual finding of unregistered broker-
dealer status for ITS’ clients who fraudulently appeared in the 03-93031 Chapter 11, see Dkt. 11,
15, and 16 via KTS’ lawyers Dennis S. Meir and John W. Mills, officers of the court, pursuant to
and in violation of 18 USC §§ 2, 152, 157, 371, 1951(a), 1956-57, 1961(6)(B), and 1962(a-d)—a

pattern of racketeering activities. Actual innocent Brady exculpatory evidence..............ceee 25
Exhibit 4 Sweet, J., U.S. ». Ware, 04cr1224 (SDNY) Brady disclosure court order, Dkt, 32......ccccee 26
Page 38 of 63

Tuesday, February 18, 2025
(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 176 of 200

Exhibit 5—U.S. v. Ware, 04cr1224 (SDNY), Nov. 2007, Tr. 204-06, sworn testimony of KTS’ clients’
official agent, unregistered investment advisor and unregistered broker-dealer Arie Rabinowitz confessing
to being unregistered broker-dealers.......cccccccccscceccucesssvsecsevesuesvceuesseuueueusecsueuucauceuseuseuseueeveuausseueeusausuusauansenes 29

Exhibit 6—02cv2219 (SDNY) plaintiffs’ (IKTS’ clients’) complaint’s judicial admissions and confessions
(res judicata and collateral estoppel) of 15 USC §77b(a)(11) statutory underwriters of Group
Management’s securities. Para. 12-13 pleaded KTS’ clients out of the federal COUITS...........:cccseeeereeeeeees 30

Exhibit 7—extreme armed and potentially deadly violence perpetrated against the Debtor and its agent in
fact Ulysses T. Ware in furtherance to their conspiracy to collect criminal usury debts (GX_ 1-4) in
violation of NYS Penal Law, section 190.40 and federal RICO law 18 USC §§ 1951(a). 1961(6)(B), and

1962(a-d)—a pattern of racketeering Activities, ....ccccccccseessscssesscsscsscssersssscsessessnsevsvscsecsesscevsecceruseusususaseeees 31
Supplemental Appendices 0.0.00... ccc ccc cesses cseeeeseesnecssssseecsssseesisssneeecssersecassssseaanenesseeeneaaay 31

Appendix 1—U.S. Marshals note given to Ulysses T. Ware on Sept. 12, 2024, in Brooklyn, NY at 10:17
AM, during the unlawful, armed, forced entry into Mr. Ware’s residence while the Marshals lacked a
lawful search warrant, arrest warrant, or lawful legal process; aided, abetted, assisted, enabled, and

facilitated by the property Manager, ......ccecsessessrsscscssencesseceessersessneesesessseaeseessceneeesisecseceuesnseesnesetaeseees 32

A. Sept. 12, 2024, 10:17 AM, Brooklyn, NY alleged U.S. Marshals (SDNY) Plummer, Morton,
and Belriz outside of Mr. Ware’s residence regarding a fraudulent referral by former (SDNY)
magistrate Judge Michel H. Dolinger and Colleen McMahon regarding a lawful Fed. R. Civ. P. Rule
11(b)(1-4) Prefiling Investigation concerning imminent RICO and 18 USC 1961(6)(B) unlawful,
armed debt collection activities, related to U.S. v. Ware, O5cr1115 (SDNY),04erl1224, and 02cv2219
(SDNY): and Jn re Group Management Corp.., 03-9303 1 (BC NDGA), to wit: GX 1, GX 2, GX, 3,
and GX 4—the NYS Penal Law, section 190.40, null and void ab initio criminal usury unlawful
debts—the Marshals with the assistance of the property manager broke into Mr. Ware’s residence
while armed and without any warrant, or lawful process—a potentially deadly encounter, to
intimidate, bully, threaten, and force Mr. Ware into giving up and abandoning his and Grou
Managenient’s legal rights as 11 USC § 1109(b) statutory parties in INterest. ....cccccesssesssseesersevseesenes 33

B. Sept. 1, 2004, Atlanta, GA armed, forced, unlawful entry—potentially deadly, into Mr. Ware's
law office without any lawful warrant by persons impersonating U.S. Marshals—HUobbs Act
conspiracy to collect the criminal usury unlawful debts, GX 1, GX 2, GX 3, and GX 4—government
trial exhibits in U.S. v. Ware, 04cr1224 (SDNY), and plaintiffs’ exhibits in 02cv2219 (SDNY), and
in In re Group Management Corp., 03-9303 1 (BC NDGA) Chapter 11, .........:cccesssesserseeereseeseeesseees 34

C. Actual innocent dispositive Brady exculpatory and impeachment evidence deliberately,
intentionally, and in bad faith suppressed and concealed by AUSA Alexander H. Southwell, Steven
D. Feldman, Nicholas S$. Goldin, Maria E. Douvas, Sarah E. Paul, Katherine Polk-Failla, David N.
Kelley, Michael J. Garcia, Robert W. Sweet, (deceased), Colleen McMahon, Leonard B. Sand,
(deceased), William H. Pauley, I (deceased), Robert A. Katzmann (deceased), Jose A. Cabranes,
Edgardo Ramos, Laura Talor-Swain, Amalya L. Kearse, Robert D. Sack, Damian Williams, Daniel
Gitner, Won Shin, Andrea Griswold, Daniclle Sassoon, Hagan Scotten, Jun Xiang, Michael H.
Dolinger, and other Unindicted Coconspirators........::ccceeeeeee éfeisetawsitaroonnaainreianiwanesiareccreneuneTnes 35

Appendix 2—McecMahon’s, Sica’s, Tailwind’s, Ramos, Taylor-Swain, DeArcy-Hall, Livingston,
Cabranes, Kearse, Sack’s, Gitner’s, and Hagenau’s coordinated conspiracy to commit bankruptey fraud
and obstruct justice regarding 02cv2219 (SDNY), 03-93031 (BC NDGA), 04cr1224 (SDNY), and
05cr1115 (SDNY)—the Hobbs Act Unlawful Debt Collection Proceedings, to wit: 18 USC §§ 2, 156-

Page 39 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 177 of 200

57, 371, 924(c), 1201-02, 1341, 1343, 1344, 1346, 1503, 1951, 1956-57, 1958-59, 1961(6)(B), 1962(a-

d), and 2071(a), (b), a pattern of racketeering ACtIVITICS, ..........:ccceesceseecesneesereceneeseseeecereteseneteeneverseeesnaees 36
Find Of COCUMENL .........cceccecceececccseneeeeeeeecceceenscesecseeeeseeeaeeeeeseetenssussaeaauuaeseeaesaeasasaseeeneceecssauenuaaesneaueueesaeaaeaaea 37
Page 40 of 63

Tuesday, February 18, 2025
(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)

Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 178 of 200

The Office of Ulysses T. Ware

123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
Utware007@gmail.com

February 4, 2025, 10:22:21 AM

VIA ELECTRONIC FILING and U.S. mail

The Honorable Barbara Ellis-Monro
Chief Judge

United States Bankruptcy Court
Northern District of Georgia
Atlanta Division

1431 United States Courthouse

75 Ted Turner Drive, S.W.

Atlanta, Georgia 30303

Re: In re Group Management Corp., Chapter 11, Case No. 03-93031 (WLH) — Appellants-
Movants’ Rule 9014/12(h)(3) Jurisdictional Notice of Appeal (Part 14-10) — Submission of
The Parties’ Joint Declaration of Undisputed Jurisdictional Material Facts.

Your Honor:

Appellants-Movants Group Management and Ulysses T. Ware, and Appellees-
Respondents Kilpatrick Townsend & Stockton LLP, its Unregistered Broker-Dealer clients, et al.
respectfully submit the enclosed The Parties’ Consent Joint Declaration of Undisputed
Jurisdictional Material Facts for the Court’s consideration in connection with the pending Jan.
Rule 9014/12(h)(3) Jurisdictional Notice of Appeal (Part 14-10) filed by Appellants-Movants on
January 30, 2025, via email and the U.S. mail addressed to the Hon. Barbara Ellis-Monro. This
Joint Declaration, titled “Re: Appellants’ and Appellees’ Consent Joint Jurisdictional
Declaration of Undisputed Material Facts and Stipulated Admissions pursuant to
Bankruptcy Rule 9011(b)(1-4) and 28 USC § 1927,” represents a collaborative effort by all

parties to streamline the pending “sua sponte” required Article III constitutional jurisdictional

Page 41 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document5-14 Filed 03/07/25 Page 179 of 200

inquiry before this Honorable Court and to facilitate a focused and efficient resolution of the

critical Article III standing and subject matter jurisdiction issues raised in the Notice of Appeal.

The enclosed Joint Declaration meticulously sets forth thirty-five (35) discrete and material
Article III jurisdictional facts, each drawn directly from the Record before this Honorable Court
in the 03-93031 Bankruptcy Case and the related 02cv2219 (SDNY) Litigation. These facts, as
jointly declared and stipulated by Appellants-Movants and Appellees-Respondents, are
undisputed and readily verifiable by reference to the cited docket entries and exhibits. The
purpose of this Joint Declaration is to provide the Court with a clear, concise, and agreed-upon
factual foundation upon which to conduct its mandated “sua sponte” threshold determination of
Article [II subject matter jurisdiction and standing, as unequivocally required by controlling
Supreme Court precedent, Steel Co., 523 U.S. at 93-95 and Great Southern Fire Proof, 177 U.S.
at 453.

Appellants-Movants respectfully submit that the Undisputed Material Facts contained
within the Joint Declaration compellingly support the reliefs requested in their Rule 9014/12(h)(3)
Notice of Appeal (Part 14-10), and demonstrate, with undeniable clarity, the manifest absence
of Article III standing for Appellees-Respondents KTS Clients, Unregistered Broker-Dealers, to
assert claims in this Chapter 11 proceeding. This Joint Declaration is submitted in good faith,
pursuant to the certifications of counsel included therein and in furtherance of Bankruptcy Rule
9011(b)(1-4) and 28 U.S.C. § 1927, to promote judicial economy, expedite the resolution of
threshold jurisdictional issues, and facilitate the just, efficient, and lawful adjudication of this

protracted and complex matter.

RESPECTFULLY SUBMITTED,
For Appellants-Movants: GROUP MANAGEMENT and Ulysses T. Ware
/s/ Ulysses T. Ware

Submitted by:

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

Page 42 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 180 of 200

(718) 844-1260
Utware007@egmail.com
February 4, 2025

With implied consent pursuant to Bankr. Rule 9011(b)(1-4): Counsel for Appellees-
Respondents Kilpatrick Townsend & Stockton LLP and its Unregistered Broker-Dealer
Clients.

/s/ Wab Kadaba, Esq.,

/s/ J. Henry Walker, IV, Esq.

End of Declaration

Page 43 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 181 of 200

STATEMENT OF ULYSSES T. WARE REGARDING
ATTEMPTED CONSENT AND IMPLIED CONSENT OF
APPELLEES-RESPONDENTS TO JOINT DECLARATION OF
UNDISPUTED JURISDICTIONAL MATERIAL FACTS

I, Ulysses T. Ware, counsel for Appellants-Movants Ulysses T. Ware and Group Management,
hereby state the following to this Honorable Bankruptcy Court:

1. Contact with Counsel for Appellees-Respondents: On February 3, 2025, counsel for
Appellants-Movants contacted Wab Kadaba, Esq. and J. Henry Walker, IV, Esq., of
Kilpatrick Townsend & Stockton LLP, counsel for Appellees-Respondents Kilpatrick
Townsend & Stockton LLP and its Unregistered Broker-Dealer clients, via electronic mail.

2. Service of Joint Declaration of Undisputed Material Facts: Attached to said electronic
mail communication, Appellees-Respondents’ counsel, Wab Kadaba, Esq. and J. Henry
Walker, IV, Esq., were served with a copy of the document titled “(12-13—D2) (Part 14-
13—D2) re: Memorandum of Fundamental Constitutional Legal Error—Nullity of Dkt.
28, 256, 258, 263, 274, 275, and 278.”

3. Request for Oppositional Response or Challenge: In said electronic mail
communication to Appellees-Respondents’ counsel, Wab Kadaba, Esq. and J. Henry
Walker, IV, Esq., Appellants-Movants’ counsel requested that Appellees-Respondents file
any oppositional response or challenge to the factual contents of the Joint Declaration,
including any Declaration of Fact and supporting Memorandum of Law, no later than
3:00 PM Eastern Standard Time on Monday, February 3, 2025.

4. Absence of Response as of February 4, 2025: As of the date of this Statement, February
4, 2025, Appellants-Movants have received no response, oppositional pleading,
Declaration of Fact, or supporting Memorandum of Law from Appellees-Respondents’
counsel, Wab Kadaba, Esq. and J. Henry Walker, IV, Esq., or from Kilpatrick Townsend
& Stockton LLP or KTS Clients, in regard to the aforementioned electronic mail
communication and the proposed Joint Declaration.

5. Implied Consent of Appellees-Respondents: By virtue of Appellees-Respondents’

counsel’s failure to provide any oppositional response or challenge to the factual contents

Page 44 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 182 of 200

of the Joint Declaration by the clearly communicated deadline, Appellants-Movants
respectfully submit that Appellees-Respondents, including Kilpatrick Townsend &
Stockton LLP and its Unregistered Broker-Dealer clients, have impliedly consented to the
factual contents of the Joint Declaration and to its submission to this Honorable Court as a

Joint Declaration of Undisputed Material Facts.

Respectfully submitted,

/s/ Ulysses T. Ware
Ulysses T. Ware
Counsel for Appellants-Movants Ulysses T. Ware and Group Management

Dated: February 4, 2025

Page 45 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 183 of 200

CERTIFICATION OF COUNSEL PURSUANT TO

BANKRUPTCY RULE 9011(b)(1-4) AND 28 U.S.C. § 1927.

I, Ulysses T. Ware, counsel for Appellants-Movants Mr. Ulysses T. Ware and Group Management
Corp., and Wab Kadaba Esq. and J. Henry Walker, IV, Esq., counsel for Appellees-Respondents
Kilpatrick Townsend & Stockton LLP and its Unregistered Broker-Dealer Clients, hereby jointly
certify to this Honorable Bankruptcy Court, pursuant to Rule 9011(b)(1-4) of the Federal Rules of
Bankruptcy Procedure and in furtherance of the spirit of 28 U.S.C. § 1927, as follows:

1.

Joint Certification of Pleading: This Certification pertains to the attached pleading titled
“Joint Declaration of Undisputed Material Facts in Support of the Appellants' requested
Reliefs taken from the Record before the Court” (the “Joint Declaration”), submitted in
support of Appellants-Movants’ Rule 9014/12(h)(3) Notice of Appeal (Part 14-10) in the
above-captioned matter, and further relating to the Appellants-Movants’ Memorandum of
Law in Support of Rule 9014/12(h)(3) Notice of Appeal.

Rule 9011(b) Certification Regarding Factual Contentions: We, as undersigned
counsel, hereby jointly certify, to the best of our respective knowledge, information, and
belief, that the factual contentions presented in the attached Joint Declaration are warranted
by the evidentiary record before this Honorable Court, and comply with the requirements
of Bankruptcy Rule 9011(b)(1)-(4), specifically:

a. Rule 9011(b)(1) — Proper Purpose: The Joint Declaration is not being presented for
any improper purpose, such as to harass, cause unnecessary delay, or needlessly increase
the cost of litigation. The Joint Declaration is presented in good faith to promote judicial
economy, expedite the resolution of threshold jurisdictional issues, and facilitate the just,
efficient, and lawful adjudication of this protracted and complex matter.

b. Rule 9011(b)(2) — Legal Contentions Warranted: While the Joint Declaration
primarily sets forth factual contentions, the underlying legal positions advanced by
Appellants-Movants in their Rule 9014/12(h)(3) Notice of Appeal and Memorandum of
Law, to which this Joint Declaration relates, are warranted by existing law, specifically
controlling Supreme Court and Second Circuit precedent regarding Article III standing,
subject matter jurisdiction, res judicata, collateral estoppel, and the void ab initio nature
of contracts executed by unregistered broker-dealers and predicated upon predatory null
and void ab initio, unenforceable criminally usurious loans, GX 1-4.

c, Rule 9011(b)(3) — Factual Contentions Evidentiary Support: The factual contentions
presented in the Joint Declaration are based on and supported by the evidentiary record
before this Honorable Court in the 03-93031 Bankruptcy Case and the related 02cv2219
(SDNY) Litigation, as explicitly referenced and cited within the Joint Declaration itself.

d. Rule 9011(b)(4) — Denials of Factual Contentions Warranted: To the extent the Joint
Declaration may implicitly or indirectly deny any factual contentions not explicitly

Page 46 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 184 of 200

addressed therein, such implicit denials are warranted on the evidence and are reasonably
based on a lack of information sufficient to form a belief as to the truth of the matter, or
are otherwise based on a good faith and reasonable interpretation of the available evidence.

3. 28 U.S.C. § 1927 Certification (Spirit of Promoting Judicial Efficiency): In the spirit
of promoting judicial efficiency and avoiding the unreasonable and vexatious
multiplication of proceedings, as contemplated by 28 U.S.C. § 1927, we further jointly
certify that the Joint Declaration is presented in a good faith and collaborative effort by all
parties to streamline the litigation, to focus the Court’s attention on dispositive threshold
jurisdictional issues, and to facilitate the just, efficient, and lawful resolution of this
protracted and complex matter, thereby avoiding further unnecessary and potentially
vexatious litigation.

This Certification is made in good faith, under penalty of perjury, and in compliance with the
requirements of Bankruptcy Rule 9011(b) and the spirit of 28 U.S.C. § 1927.

Respectfully certified, this 4" day of February 2025.

/s/ Ulysses T. Ware

Ulysses T. Ware

Counsel for Appellants-Movants Mr. Ulysses T. Ware and Group Management Corp.
The Office of Ulysses T. Ware

123 Linden Blvd., Ste 9-L

Brooklyn, NY 11226

(718) 844-1260

Utware007@gmail.com

With implied consent pursuant to Bankr. Rule 9011(b)(1-4):

Counsel for Appellees-Respondents Kilpatrick Townsend & Stockton LLP and its
Unregistered Broker-Dealer Clients.

/s/ Wab Kadaba, Esq.,

/s/ J. Henry Walker, IV, Esq.

Page 47 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 185 of 200

Case No. 03-93031
United States Bankruptcy Court (12-17)
For the Northern District of Georgia
(Atlanta Division)

In re Group Management Corp., Chapter 11
(Part 14-17) re: The Parties' (Appellants' and Appellees) Consent Joint Declaration of Undisputed
Jurisdictional Material Facts in Support of the Appellants' requested Reliefs taken from the Record

before the Court. See Exhibits infra.

THE PARTIES’ JOINT DECLARATION OF
UNDISPUTED JURISDICTIONAL MATERIAL FACTS

I Ulysses T. Ware, on behalf of myself, the Chapter 11 Debtor, Group Management,
Appellants, and the Appellees, with implied consent, hereby this 4" day of February 2025, under
oath, subject to the penalty of perjury, having personal knowledge of the facts, pursuant to 28 USC
§ 1746 have made the Parties’ Joint Declaration of Undisputed Jurisdictional Facts, in Brooklyn,

NY, and state the following Jurisdictional Facts.

The following are declared as undisputed material facts, readily verifiable by reference to the
Record before this Honorable Bankruptcy Court in In re Group Management Corp., Case No. 03-
93031 (WLH) Chapter 11 (the “03-93031 Bankruptcy Case”) and the related proceedings in the
United States District Court for the Southern District of New York, Case No. 02cv2219 (SDNY)

(the “02cv2219 (SDNY) Litigation”). These facts are jointly submitted by Appellants-Movants

Page 48 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 186 of 200

Group Management Corp. and Ulysses T. Ware (“Appellants-Movants”) and Appellees-
Respondents Kilpatrick Townsend & Stockton LLP and its Unregistered Broker-Dealer clients
(““Appellees-Respondents”) in support of the Appellants-Movants’ Rule 9014/12(h)(3) Notice of

Appeal (Part 14-10) and the reliefs requested therein.

1, On March 18, 2003, Group Management Corp. (“GPMT” or “Debtor’), a corporation
engaged in interstate commerce, filed a voluntary petition for relief under Chapter 11 of
the Bankruptcy Code, commencing the In re Group Management Corp., Case No. 03-
93031 (BEM) Bankruptcy Case in the United States Bankruptcy Court for the Northern
District of Georgia, Atlanta Division. This filing initiated the underlying bankruptcy
proceedings that are the subject of the present jurisdictional appeal.

2. On April 10, 2003, Kilpatrick Townsend & Stockton LLP (“KTS”), and attorneys Dennis
S. Meir, Esq., and John W. Mills, III, Esq., of that firm, filed a formal Entry of Appearance,
Docket Entry 11, in the 03-93031 Bankruptcy Case, entering their appearance as “Counsel”
for Alpha Capital Aktiengesellschaft, Amro International, S.A., Markham Holdings, Ltd.,
and Stonestreet Limited Partnership (collectively, “KTS Clients”). This document marked
the formal commencement of KTS Clients’ participation in the bankruptcy proceedings.

3. Prior to their entry of appearance in the 03-93031 Bankruptcy Case, KTS Clients were
plaintiffs in a related civil action, Case No. 02cv2219 (SDNY), filed in the United States
District Court for the Southern District of New York, against Group Management Corp.,
Ulysses T. Ware, and other defendants, asserting claims related to certain loan agreements

and convertible promissory notes, GX 1-4. This related litigation in the Southern District

Page 49 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 187 of 200

of New York, Case No. 02cv2219 (SDNY), preceded and gave rise to KTS Clients’
involvement in the 03-93031 Bankruptcy Case.

4, On December 20, 2007, in the 02cv2219 (SDNY) action, the Honorable Leonard B. Sand,
a Senior United States District Judge for the Southern District of New York, entered a Final

Judgment, Docket 90, granted a voluntary dismissal with prejudice of the 02cv2219

(SDNY) action pursuant to Federal Rule of Civil Procedure 41(a)(2), concluding the
litigation in that forum. This Final Judgment terminated the 02cv2219 (SDNY) litigation
and adjudicated the claims asserted therein.

5. The Dec. 20, 2007, Rule 41(a)(2) voluntary dismissal with prejudice in the 02cv2219

(SDNY) action, formalized in Judge Sand’s Docket 90 Final Judgment, was entered after

the expiration of the applicable New York statute of limitations on all claims asserted in

the complaint, a fact that is evident from the procedural history and timing of the dismissal
relative to the commencement of the 02cv2219 (SDNY) litigation. The expiration of the
statute of limitations prior to the voluntary dismissal is a material fact within the 02cv2219
(SDNY) record—a final judgment on the merits for the Chapter 11 Debtor, Group
Management and Ulysses T. Ware, Esq. (the “Final Judgment Prevailing Parties”).

6. The predatory null and void ab initio unlawful debt loan agreements underlying KTS
Clients’ claims in the 03-93031 Bankruptcy Case, specifically Exhibits GX 1, GX 2, GX
3, and GX 4, which are part of the evidentiary record in the Bankruptcy Court, explicitly

stipulate annual interest rates exceeding 2000% per annum, as clearly stated within the

four corners of those loan documents. These exorbitant interest rates are facially apparent

from the loan agreements themselves.

Page 50 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 188 of 200

7. The Office of the United States Trustee, Region 21, an agency of the United States
Department of Justice charged with overseeing bankruptcy administration, filed
submissions in the 03-93031 Bankruptcy Case, specifically Docket Entry 6 (entry of
appearance), and Dkt. 13 a Motion to Dismiss, and pleading in support of dismissal, both
of which relate to the administration and potential dismissal of the Chapter 11 case. These
filings by the U.S. Trustee form part of the official record of the 03-93031 Bankruptcy
Case.

8. Docket Entry 11 in the 03-93031 Bankruptcy Case, the Entry of Appearance filed by
Kilpatrick Townsend & Stockton LLP on behalf of KTS Clients, identifies the clients as
Alpha Capital Aktiengesellschaft, Amro International, S.A., Markham Holdings, Ltd., and
Stonestreet Limited Partnership, and is signed by attorneys Dennis S. Meir and John W.
Mills, IJ, of Kilpatrick Townsend & Stockton LLP, establishing their formal
representation of KTS Clients. This document is the initial pleading establishing KTS
Clients' presence in the Bankruptcy Court and the initiation of the conspiracy to commit
bankruptcy fraud—the first racketeering overt and predicate act in 03-93031.

9, Docket Entry 15 in the 03-93031 Bankruptcy Case, the Emergency Motion to Dismiss or,
in the Alternative, for Relief from the Automatic Stay, filed by Kilpatrick Townsend &
Stockton LLP on behalf of KTS Clients, explicitly seeks affirmative “redressable” relief
from the Bankruptcy Court, requesting either dismissal of the entire Chapter 11 case or,
alternatively, relief from the automatic stay to allow KTS Clients to pursue remedies
outside of bankruptcy—that is, criminal usury unlawful debt collection regarding GX 1-4,

in violation of 18 USC §1961(6)(B). This motion demonstrates KTS Clients' Hobbs Act

Page 51 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 189 of 200

racketeering active pursuit—overt and predicate acts of racketeering, of their claims within
the Bankruptcy Court—that is, Hobbs Act 18 USC §§ 1951(a) and 1961(6)(B) unlawful
debt collection activities.

10. Docket Entry 16 in the 03-93031 Bankruptcy Case, the Brief in Support of the Emergency
Motion to Dismiss or, in the Alternative, for Relief from the Automatic Stay filed by
Kilpatrick Townsend & Stockton LLP on behalf of KTS Clients, provides the detailed legal
and factual arguments underpinning KTS Clients’ criminal usury unlawful debt collection
motion, further elaborating on their position and requested ultra vires relief before the
Bankruptcy Court. This brief is a substantive legal document filed in support of KTS
Clients' unlawful debt, and criminal usury claims.

11. In Docket Entries 15 and 16, Kilpatrick Townsend & Stockton LLP, acting as legal counsel
for KTS Clients, fraudulently, repeatedly, and affirmatively represented KTS Clients to the
Bankruptcy Court as “creditors of the Debtor,” asserting their purported status as legitimate
claimants in the Chapter 11 proceedings. This representation of creditor status forms a
central basis for KTS Clients’ arguments in Dkts, 15 and 16—overt and predicate acts of
racketeering activities.

12, In Docket Entries 15 and 16, Kilpatrick Townsend & Stockton LLP, again acting as legal
counsel for KTS Clients, explicitly represented to the Bankruptcy Court that KTS Clients’
claims are based on “criminal usury convertible promissory notes,” (paraphrased) directly
acknowledging the criminal usury nature of the underlying debt instruments. This

representation is a binding judicial factual assertion made by KTS in court filings.

Page 52 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 190 of 200

13. In Docket Entries 15 and 16, Kilpatrick Townsend & Stockton LLP, continuing to act as
legal counsel for KTS Clients, further represented to the Bankruptcy Court that KTS
Clients’ claims are based on “criminal usury contracts,” (paraphrased) GX 1-4, reiterating
the characterization of the loan agreements as criminally usurious. This representation is a
factual assertion made by KTS in court filings.

14, In Docket Entries 15 and 16, Kilpatrick Townsend & Stockton LLP, acting in their capacity
as legal counsel for KTS Clients, explicitly and implicitly represented to the Bankruptcy
Court that KTS Clients’ claims are part of a “Hobbs Act...conspiracy to commit
bankruptcy fraud,” directly admitting to the alleged criminal and conspiratorial nature of
the underlying debt ectieorton efforts. This representation is a factual assertion made by
KTS in court filings, acknowledging potential criminal conduct.

15. Marcia E. Asquith, Executive Vice President, Board and External Relations, of the
Financial Industry Regulatory Authority (“FINRA”), a congressionally authorized self-
regulatory organization, issued a formal Certification of No FINRA Business Records,
dated May 17, 2021, based upon a diligent search of FINRA’s official records and
databases. This certification is a documented finding by FINRA.

16, FINRA’s May 17, 2021, Certification of No FINRA Business Records, a formal regulatory
determination, unequivocally confirms that FINRA has no record of Alpha Capital, AG,
Stonestreet, L.P., Markham Holdings, Ltd., Amro International, S.A., and LH Financial
Services being registered with FINRA as broker-dealers. This absence of registration is

explicitly certified by FINRA.

Page 53 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 191 of 200

17. Chief Judge Barbara Ellis-Munro, Chief Judge of the United States Bankruptcy Court for
the Northern District of Georgia, Atlanta Division, issued a letter, Docket Entry 278, dated
January 27, 2025, in the 03-93031 Bankruptcy Case, which is part of the official record of
the proceedings. This letter is a formal communication from the Chief Judge in the case.

18. In her Docket Entry 278 letter, Chief Judge Ellis-Munro explicitly acknowledged receiving

“over one hundred emails and attachments” from Mr. Ulysses T. Ware since “May 29,

2024,” directly referencing the jurisdictional challenges raised by Mr. Ware, This

acknowledgment is a direct admission, confession, and self-incrimination of numerous

federal felony offenses within a formal court document.

19. Docket Entry 278 explicitly states that Chief Judge Ellis-Munro “had not, was not, and had
no intentions of docketing or filing Mr. Ware’s and/or the Chapter 11 Debtor’s challenges
to the Article III standing of KTS’ unregistered broker-dealer clients,” (paraphrased)
despite acknowledging receipt of numerous pleadings and emails raising these issues. This
statement is an explicit declaration, judicial admission, and confession within a formal
court document.

20. Docket Entry 278 explicitly references and reiterates findings contained in ultra vires, moot
prior orders entered by now-retired Judge Wendy L. Hagenau, specifically identifying
Docket Entries 256 and 275 as orders being reaffirmed, accorded preclusive effect, and
relied upon. This reference to prior orders is explicitly stated in Dkt. 278.

21. Docket Entry 278 explicitly states, in its concluding sentence, “This letter will be docketed.
The case remains closed,” indicating Chief Judge Ellis-Munro’s fraudulent intention to

maintain the closure of the 03-93031 Bankruptcy Case—an overt and predicate act of

Page 54 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 192 of 200

racketeering activity, conspiracy to obstruct justice, despite the pending Article III
jurisdictional appeal (Part 14-10). This statement is an explicit declaration of the Court's
fraudulent position within Dkt, 278.

22. Docket Entry 256, referenced in Docket Entry 278, is an ultra vires, null and void ab initio
purported order issued by former Chief Judge Wendy L. Hagenau in the 03-93031
Bankruptcy Case, addressing Mr. Ware’s email communications with the Court and
imposing certain restrictions related to those communications. This description accurately
identifies Dkt. 256.

23. Docket Entry 275, also referenced in Docket Entry 278, is an ultra vires, null and void ab
initio purported order issued by former Chief Judge Wendy L. Hagenau in the 03-9303 1
Bankruptcy Case, restricting Mr. Ware’s ability to file documents and pleadings in the 03-
93031 Bankruptcy Case. This description accurately identifies Dkt. 275.

24. Docket Entry (Part 14-10) in the 03-93031 Bankruptcy Case is the Notice of Appeal filed
by Appellants-Movants Ulysses T. Ware and Group Management Corp. on January 30,
2025, formally initiating the present jurisdictional appeal. This docket entry is the formal
Notice of Appeal in the case.

25. Appellants-Movants’ Notice of Appeal (Part 14-10) explicitly challenges the Article III
subject matter jurisdiction of the Bankruptcy Court over claims predicated upon predatory
criminal usury debts, GX 1-4, as documented in the Notice of Appeal itself. This

jurisdictional challenge is a central argument of the Notice of Appeal.

Page 55 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 193 of 200

26. Appellants-Movants’ Notice of Appeal (Part 14-10) explicitly challenges the Article III
standing of KTS Clients as unregistered broker-dealers, as documented in the Notice of
Appeal itself. This standing challenge is a central argument of the Notice of Appeal.

27. Appellants-Movants’ Notice of Appeal (Part 14-10) explicitly objects to the premature
preclusive effect afforded to prior orders, Docket Entries 256 and 275, absent affirmed
jurisdiction in the 03-93031 Bankruptcy Case, as documented in the Notice of Appeal
itself. This objection to preclusive effect is a central argument of the Notice of Appeal.

28. The legal arguments presented in Appellants-Movants’ Memorandum of Law in Support
of Rule 9014/12(h)(3) Notice of Appeal (Part 14-13) are predicated upon controlling
Supreme Court precedent, including Steel Co. v. Citizens for a Better Environment, 523
U.S. 83 (1998), and Great Southern Fire Proof Hotel Co. v. Jones, \77 U.S. 449 (1900).
These Supreme Court precedents are central to Appellants-Movants' legal arguments.

29. The legal arguments presented in Appellants-Movants’ Memorandum of Law in Support
of Rule 9014/12(h)(3) Notice of Appeal (Part 14-13) rely upon the void ab initio nature of
contracts, GX 1-4, and GX 5, executed and performed by unregistered broker-dealers under
15 U.S.C. § 78cc(b) and the void ab initio nature of criminally usurious contracts under
New York Penal Law § 190.40. These legal principles form the core legal framework of
Appellants-Movants' arguments.

30. Appellants-Movants seek, as primary relief in their Notice of Appeal (Part 14-10), a “Sua
Sponte” Threshold Determination by the Bankruptcy Court of Article III Subject Matter

Jurisdiction and Standing of KTS Clients, Unregistered Broker-Dealers, as explicitly

Page 56 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 194 of 200

requested in the Notice of Appeal itself. This threshold jurisdictional determination is the
primary relief sought by Appellants-Movants.

31. Voluntary Judicial Action by Judge Sand: Rule 41(a)(2) Dismissal: The December 20,
2007, Final Judgment, Docket 90 in the 02cv2219 (SDNY) litigation, was effectuated by a
voluntary judicial action of the Honorable Leonard B. Sand, United States District Judge,
through a dismissal with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(2),
indicating a deliberate and considered judicial act by Judge Sand. This dismissal was not
automatic or ministerial, but a deliberate action by the presiding judge.

32. Voluntary Dismissal After Statute of Limitations Expired: Finality Emphasized: The
voluntary dismissal with prejudice, formalized in Judge Sand’s Docket 90 Final Judgment,
was strategically entered by KTS Clients after the expiration of the applicable New York
statute of limitations on all claims asserted in their 02cv2219 (SDNY) complaint, a
temporal fact that legally underscores the final and conclusive nature of the dismissal as a
judgment on the merits. The timing of the dismissal, post-statute of limitations, is a legally
significant and undisputed fact.

33, Rule 41(a)(2) Voluntary Dismissal as Final Judgment on the Merits by Operation of
Law: As a matter of established federal procedural law, a voluntary dismissal with
prejudice under Federal Rule of Civil Procedure 41(a)(2), when entered after the statute of
limitations has run on all claims in the complaint, operates ipso facto as a final judgment
on the merits in favor of the defendants, Group Management Corp. and Ulysses T. Ware,
in the 02cv2219 (SDNY) action. This is a direct legal consequence dictated by procedural

rules and precedents.

Page 57 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 195 of 200

34, Final Judgment Prevailing Party Status Conferred on Group Management and
Ulysses T. Ware by Operation of Law: By operation of law and the definitive legal effect
of a Rule 41(a)(2) voluntary dismissal with prejudice after the statute of limitations has
expired, the December 20, 2007, Final Judgment, Docket 90 in 02cv2219 (SDNY),
unequivocally conferred Final Judgment Prevailing Party status upon the defendants in that
action, namely Group Management Corp. and Ulysses T. Ware. This prevailing party status
is a direct legal consequence of the judgment.

35. December 20, 2007, Final Judgment as Res Judicata Bar to Relitigation by KTS
Clients: The December 20, 2007, Rule 41(a)(2) voluntary final judgment, Docket 90 in
02cv2219 (SDNY), entered in favor of Group Management Corp. and Ulysses T. Ware,
operates as res judicata (claim preclusion), barring KTS Clients from relitigating or
reasserting any claims arising from the same underlying transactions and subject matter in
any subsequent proceeding, including the 03-93031 Bankruptcy Case, before this
Honorable Bankruptcy Court. The preclusive effect of the Final Judgment is a direct legal
consequence of res judicata.

36. Chief Judge Ellis-Monro’s Refusal to Docket Jurisdictional Challenges (Dkt. 278): In
her Docket Entry 278 letter, dated January 27, 2025, Chief Judge Barbara Ellis-Monro
explicitly stated her refusal to docket or file any of Mr. Ware’s pleadings and emails
submitted since May 29, 2024, which directly and repeatedly raised the issue of Article III
subject matter jurisdiction and standing in the 03-93031 Bankruptcy Case. This refusal to

docket is explicitly stated in Dkt. 278.

Page 58 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 196 of 200

37.No Sua Sponte Jurisdictional Inquiry Conducted Since May 29, 2024: Despite
acknowledging receipt of “over one hundred emails and attachments” from Mr. Ware since

May 29, 2024, raising substantial jurisdictional challenges and triggering the Bankruptcy

Court’s sua sponte duty under Great Southern Fire Proof Hotel Co., the Bankruptcy

Court, under _the corrupt direction of Chief Judge Ellis-Monro, has not initiated or

conducted any formal or sua sponte inquiry to affirmatively determine Article III subject
matter jurisdiction and standing in the 03-93031 Bankruptcy Case from May 29, 2024, to
the present date. This absence of a sua sponte jurisdictional inquiry is evident from the
docket record.

38. Chief Judge Ellis-Monro’s Actual and Constructive Awareness of FINRA
Certification and Brady Implications: As of “May 29, 2024,” and continuously

thereafter, Chief Judge Ellis-Monro has egregiously breached and knowingly violated

numerous Canons of the Code of Conduct for Federal Judges; she has been demonstrably
aware of the existence of FINRA’s May 17, 2021, Unregistered Broker-Dealer
Certification (Exhibit 3), and she has knowingly, deliberately, and intentionally as overt
and predicate acts of conspiracy to obstruct justice, suppressed, concealed, covered up, and

hidden—civil and criminal contempt of Sweet, J.’s Aug. 10, 2007, Brady court order, Ex.

4, infra, the dispositive implications of this binding regulatory finding as actual innocent

Brady exculpatory evidence in the related criminal matter U.S. v. Ware, 04cr1224
(SDNY). Judge Ellis-Monro confessed in Dkt. 278 of her awareness of the actual innocent
Brady exculpatory evidence due to Mr. Ware’s repeated submissions and explicit

references to these materials in his pleadings and emails to the Court. 7% his actual and

Page 59 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 197 of 200

implicit awareness of the actual innocent Brady implications of FINRA’s unregistered

broker-dealer certification _is_ acknowledged in _Dkt._278's reference to Mr. Ware's

voluminous submissions.

RESPECTFULLY SUBMITTED,

For Appellants-Movants: GROUP MANAGEMENT and Ulysses T. Ware
/s/ Ulysses T. Ware

Submitted by:

/s/ Ulysses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
Utware007@gmail.com
February 7, 2025

With implied consent pursuant to Bankr. Rule 9011(b)(1-4): Counsel for Appellees-
Respondents Kilpatrick Townsend & Stockton LLP and its Unregistered Broker-Dealer
Clients.

/s/ Wab Kadaba, Esq.,

/s/ J. Henry Walker, IV, Esq.

For Appellants-Movants Ulysses T. Ware and Group Management and Appellees:

cc: U.S. Court of Appeals for the Eleventh Circuit, Office of the Judicial Council
Administrative Office of the U.S. Courts, Executive Director

Office of the U.S. Trustee, Region 21, (Mary Ida Townson, Esq.)

Financial Industry Regulatory Agency (FINRA) on behalf of the Securities and Exchange
Commission (Marcia E. Asquith, Esq.)

Page 60 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 198 of 200

State Bar of Georgia, Office of the General Counsel (William D. NeSmith, III) on behalf of
the Supreme Court of Georgia, Office of the Chief Justice, the Hon. Michael P. Boggs
Edward T.M. Garland on behalf of Garland, Samuel, & Loeb, P.C. and affiliates

Nall & Miller, LLP

Kilpatrick, Townsend, & Stockton, LLP on behalf of its clients, the 02cv2219 (SDNY)
plaintiffs, Unregistered broker-dealers Arie Rabinowitz on behalf of LH Financial Services
Corp., Trailblazer Merger Corp., I

Unregistered broker-dealers Frank V. Sica on behalf of Tailwind Management L.P., Colleen
McMahon, and Michael S. Bertisch (see Ex. 10)

Page 61 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 199 of 200

Certificate of Service

I Ulysses T. Ware certify that I have this 9” February 2025 served each of the below persons or
entities with a copy of this pleading via their public email accounts and submitted the same to the
U.S. Bankruptcy Court (NDGA) to the Chief Bankruptcy Judge, Ellis-Munto for immediate filing
and docketing pursuant to 18 USC §§ 2071(a), (b), Bankr. Rule 5005(a)(2)'? and 5005(b)(1) with

the U.S. Trustee. !*

cc: Office of the U.S. Trustee, Region 21 (Mary Ida Townson)
U.S. Court of Appeals for the Eleventh Circuit, Office of the Judicial Council

Kilpatrick, Townsend, & Stockton, LLP (via CEO Wab Kadaba, Esq., J. Henry
Walker, IV, Dennis S. Meir, and John W. Mills, II)

Arie Rabinowitz, Kenneth A. Zitter, Alpha Capital, AG, Stonestreet, L.P.
Markham Holdings, Ltd., AMRO International, $.A., Trailblazer Merger Corp,
I, LH Financial Services Corp., convicted felon Edward M. Grushko, Joseph
Hammer, and Barbara R. Mittman via Kilpatrick, Townsend, Stockton, LLP
(Wab Kadaba, Esq. and J. Henry Walker, IV).

Baker & McKenzie, LLP (via Lawrance B. Mandala, Esq., Robert Alberal, Esq.
and Thomas A. Leghorn, Esq.)'°

William D. NeSmith, III, State Bar of Georgia; Office of the Chief Justice,
Supreme Court of Georgia, the Hon. Michael P. Boggs (via Paula Fredrick and
William D. NeSmith, III--statutory agents in fact); and

'3 With a Judge of the Court. A judge may personally accept for filing a paper listed in (1). The judge must
note on it the date of filing and promptly send it to the clerk.

'4 (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

Page 62 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
Case 1:25-cv-00613-MLB Document 5-14 Filed 03/07/25 Page 200 of 200

John F, King, Georgia Insurance Commissioner on behalf of (undisclosed
identities) John Doe Insurance Companies ##1-5 (via William D, NeSmith, IT,
Wab Kadaba, J. Henry Walker, III, Michael D. Hostetter, Edward T.M. Garland,
the State Bar of Georgia, Office of the General Counsel, and Wendy L. Hagenau,
statutory agents in fact);

FINRA (via Robert W. Cook, Robert L.D. Colby, Sarah Jeffries, and Marcia E.
Asquith) on behalf of the Securities and Exchange Commission (11 USC 1109(a)
statutory party in interest); and

Acting Director of the FBI (via Mary Ida Townson,
Esq., U.S. Trustee, Region 21)

/s/ Ulysses T. Ware

February 9, 2025

End of document

Page 63 of 63

Tuesday, February 18, 2025

(A-4) (Part A-4 Draft 1) re: The Parties’ Dispositive Joint, Agreed, and Consented Rule 8009(d)
Jurisdictional and Sanctioning Facts.
